                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN

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  KATHRYN KNOWLTON, et al.,

                     Plaintiffs,

         vs.                             Case No. 2020CV01660

  CITY OF WAUWATOSA,
  CITY OF WAUWATOSA CHIEF OF
  POLICE BARRY WEBER, in his
  individual capacity, DENNIS
  MCBRIDE, in his individual
  capacity, and JOHN DOES
  OFFICERS in their
  individual capacities,

                     Defendants.


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         Examination of BARRY WEBER, taken at the instance

of the Plaintiffs, under and pursuant to the applicable

Statutes or Rules of the Court, before LEAH R. MILLER,

Notary Public in and for the State of Wisconsin, at

Knowlton Law Group, LLC, 7219 West Center Street,

Wauwatosa, Wisconsin, on May 13, 2021, commencing at 9:03

a.m. and concluding at 5:53 p.m.




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 1                             A P P E A R A N C E S:

 2
          MOTLEY LEGAL SERVICES, by
 3        MR. KIMBERLY MOTLEY,
          2206 Bonne Butler Way,
 4        Charlotte, North Carolina 28270,
          kmotley@motleylegal.com,
 5        appeared on behalf of the Plaintiff.

 6        ASCEND COUNSEL, LLC, by
          MR. E. MILO SCHWAB,
 7        3000 Lawrence Street,
          Denver, Colorado 80205,
 8        milo@ascencounsel.co,
          appeared on behalf of the Plaintiff.
 9
          KNOWLTON LAW GROUP, LLC, by
10        MS. KATHRYN KNOWLTON,
          7219 West Center Street,
11        Wauwatosa, Wisconsin 53210,
          kate@knowltonlawgroup.com,
12        Plaintiff.

13        GUNTA LAW OFFICES, SC, by
          MS. JASMYNE BAYNARD,
14        9898 West Bluemound Road, Suite 2,
          Wauwatosa, Wisconsin 53226,
15        jmb@guntalaw.com,
          appeared on behalf of the Defendants.
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 1                             P R O C E E D I N G S:

 2                     MS. MOTLEY:    Good morning.    So my name is

 3        Kimberly Motley.      I'm here with co-counsel, Milo Schwab,

 4        as well as Kate Knowlton.       Doing the videography today

 5        is Madeleine Schweitzer, and our court reporter is Leah

 6        Miller.    In terms of housekeeping, we want you to be as

 7        comfortable as possible.       If you need a break, just say

 8        you need a break.      That is fine.    I don't know if they

 9        showed you where the restrooms are.

10                     MR. WEBER:    They showed me, yes.

11                     MS. MOTLEY:    What we are going to do is, today

12        we are conducting the deposition of Barry Weber, Chief

13        of Police in Wauwatosa, Wisconsin.         Today is Thursday

14        May 13th, 2021.     The time is 9:04 a.m. The Case No. is

15        20CV1660.    This is a civil action pending in Federal

16        District Court in the Eastern District of Wisconsin.           So

17        you're here, Chief Weber -- do you prefer Chief or

18        Mr. Weber?

19                     MR. WEBER:    It's up to you.

20                     MS. MOTLEY:    Okay.   I'm just going to call you

21        Chief Weber, so Chief Weber is here along with his

22        co-counsel, Jasmyne Baynard.

23                     MS. BAYNARD:    His attorney.

24                     MS. MOTLEY:    Sorry, his attorney, Jasmyne

25        Baynard.    What did I say?



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 1                     MS. BAYNARD:    Co-counsel.

 2                     MS. MOTLEY:    Co-counsel, I am sorry, his

 3        attorney, Jasmyne Baynard.       I will now ask the court

 4        reporter to swear in the witness.

 5                     BARRY WEBER, having been called as a witness

 6        herein and having been first duly sworn, was examined

 7        and testified as follows:

 8                                    EXAMINATION

 9   BY MS. MOTLEY:

10   Q    Now, it's up to you whether or not you want the mask on

11        or off.     I think mostly everyone is fully vaccinated

12        here, so it is just what your comfort is.

13   A    Okay.    It doesn't matter to me.

14   Q    I'm going to take mine off while I talk.

15   A    Okay.

16   Q    Could you please state your full name for the record?

17   A    Barry Weber.

18   Q    And you're aware that you're being deposed in the case

19        of a federal civil action of Knowlton, et al. versus the

20        City of Wauwatosa, Case No. 20CV1660 in the Eastern

21        District of Wisconsin?

22   A    Yes.

23   Q    Have you ever been deposed before?

24   A    Yes.

25   Q    In your deposition I'm going to be asking you questions



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 1        and you're going to be answering them, do you understand

 2        that?

 3   A    Yes.

 4   Q    So in order for the court reporter to do what she needs

 5        to do, which is take everything that is being said here,

 6        it's important that, you know, we don't talk over each

 7        other, that your answers are clear, that nods and things

 8        like that don't happen.       We want everything to be

 9        verbal, do you understand that?

10   A    Yes.

11   Q    Now there's a few differences between a deposition and a

12        typical conversation that I want to make you aware of:

13        First, the court reporter is attempting to transcribe

14        everything that we said.       In a normal conversation folks

15        sometimes interrupt, I said that, or talk over each

16        other.    Here, it's important that we wait for each other

17        to finish saying what needs to be said; second, this is

18        an oral deposition and an oral transcription.           So again,

19        head nods and things like that won't work here, do you

20        understand that?

21   A    Yes.

22   Q    Finally, unlike a typical conversation your answers

23        today are under oath and this subjects you to potential

24        criminal charges for perjury, willfully giving false or

25        misleading or incomplete testimony under oath, do you



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 1         understand that?

 2   A     Yes.

 3   Q     Is there any reason, such as being under stress, a

 4         physical or mental condition, or being under the

 5         influence of any substances that would prevent or limit

 6         you today from giving truthful answers to any questions?

 7   A     No.

 8   Q     There is nothing wrong with me asking to repeat a

 9         question or for you to explain a term if you don't

10         understand.    So if you have any questions and you don't

11         understand the questions, please say that and we're

12         happy to, you know, repeat the question or to clarify it

13         if you need that, do you understand that?

14   A     Yes.

15   Q     Let's see.    Sometimes when I ask a question you'll have

16         partial knowledge but not absolutely certain or complete

17         knowledge.    For example, if I ask you the temperature

18         right now you couldn't necessarily tell me the exact

19         temperature, but you could give me an approximate

20         answer.   Even if you couldn't probably know whether it

21         is really hot or really cold or somewhere in between, in

22         that circumstances an answer of "I don't know" is not

23         appropriate, but an answer giving a range or estimate

24         based on your knowledge with an explanation that it's in

25         a range or estimate is appropriate, do you understand



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 1         that?

 2   A     Yes.

 3   Q     Sometimes we may ask you questions in which you aren't

 4         sure what the answer is but you can reference some

 5         documents and answer the question with certainty after

 6         you reference it; for example, if I asked you the

 7         balance of your checking account on a particular day,

 8         you can ask to see the banking statement before you

 9         answer it.    I can then decide whether to show you the

10         banking statement and get an exact response or not

11         provide it and get a less exact response, do you

12         understand that?

13   A     Yes.

14   Q     Finally, I'm entitled to what are considered complete

15         answers, that means an answer that is fully and

16         completely answers my questions; for example, if you had

17         orange juice, toast, and coffee for breakfast and I

18         asked you what you had for breakfast, if you answered

19         "orange juice," that would not be a complete answer and

20         you would not have properly answered my question.

21         However, you're under no obligation to answer that

22         question by telling me what you had for lunch even if it

23         was a more interesting meal, do you understand that?

24   A     Yes.

25   Q     Do you have any questions before we begin?



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 1   A     I do not.

 2   Q     Thank you.    All right, Chief, could you please state

 3         what your current position is right now?

 4   A     Chief of Police for the City of Wauwatosa.

 5   Q     How long have you been the Chief of Police for the City

 6         of Wauwatosa?

 7   A     Just about 31 years.

 8   Q     And you've been in law enforcement since, I believe,

 9         1984, correct?

10   A     1973.

11   Q     Could you please tell us what your positions have been

12         since 1973?

13   A     I started my career as a dispatcher down in Illinois for

14         a couple years, and then I became a police officer in

15         Wood Dale, Illinois, when I was 21 years' old.

16                      THE COURT REPORTER:    What was the name of the

17         city?

18                      THE WITNESS:   Wood Dale.    In 1984 I left to

19         become a police chief and public safety director in

20         Missouri.     I was there for two years, and then I went to

21         Iowa as a police chief for four years, and then in 1990

22         I came to Wauwatosa.

23         BY MS. MOTLEY:

24   Q     Are you from Illinois?

25   A     I am.



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 1   Q     Where?

 2   A     I was born in Chicago, raised in the suburbs.

 3   Q     So you've been in Wauwatosa since what year?

 4   A     1990.

 5   Q     What are some of your duties as police chief?

 6   A     My job is to administer the police department.

 7   Q     What does that mean?

 8   A     I always tell people my job is not to run the police

 9         department but to see the department runs well.

10   Q     About how many law enforcement officers do you have with

11         the Wauwatosa Police Department currently?

12   A     When we are at full strength it is about 100, right now

13         I think we're at 90.

14   Q     What does "full strength" mean?

15   A     That we have all the authorized positions filled.

16   Q     And 100, you have 90 full-time officers right now?

17   A     Correct.

18   Q     Do you know the breakdown in terms of the gender

19         breakdown in terms of the officers you have?

20   A     I believe we have about 10 or 11 female officers, almost

21         ten percent.

22   Q     Okay.    Do you know the ethnic breakdown of the officers

23         that you have now?

24   A     I don't.    We have African-American officers, we have

25         Asian officers, and we have Latino officers.          What the



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 1         exact numbers are I don't know.

 2   Q     Do you know the sexual orientation breakdown of the

 3         officers that you have?

 4   A     I would not have any idea.

 5   Q     And could you please explain a little bit more about

 6         what your job duties are?       I understood what you said,

 7         but just specifically.

 8   A     Our department is divided into three bureaus,

 9         administrative bureau, operations bureau and the medical

10         complex bureau:     The operations encompasses patrol and

11         detectives, the administrative bureau is usually the

12         clerical employees, budgeting, you know, dispatch

13         center, and then the medical complex bureau, recently we

14         have undertaken to provide law enforcement services at

15         what used to be the county grounds, Froedtert,

16         Children's, and so on, so we have a separate captain

17         that is in charge of that bureau.        So there's three

18         bureaus, each of them headed by a captain, the captains

19         report to me.

20   Q     So you have three bureaus and three captains?

21   A     Correct.

22   Q     Who are your captains?

23   A     Luke Vetter is the operations captain, second in

24         command, Gary Gaberich (Phonetic) is an administrative

25         captain, and Jack Morrison (Phonetic) is the medical



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 1         complex captain.

 2   Q     Okay.   And let's see.     In terms of the Wauwatosa Police

 3         Department, do you have any special sort of teams, I

 4         know there's a special response team, but how is -- what

 5         teams do you have within the department?

 6   A     Well, SRT, which is special response team, mainly they

 7         are known to do more tactical things than other

 8         departments, they call them SWAT teams, but it has

 9         always been the SRT team.       We have the special

10         operations group, SOG as we call it, that is usually

11         narrowly focused on violent crime or whatever special

12         things that need to be done.       We have school resource

13         officers that are assigned, you know, I don't know if

14         you call them a team, but they work on the community

15         support unit.     We have the motorcycle patrol team, the

16         motor unit as it's called.       We have sensitive crimes,

17         that is within the detective bureau but a couple

18         officers are specialties in sensitive crimes.          There's

19         probably more, but I don't --

20   Q     Okay.

21   A     That is generally what it is.

22   Q     Okay.   As Chief of Police for Wauwatosa, who do you

23         report to?

24   A     I report to the mayor by statute, and the city

25         administrator is the day-to-day operations of the city,



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 1         and then there's also five police and fire commissioners

 2         that are appointed.      They oversee the hiring and firing

 3         and promotions.

 4   Q     And so you report to the mayor by statute, what do you

 5         mean by that?

 6   A     I once asked the city, or the city attorney years ago --

 7   Q     That would be the city attorney, Alan Kesner?

 8   A     No, this was years ago, it was an older city attorney,

 9         Harry Guerke (Phonetic), he has been long-retired, at

10         the time I had a mayor and a city administrator that

11         weren't always in agreement.       I said, I am getting one

12         thing from one and another set of rules from another,

13         what do I do here?     He said by statute it's the mayor.

14         If the mayor tells you to do something, you follow what

15         the mayor tells you to do.

16   Q     Okay.   So then it goes, mayor is who you report to, and

17         then under him is the city administrator?

18   A     The city administrator is appointed by the common

19         council members.     So he does not report to the mayor at

20         all.    It's always better if they work together, and

21         usually they do, of course Mayor McBride and Jim

22         Archambo work together very well I believe, and Jim

23         Archambo has been the city administrator for about

24         15 years, so I work very well with him.         I always, in my

25         career I have more contact with the city administrators



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 1         because they do the day-to-day operations of the city,

 2         and then on more things, if it's a bigger policy issue

 3         or whatever, we talk to the mayor.

 4   Q     Do you also report to the city attorney at all, or is he

 5         in this sort of --

 6   A     No, he's not, he is considered a department head as am

 7         I, so he's a peer if anything else.

 8   Q     And by "he," we are talking about Alan Kesner,

 9         K-E-S-N-E-R.    Now, in terms of your relationship with

10         the police and fire commission, do report to them at

11         all?

12   A     No, not by any statute or anything, but since I have

13         come to Wauwatosa, our police and fire commissioners

14         always have a monthly meeting.       Some cities, they don't

15         do that.    They have meetings as needed.       Our

16         commissioners have always had a monthly meeting, whereas

17         the police chief and the fire chief come to the

18         meetings, usually tell the things that are going on in

19         the police and fire department, what our concerns are,

20         what needs we have, we bring to them any personnel

21         issues, or we need to have another test because we are

22         running low on the eligibility list, or we need to

23         promote somebody, or whatever, so we do monthly

24         meetings.

25   Q     Do you report at all to the common council?



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 1   A     I do not.

 2   Q     What's your relationship with them as chief?

 3   A     Common council of course sets the -- you know, they're

 4         the legislators of the city.       So when they have had

 5         questions and so on, we have always been responsive to

 6         the common council, but if the common council members

 7         asked me to do something, or they have a favor or

 8         whatever they need to have done, I do my best to

 9         accommodate them, but I always let the city

10         administrator know what I'm doing too.

11   Q     And the city administrator is appointed by the common

12         council, and the mayor is the head of the common

13         council.    So those are kind of the liaison to the common

14         council?

15   A     Yes.

16   Q     In terms of the fire and police commission, their role

17         is simply to support you with the hiring and firing of

18         officers?

19   A     Hiring and firing, that's their main role, yes.

20   Q     What are their other roles?

21   A     They have to approve promotions, they have to approve

22         discipline too.     Since not all discipline is a

23         termination, but if I suspended somebody, even if it was

24         for a day's suspension, if that officer wanted to appeal

25         it, it would go to the police and fire commission to



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 1         decide.

 2   Q     What are the ranges of disciplines that an officer can

 3         receive?

 4   A     It could be what we call an on-shift discipline, where

 5         the supervisor says, hey, don't do that again, and the

 6         supervisor just keeps his own file on it, so just so he

 7         or she knows, I've disciplined officer so-and-so, so it

 8         is an on-shift discipline; it could be a verbal

 9         reprimand, in which case they usually document that as,

10         I reprimanded so-and-so; a written reprimand, which

11         would come, usually that would come from my office then,

12         and then I can decide whether I'm going to issue the

13         reprimand, not issue a reprimand, I could go something

14         more severe, something lighter; and I could do

15         a suspension, you know, we have a range, we have a

16         policy that says what the range of suspensions for

17         different offenses are; and if I wanted to terminate

18         somebody, I would have to request that to the police and

19         fire commission.

20   Q     Okay.   In terms of the police and fire commission's role

21         now, they're currently looking for a new chief of

22         police, correct?

23   A     Yes, they are.

24   Q     Congratulations on your retirement, by the way, it must

25         be something you're looking forward to.



                                      19
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 1   A     You better believe it.

 2   Q     In terms of that, are you participating in the process

 3         where they're trying to find a new police chief?

 4   A     Not at all.

 5   Q     Do you know who they're sort of talking to?

 6   A     I have no idea.     I don't want to be anywhere associated

 7         with that because I don't want to give any appearances

 8         that I have had anything to do with it.         So I know they

 9         were doing interviews this week Zoom interviews.

10         They've been in closed session for that, so we have know

11         idea who the candidates are.

12   Q     And the President of the Police and Fire Commission is

13         Dominic Leone, correct?

14   A     Leone, correct.

15                     THE COURT REPORTER:     Leone is --

16                     MS. MOTLEY:    L-E-O-N-E, Dominic,

17         D-O-M-I-N-I-C.

18         BY MS. MOTLEY:

19   Q     And Mr. Leone, he used to be a Wauwatosa police officer,

20         correct?

21   A     Correct.

22   Q     And how long -- when did he retire, do you recall, or

23         when did he leave?

24   A     He was the personnel lieutenant, and he left -- I've got

25         to think for a second -- I would guess it would be in



                                      20
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 20 of 376 Document 291-3
 1         the last 10 to 15 years that he left.

 2   Q     Do you know how long he was under the Wauwatosa Police

 3         Department?

 4   A     Well, he retired after his full career.         He spent most

 5         of his career there, he had been in another city prior

 6         to that for a short time, but he probably was in

 7         Wauwatosa at least 20 or 30 years.

 8   Q     And a full career is how long?

 9   A     Usually takes you to the age of, 53 is the normal

10         retirement age if you have a lot of years in there.

11   Q     So he was reporting to you at some point as an officer,

12         I mean, you were his supervisor?

13   A     Ultimately as the chief, when I started in Wauwatosa he

14         was the sergeant, so he reported to a lieutenant, then a

15         captain, and the captain reported to me, but, yes.

16   Q     And you're the chief policy maker of Wauwatosa Police

17         Department, correct?

18   A     Yes.

19   Q     And you've been the chief policy maker your whole time

20         as police chief, correct?

21   A     Yes.

22                                    EXAMINATION

23   BY MR. SCHWAB:

24   Q     Can you tell me what -- for every policy of the police

25         department, is it written down?



                                      21
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 1   A     We try to put most things in writing, but there's always

 2         the unwritten things that, you know, just are pretty

 3         much standard; what comes to mind, you know, when you're

 4         done with your shift, put gas in the car for the next

 5         shift.   It's not a written-down policy, but it's the

 6         courteous thing, make sure you clean the thing out or

 7         whatever, say you have a muddy dog you had to pick up,

 8         clean it up so the next guy doesn't have to do it.

 9         Those are the kinds of things that are probably not in

10         writing, but just the things that are done.

11   Q     So there are some understandings --

12   A     Understandings, yes.

13   Q     -- of this is how we operate?

14   A     Yes.

15   Q     Can you tell me what policies there are in writing?

16   A     There's books of policies, so I would --

17   Q     Is it in the range of 100, 200?

18   A     At least I would imagine around 100, I don't know.

19   Q     Have you written -- have you been involved in preparing

20         each one of those?

21   A     No, I have not.

22   Q     Do some of them predate you?

23   A     Probably, yes.

24   Q     Okay.

25   A     We update them; for instance, the use of force policy,



                                      22
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 1         the department always had a use of force policy.           We

 2         update it every two years, so, I mean, there was a use

 3         of force policy when I started in 1990, but we've

 4         updated it since then.

 5   Q     When you say "we update," can you tell me who that is?

 6   A     That would it be the organization, but I don't author

 7         every policy.     That is where the captains and

 8         lieutenants, they get together, and they say, here is

 9         what we need to do.      The captain will usually assign

10         somebody who has an expertise in the area.          For

11         instance, if we have the use of firearms policy, the

12         officer in charge of the range would be the one to

13         probably have the best knowledge of that, so he or she

14         will author that policy, and it goes up through the

15         chain, and ultimately I have to sign off on it.

16   Q     Okay.   And you sign off on every policy?

17   A     Yes.

18   Q     When you say, "expertise," can you tell me a little bit

19         more about that, what types of expertise you guys look

20         for in who is going to author these policies?

21   A     For instance, the firearms, we have people that have

22         been to armory school, they know how to take the firearm

23         apart, put it back together, they have more expertise

24         than I would ever have because I am not interested in

25         firearms to that degree.      So if we have to say, well,



                                      23
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 1         here is what happens if your weapon malfunctions or

 2         whatever, and then clearly how it gets repaired, who

 3         would be in charge of that.       We send people to a lot of

 4         different trainings schools.       I don't go to the same

 5         training schools that police officers go to.          For

 6         instance, you know, if you are going to authorize the

 7         use of force policy, they go to the latest school that

 8         would come up with the latest court decisions and so on

 9         regarding use of force, and then you will incorporate

10         those in the policy, so they do that.

11                     MS. MOTLEY:    Can I ask one question?

12                                    EXAMINATION

13         By MS. MOTLEY:

14   Q     I think this is an important question, and you gave this

15         question a little last week, could you please tell us

16         what associations you're a part of?

17   A     Sure.   I'm a senior member of the Milwaukee County Law

18         Enforcement Executives Association, which is the

19         Milwaukee -- (inaudible).

20                     THE COURT REPORTER:     Milwaukee, what chiefs?

21                     THE WITNESS:    Milwaukee County Police Chiefs,

22         I'm a senior member of the Wisconsin Police Executives

23         Group, which are the cities, the larger cities of 20,000

24         population or more, I am a senior member of that.              I am

25         a member of the Wauwatosa Rotary Club, Chamber of



                                      24
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 1         Commerce, FBI National Academy Associates, I think that

 2         is it --

 3   Q     The International Association?

 4   A     The International Association of Chiefs of Police, I am

 5         a life member of that.

 6                     MS. MOTLEY:    Thank you.

 7                                    EXAMINATION

 8   BY MR. SCHWAB:

 9   Q     Can you tell me who drafted or most recently updated

10         your use of force policy?

11   A     No, I would have to look at the policy to see.          What the

12         policy will say is "prepared by" or "authored by,"

13         so-and-so, and I would sign it.

14   Q     Okay.   And you said that the person, the training for,

15         for example, for the person that would have developed

16         the use of force policy would be primarily based on

17         they're working with a firearm, is that correct?

18   A     (Inaudible).

19                     THE COURT REPORTER:      Wait.

20         BY MR. SCHWAB:

21   Q     I don't mean to put words in your mouth.         I apologize.

22         Please, correct me if I'm wrong?

23                     MS. BAYNARD:    She's trying to take down

24         everything that you're saying, please try to slow down.

25                     THE WITNESS:    Sorry.    Somebody who is, might



                                      25
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 1         have that interest; for instance, an officer who is

 2         involved with the SRT team, special response team,

 3         they're interested in tactical things, so we would

 4         responsible send them to a tactical training school.

 5         They would know more about how to clear a room, you

 6         know, if you suspect somebody might be in there.           I

 7         wouldn't have the knowledge of how to clear the room.

 8         That is what I would get if I go to certain training.

 9         Those people who have those interests would get that

10         extra training, and they are the ones that are in the

11         best position to author policies.

12         BY MR. SCHWAB:

13   Q     Do you have a deescalation policy?

14   A     Yeah, we do.

15   Q     Tell me about the trainings that you go to.

16   A     The trainings I go to?

17   Q     Yes.

18   A     I usually go to executive level trainings.          The

19         International Chiefs Association has a conference every

20         year, an annual conference.       The first one I went to was

21         in 1987, so I have gone to many of those.         There is a

22         wide variety of topics that are at those things related

23         to -- it could be almost any topic related to patrol

24         work, committing of crimes, ethics, executive

25         leadership, I have been to many of those, and there's a



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 1         training coming up for -- the police executive group

 2         does a training every year.       There's one, a summer

 3         training, I will be presenting a topic, I will be

 4         talking about leadership several weeks after I retire.

 5         I have gone to the FBI National Academy, I think I went

 6         to also the Law Enforcement Executive Development as

 7         part of the national academy several years later.              So

 8         they are usually more leadership related rather than

 9         tactical or patrol.

10   Q     Okay.   How often are those?

11   A     If wanted to, you could go to training every day.              There

12         is always something that comes out.        Those particular

13         ones are usually -- the IACP one, and police chiefs --

14                      THE COURT REPORTER:    I-A --

15                      THE WITNESS:   The IACP, International

16         Association of Chiefs of Police, there is an annual

17         training, I go to that one.       The PEG (Phonetic) group is

18         annual, and when we have our quarterly meetings, there's

19         usually some sort of training or information that is

20         provided for the afternoon.

21         BY MR. SCHWAB:

22   Q     Okay.   And are they one-day trainings, or are these

23         events multi-day, week?

24   A     It depends.    The IACP ones are usually four-day

25         trainings.    The PEG group thing that I will be going to



                                      27
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 1         is usually a three-day training, but when we have the

 2         quarterly meeting there is usually a one-and-a-half day

 3         training.

 4   Q     And like you said, they're primarily focused on

 5         leadership and being the head of an organization as

 6         opposed to policy or practice?

 7   A     Yes.

 8   Q     Do you ever overrule or change policies that come from

 9         the captains that write them?

10   A     If the policy is being proposed before I sign off on it,

11         if I have any questions, I would get those answers

12         before I would sign the policy.        If we have done

13         something, you know, and there's an incident, we'll

14         check to see if the policy was followed, and from there,

15         I will decide what I need to do.

16   Q     Okay.   But during the process, when something comes up

17         to your desk, a biannual update, what is the process you

18         go through to determine if that is a good policy for the

19         Wauwatosa Police Department?

20   A     Since we update every policy usually every other year, I

21         look at the policy and say, what are the changes since

22         last time?    I like the changes we made, what are we

23         doing differently than we did before?         If it is like, we

24         looked at everything and nothing has changed, okay.            If

25         we look at something, here is the paragraph that was



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 1         changed, or here is the wording that was changed, okay,

 2         but I give my answers at that time.

 3   Q     Do you ever propose changes?

 4   A     Probably.

 5   Q     Can you give me an example of something you remember

 6         from the last couple years that you authored that was

 7         not a change that was offered to you?

 8   A     Nothing that would stand out because I just did so many

 9         things that come across my desk, and I say, I am not

10         happy with this, let's get this -- give me an answer on

11         that, and let's change this, or whatever.

12   Q     Do you document any of this process?

13   A     No.

14   Q     Do you determine -- are you the one that determines who

15         should make the policy?

16   A     Not usually, not usually.

17   Q     Who does that?

18   A     Usually the captain will do that.

19   Q     So in this case, or in most of these cases it would be

20         Vetter?

21   A     If it's an operational policy it would be Vetter.              If it

22         has something to do with like, for example, the asset

23         forfeiture policy, the administrative captain would do

24         that because that is their area of expertise.          And if

25         the captain doesn't do it himself, he might delegate it



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 1         to one of the lieutenants that works in his area.

 2   Q     Okay.   But the people that do draft these policies, do

 3         you work to make sure that they attain the proper

 4         certification or training themselves?

 5   A     Can you say that again?

 6   Q     How do you ensure that the people that are drafting

 7         these policies have the proper education or knowledge?

 8   A     They are certified police officers, so we send them to

 9         the schools, so they are certified to do what they do.

10   Q     How old are most of the people that draft these

11         policies?

12                     THE COURT REPORTER:     I am sorry, I missed

13         that.

14         BY MR. SCHWAB:

15   Q     How old are most of the people that draft these

16         policies?

17   A     There's a wide variety of ages, since I am the oldest

18         one in the organization, if I look at our supervisors,

19         probably most of them are in their 40's.

20   Q     Okay.   And so their primary training is presumably

21         decades old?

22   A     If they are in their 40's, many of them came to us when

23         they started in their 20's.

24   Q     So that's the training that you're relying upon?

25   A     Yes.



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 1   Q     Is law enforcement a changing field?

 2   A     Yes.

 3   Q     How do you make sure that your people that are preparing

 4         your policies are on top of these changes?

 5   A     We send them to regular updates.        Every officer is

 6         required to have 24 hours of training every year.              We

 7         usually exceed what the minimum requirements are by the

 8         state.

 9   Q     Can you tell me what those 24 hours are?

10   A     24 hours is inservice training, different technical

11         colleges offer inservice training.        Sometimes we use

12         inservice from the colleges, and sometimes we develop

13         our only curriculum for what we feel is needed.

14   Q     Has that change on year-to-year basis?

15   A     It does.

16   Q     This year, what is your training policy?

17   A     I don't know what the curriculum is for this year's

18         training policy as I'm not involved in that.

19   Q     Do you know if this year's policy was developed by the

20         police department, or if it is outsourced to one of the

21         colleges?

22   A     I don't.

23   Q     Do you know last year's?

24   A     I don't know.

25   Q     Who would know?



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 1   A     Probably most of the police officers have to participate

 2         because they know where they have to go to the training.

 3         Captain Gabershoe (Phonetic) was just promoted to

 4         captain recently.     He was the training officer the last

 5         several years, he would know.

 6   Q     Is he the one who would make the determination on

 7         whether you guys would develop your own curriculum or

 8         would outsource to another school?

 9   A     I believe so.

10   Q     And before he was promoted to captain of admin, what was

11         his role?

12   A     He was the lieutenant in charge of personnel and

13         training.

14   Q     And is that with operations?

15   A     I believe so, we switched our organizational chart

16         around recently, but I believe that was part of

17         operations.

18   Q     Okay.   I'm assuming that it doesn't change significantly

19         from year-to-year, but can you run me through what a

20         typical year of continuing training or education would

21         look like, you know, this many hours to this type of --

22         I don't know, I don't even know how to ask the question.

23   A     Well, I don't know how to answer the question either.

24   Q     Okay, how many hours with a gun?

25   A     With a gun?



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 1   Q     Yes.

 2   A     There's more than just the inservice training because we

 3         qualify them on the range usually quarterly.

 4   Q     Of the 24 hours, we'll talk about the other side later,

 5         how many of those 24 hours are training with a gun?

 6   A     I don't believe we normally use our firearms in that

 7         type of training.

 8   Q     Is that type of training in classroom?         In these

 9         24 hours, are the officers in a classroom, or --

10   A     Usually, it could be some practical things regarding how

11         to conduct a stop or whatever.       There might be, I don't

12         know.   There's such a wide variety of topics.         I do

13         remember one year we learned how to deal with autistic

14         people.   There's a lot of officers that are going to the

15         crisis intervention training, so we have such a wide

16         variety of topics, it just varies year-to-year.

17                     MR. SCHWAB:    Okay.

18                                   EXAMINATION

19         BY MS. MOTLEY:

20   Q     In terms of your policies, how do you archive the old

21         policies that you update, or do you archive --

22   A     That's a question the secretary would probably answer

23         better than I would.      We have so many files that have

24         been over the years, and many of them out as we are

25         preparing for construction, but I believe many of them



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 1         are online, so I don't know if they converted them from

 2         paper to online, or they just put the old ones aside, I

 3         don't know.

 4   Q     But just pretty much, online, they keep the current

 5         policy?

 6   A     The current policies are online.

 7   Q     But they don't put how this was updated necessarily?

 8   A     I don't believe so.

 9   Q     And your secretary is Mary Weger?

10   A     Correct.

11   Q     W-E-G-E-R?

12   A     Yes.

13   Q     And in terms of writing policy, you mentioned that you

14         get the assistance of captains, is that correct?

15   A     Yes.

16   Q     And do you get the assistance of outside counsel to

17         write your policies also?

18   A     There's been times like when we've updated our use of

19         force policies, for example, we might ask the city

20         attorney for their opinion, or sometimes we've asked --

21         I don't know if we asked somebody from the district

22         attorney's office, maybe one of the guys might know who

23         is doing the policies or whatever, but we usually get an

24         opinion from somebody.

25   Q     Do you get the help, assistance of Gunta Law Office to



                                      34
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 1         write any of your new policies?

 2   A     I don't know if we used them, because they've --

 3         Mr. Gunta himself has presented many trainings.

 4   Q     Any of the lawyers within, Jasmyne, Kyle, Ann, Greg,

 5         Wolfgang, did any of them help you write policies?

 6   A     Because they do things for the CVMIC, which is the --

 7         insurance company --

 8                     THE COURT REPORTER:     I am sorry, what

 9         insurance company?

10                     THE WITNESS:    The CVMIC --

11                     MS. BAYNARD:    It is City and Village Mutual

12         Insurance Company.

13                     THE WITNESS:    Because they've made

14         presentations to us over the years, and Mr. Gunta has

15         said, here is what you need to incorporate if you're

16         going to terminate somebody, here is what you need to

17         do, here is what the standards of just cause are, I have

18         attended those kinds of trainings, but specifically to

19         Gunta's office, I don't know if that is true or not.

20         BY MS. MOTLEY:

21   Q     Have you ever gone to Cermele's office to write your

22         policies?

23                     THE COURT REPORTER:     Whose office?

24         BY MS. MOTLEY:

25   Q     John Cermele's office, C-E-R-M-E-L-E?



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 1   A     I have not.

 2   Q     Do you know if anyone has ever gone to John Cermele and

 3         his law firm to write any policies?

 4                      MS. BAYNARD:   Calls for speculation, go ahead.

 5                      THE WITNESS:   Not to my knowledge.

 6         BY MS. MOTLEY:

 7   Q     In terms of, you heard what Attorney Schwab said about,

 8         you know, policing changes so you have to write new

 9         policies.     I imagine when you first became a police

10         chief you didn't have to write a social media policy?

11   A     That's true.

12   Q     Right, and now you have a social media policy?

13   A     Yes.

14   Q     Right, and I noticed that you have now a racial

15         profiling policy?

16   A     Yes.

17   Q     That's a new policy that was just enacted in February of

18         this year?

19   A     No, I believe we had a racial profiling policy prior to

20         that probably for a good many years, we just updated it

21         though.

22   Q     Do you know when you first created the racial profiling

23         policy?

24   A     I'm guessing it's been at least ten years, but I don't

25         know.



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 1   Q     Do you know why you created the racial profiling policy?

 2   A     Yeah, we did, that was something that was taken up by

 3         the Wisconsin General Assembly.        They were looking into

 4         racial profiling after, I think it may have been after

 5         the Frank Jude thing, that was something that happened

 6         in Milwaukee.     So we thought, well, let's do this and

 7         make sure that we're following the standards and

 8         following the law and that we don't do that.

 9   Q     Did you -- it was simply because of the Wisconsin

10         General Assembly that you enacted the racial profiling

11         also?

12   A     I think that is when it became more prominent, but we

13         may have had it before that, I don't know.

14   Q     Do you believe that racial profiling is an issue with

15         the Wauwatosa Police Department?

16   A     I do not.

17                                    EXAMINATION

18   BY MR. SCHWAB:

19   Q     Before there was a racial profiling policy written down,

20         do you know if was there an informal policy?

21   A     If it was an informal policy it would have been just

22         like what I said, with the understanding that we don't

23         do those thing kinds of things, nor have we ever.

24   Q     Have you ever punished someone for racial profiling in

25         your 31 years as police chief?



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 1   A     I don't think so.

 2   Q     Has there ever been a complaint of racial profiling in

 3         your 31 years?

 4   A     Yes.

 5   Q     How many?

 6   A     Formal complaints that have reached my office, probably

 7         three or four.

 8                                    EXAMINATION

 9   BY MS. MOTLEY:

10   Q     Has there been any informal complaints against racial

11         profiling in your office?

12   A     No, because anything that would have come to my office I

13         would have documented.      Informal complaints, many times

14         if there's informal complaints, somebody would call the

15         police department and says, "I want to talk to a

16         supervisor -- "

17                     THE COURT REPORTER:     Can you slow down a

18         little bit?    "Call the police department and says -- "

19                     THE WITNESS:    I am sorry.    Somebody would call

20         the police department and said, I want to talk to

21         somebody because I feel I have been profiled.          So

22         usually they would get the supervisor on duty, the

23         sergeant or lieutenant, and says, "here is what the

24         problem is," then that would be an informal policy,

25         maybe there is a misunderstanding, I don't know.            If



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 1         it's something that rises to a higher level, then it

 2         would it be brought to my attention.

 3                                    EXAMINATION

 4   BY MR. SCHWAB:

 5   Q     Can you tell me when it would be determined and who

 6         would determine it doesn't need your attention?

 7   A     Sometimes there is a misunderstanding on a traffic stop,

 8         for example, so if there's a complaint that is made, the

 9         lieutenant, just ask through the lieutenant working, who

10         says, here is what the officer says, and here is what

11         the problem was.     And oftentimes a person says, "okay, I

12         had a misunderstanding or whatever and I'm satisfied,"

13         so then that would not usually reach my desk.          If the

14         person wasn't satisfied, then it probably would come to

15         me.

16   Q     Okay.

17                                    EXAMINATION

18   BY MS. MOTLEY:

19   Q     Is it common practice when someone puts in a complaint

20         about racial profiling that you talk to that citizen, or

21         do you solely talk to the officers?

22   A     Any complaint that has come to my attention, usually,

23         usually there's probably something that fell through the

24         cracks, some complaint over the years, the citizen

25         always gets a response from me, whether it is a phone



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 1         call back, a letter in the mail, whatever, they always

 2         get a response to they're complaint.

 3   Q     Do you talk to them?      You said three or four complaints,

 4         right, that have come to your desk.        Let's break those

 5         down, all right, do you recall, do you know if it is

 6         three or four?

 7   A     I don't.    31 years is a long time, but I have talked to

 8         so many people about so many things over the years, and

 9         very rarely does anybody -- I think in most cases,

10         people had a complaint, they talked to me about it, gave

11         them the explanation, you know, if they weren't happy,

12         they could appeal my decision to the police and fire

13         commission or whatever.

14   Q     Do you advise them of that, that they can appeal your

15         decision if you choose not to move forward with it?

16   A     If they ask me.

17   Q     So they have to ask if there is an appeal procedure for

18         you to give them that information?

19   A     I am usually able to get everybody -- you know, I think

20         I can talk to most people to solve their problem, most

21         people want to be heard, especially as to what their

22         issue was.    And if they say, "well, I disagree with

23         you," okay, you disagree.       And if they say, "well,

24         nothing is going to change and I'm satisfied, but I

25         understand we can agree to disagree," okay.          If they



                                      40
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 1         say, "who can I appeal this to," you can take it up with

 2         the police and fire commission if you would like.

 3   Q     For those where you have written a letter to them with

 4         regards to their complaint on racial profiling, have

 5         they ever contacted you back and said, "hey, I want to

 6         know what the appeal procedure is"?

 7   A     I don't think they have.      I don't think they have, and

 8         my letters are usually pretty direct because oftentimes

 9         we know exactly, we have it on either a squad video, or,

10         you know, something happened at the mall where it is on

11         video, and I have told people even in my letters, you

12         know, the problem was that you caused the problem.             If

13         you would have followed the directions that the officer

14         told you to do, there wouldn't have been a problem.

15   Q     To be fair with those mall videos, there is no audio

16         with those videos, correct, usually?

17   A     Usually, I think some they do have it.

18                                   EXAMINATION

19         BY MR. SCHWAB:

20   Q     You just said that if the person had done just what they

21         were supposed to it wouldn't a problem, is the officer

22         ever to blame?

23   A     Sure.

24   Q     In your experience, have you had officers who were to

25         blame?



                                      41
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 1   A     Yes.

 2   Q     What do you do in those situations?

 3   A     If an officer -- if it is something that warrants

 4         discipline, then I will discipline.

 5                                    EXAMINATION

 6   BY MS. MOTLEY:

 7   Q     Can you give an example?

 8   A     There's -- well, I don't want to just take things out of

 9         the air without something specific.

10                                    EXAMINATION

11   BY MR. SCHWAB:

12   Q     In the three or four times that people came forward with

13         criticism or complaints of racial discrimination or

14         profiling, was the officer ever to blame?

15   A     I don't think so.

16   Q     Is the Wauwatosa Police Department racist?

17   A     No.

18   Q     Has it ever been?

19   A     Not in the 31 years that I have been part of it.

20   Q     Are there any racist officers?

21   A     Not to my knowledge.

22                     MS. BAYNARD: Calls for speculation, go ahead.

23                     THE WITNESS:    Not to my knowledge.

24         BY MR. SCHWAB:

25   Q     Do you know if any of your officers engaged or were



                                      42
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 42 of 376 Document 291-3
 1         participants in the January 6th insurrection on the U.S.

 2         Capitol?

 3   A     I'm not aware of any.

 4   Q     Are you aware that there were law enforcement officers

 5         that invaded the capitol that day?

 6   A     Just from what I read in the papers.

 7   Q     When you learned that, did you wonder if any of your

 8         officers had done so?

 9   A     No.

10   Q     You didn't even wonder?

11   A     No.

12   Q     If you found out your officer had done that, what would

13         you do?

14   A     I think I probably would have started an internal

15         investigation to find out exactly what transpired.

16   Q     If you found out an officer trespassed into the capitol

17         to -- with nooses hanging outside, your reaction would

18         be investigation?

19                      MS. BAYNARD:   Objection, misstates his prior

20         testimony.    Go ahead.

21                      THE WITNESS:   I'm sorry?

22   BY MR. SCHWAB:

23   Q     If you found out that an officer of yours had invaded

24         the capitol with that group of people while there were

25         nooses outside, your response would have been to start



                                      43
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 43 of 376 Document 291-3
 1         an investigation?

 2   A     Probably.

 3   Q     But you never inquired?

 4   A     No.

 5                                    EXAMINATION

 6   BY MS. MOTLEY:

 7   Q     Do you have if any officers with the Wauwatosa Police

 8         Department took off of work during the capitol

 9         insurrection?

10   A     I don't know.

11   Q     Did you check?

12   A     I did not.

13                                    EXAMINATION

14   BY MR. SCHWAB:

15   Q     Would it upset you if one of your officers had

16         participated?

17   A     If they went to a protest, I don't think I would be

18         upset; if they participated in something that was

19         illegal, I would be.

20   Q     In your 31 years, have any of your officers broken the

21         law?

22   A     I'm sure.

23   Q     Do you know of any?

24   A     Yes.

25                                   EXAMINATION



                                      44
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 44 of 376 Document 291-3
 1         BY MS. MOTLEY:

 2   Q     Were they prosecuted for breaking the law?

 3   A     Yes.

 4   Q     Which officer was this?

 5   A     Bill Bariski (Phonetic) years ago, he has been retired

 6         for a long time, he was arrested for a drunk driving

 7         while he was off duty.

 8                                    EXAMINATION

 9         BY MR. SCHWAB:

10   Q     Have any of your officers ever been arrested for violent

11         crimes?

12   A     I think there was an officer many, many years ago that

13         was involved in domestic violence with his wife.

14   Q     Okay.   So you said you don't believe any of your

15         officers are racist?

16   A     I don't think so.

17                                    EXAMINATION

18   BY MS. MOTLEY:

19   Q     Do you know if any of your officers have ever been

20         prosecuted?    You said there was a domestic violence

21         incident, correct?

22   A     Yes.

23   Q     Do you know if that officer was actually prosecuted for

24         that?

25   A     I don't know if that particular officer was --



                                      45
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 45 of 376 Document 291-3
 1         ultimately -- (inaudible) -- for another offense.

 2   Q     Do you know if any of your officers have ever been

 3         prosecuted for sexual assault of a child?

 4   A     I don't know that.     I would hope not.

 5   Q     Do you know if any of your officers had a relationship

 6         with a minor child on your watch?

 7   A     Yes.

 8   Q     Did you forward that issue to the district attorney's

 9         office in Milwaukee County?

10   A     Yes.

11   Q     Do you know if they ultimately prosecuted that officer

12         for that?

13   A     They did not.

14   Q     Did you provide any consequences to that officer for his

15         relationship with a child?

16   A     Yes.

17   Q     What was that consequence?

18   A     The child was -- it was a consensual relationship with a

19         young woman that was three months from her 18th

20         birthday.

21   Q     You do know according to law if you are under 18 there

22         is no consensual relationship?

23   A     I understand that.

24                     THE COURT REPORTER:     We have to wait.

25         BY MS. MOTLEY:



                                      46
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 1   Q     You do understand according to the law if you are under

 2         the age of 18 in the State of Wisconsin that there is no

 3         consent to having a relationship with an adult person no

 4         matter how close they are to being 18 years' old?

 5   A     I understand that, that is why I terminated him.

 6   Q     Which officer was this?

 7   A     Dennis Slagle, S-L-A-G-L-E.

 8   Q     Did you inform the police and fire commission of your

 9         termination of Mr. Slagle?

10   A     Yes, because there was a hearing that was conducted.

11   Q     What year was that?

12   A     It was in the early 90's -- no, wait, let's see, I think

13         it was 22 years ago, whatever year that was, because my

14         son was the same age and the girl was in his class.

15                                    EXAMINATION

16   BY MR. SCHWAB:

17   Q     How old was the officer?

18   A     40-ish.

19                                    EXAMINATION

20   BY MS. MOTLEY:

21   Q     What about Jeffrey Newman (Phonetic), was he ever -- how

22         did he leave the office?

23   A     He quit.

24   Q     Why did he quit?

25   A     I think it was not really for him, and he was involved



                                      47
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 47 of 376 Document 291-3
 1         in the incident with the sword.

 2   Q     Antonio Gonzalez (Phonetic)?

 3   A     Gonzalez, and so he left.

 4   Q     Do you think he was a good officer?

 5   A     He was average at best.

 6   Q     Why did he get the medal of valor for being an average

 7         officer?

 8   A     Because he did the right thing when he was called upon

 9         to do the right thing.

10   Q     What was the right thing?

11   A     Stop the threats.

12                                    EXAMINATION

13   BY MR. SCHWAB:

14   Q     Who was the threat to?

15   A     The threat was to Officer Mensah and to Officer Newman.

16   Q     So they got a medal of valor for protecting themselves?

17   A     Correct.

18                                    EXAMINATION

19         BY MS. MOTLEY:

20   Q     Do you recall who recommended that medal of valor?

21                     THE COURT REPORTER:     You guys keep switching

22         back and forth and I am having a really hard time

23         keeping up with who is asking the question.

24                         (Discussion had off record.)

25   BY MS. MOTLEY:



                                      48
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 1   Q     Now, with the awards that officer received, are those

 2         also approved by the police and fire commission?

 3   A     No.

 4   Q     So you're the person that approves those?

 5   A     Yes.

 6   Q     Okay.   Who was the officer that was -- who lied to you

 7         about how fast -- in your deposition of Steve Buscevich

 8         (Phonetic) on September 21st of 2020 you mentioned an

 9         officer was lying to you about the speed that he was

10         going, do you recall who that officer was?

11   A     There were two, there was -- I think that one was Steve

12         Thompson, but there has been another officer prior to

13         him, a few years prior, Jeff Butterfield (Phonetic), who

14         I terminated.     I terminated both of them because both of

15         them had said things that weren't true about the way

16         they were driving, and of course we have the in-car

17         videos, and also -- there's also like a black box on an

18         airplane, it shows the speeds that the officers were

19         driving that didn't add up to what we saw.

20   Q     Did you get the approval of the police and fire

21         commission to terminate those officers?

22   A     Thompson was still on probation so I did not need that,

23         Butterfield, I think he resigned before I could

24         terminate him.

25   Q     But you have the right as the police chief to terminate



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 1         an officer without going to the police and fire

 2         commission, correct?

 3   A     No, if they're on probation I do.        If they're not, I

 4         have to request the termination.

 5   Q     Okay.   You have to?

 6   A     Yes.

 7   Q     According to what?

 8   A     I think it's under 62.13.

 9                     THE COURT REPORTER:     What?

10                     THE WITNESS:    I think it is under 62.13 of the

11         statutes, the police chief pretty much requests, you

12         know, a termination.

13         BY MS. MOTLEY:

14   Q     Under 62.13 it states that a person may appeal a

15         termination, but it doesn't say that the chief has to

16         get the permission of the police and fire commission --

17   A     Sure.

18   Q     -- in order to, so you can terminate someone without the

19         permission of the police and fire commission?

20   A     By that, yes, but every officer who is getting

21         terminated usually requests an appeal.

22   Q     Right, but you can do that?

23   A     I could say I am recommending -- I am recommending your

24         termination.

25   Q     Right, but then they're terminated, and then it's up to



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 1         the officer to appeal that termination?

 2   A     Yes.

 3   Q     I imagine a 40-year-old officer who is having a

 4         relationship with a 17-year-old probably wouldn't fight

 5         you terminating them?

 6   A     No, he did.

 7   Q     He did, and it had went to the police and fire

 8         commission?

 9   A     Yes.

10   Q     And they agreed with your recommendation?

11   A     Yes.

12   Q     Is an officer lying to you, is that grounds for

13         termination?

14   A     If I find out about it, yes.

15   Q     And you mentioned that you terminated an officer for

16         lying about the speeds that he was going?

17   A     Yes.

18   Q     And you are aware of the fact that Officer Mensah has

19         lied about the speeds he was going with the chase on the

20         highway for an incident that happened at Home Depot?

21                     MS. BAYNARD:    Objection to the form of

22         question, compound, irrelevant.        Go ahead.

23                     THE WITNESS:    I think to see that Mensah was

24         lying I think I would have to look at the contextual

25         frame of what he said and what he was aware of.



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 1         BY MS. MOTLEY:

 2   Q     He said he was going 75 miles per hour when in fact he

 3         was going 110 miles per hour, do you recall that?

 4   A     I guess, yes.

 5   Q     And you would agree that an officer should know the

 6         difference between going 75 miles per hour versus

 7         110 miles per hour?

 8   A     I certainly would hope so.

 9   Q     Did he receive any consequence for lying about his

10         speed?

11   A     I believe his lieutenant wrote up his review of the

12         incident, and I don't know if we disciplined him based

13         on what the recommendation was.

14   Q     Do you recall what the discipline was?

15   A     I don't.

16   Q     Do you recall who recommended discipline?

17   A     I think at that time Mensah worked for Lieutenant Freena

18         (Phonetic), so it probably would have come from

19         Lieutenant Freena.

20                                    EXAMINATION

21   BY MR. SCHWAB:

22   Q     In your 31 years has any officer at the Wauwatosa Police

23         Department used excessive force?

24   A     Yes.

25   Q     When was the most recent time that you were aware of?



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 1   A     You know, I look at a lot of police reports, sometimes I

 2         see them and say, well, did we do the right things on

 3         those.    One particular incident does come to mind.           I

 4         remember when I first started there was an officer who

 5         roughed up a kid behind the mall.        This was back in 1990

 6         right after I first started, so that officer, I was

 7         going to take him to the commissioners, and he resigned.

 8         I think I would look at -- use of force incidents are

 9         such that you look at every one of them very carefully

10         to see.   You know, it's easy for me to say, "that

11         shouldn't have happened," but I wasn't there.          So I

12         always try to put it into context, you know, under the

13         circumstances were they trying to do right things.             That

14         is always where the judgment comes in too.

15   Q     You mentioned use of force reports, is it the policy of

16         the Wauwatosa police that every time an officer uses

17         force they're required -- he or she is required to write

18         up a report?

19   A     I believe that is part of the reports that we do, yes.

20   Q     What would be the consequence of not producing a report

21         or preparing a report?

22   A     Depends on the circumstance, if it was just an

23         oversight, or deliberate, indifference, or whatever, I

24         don't know.

25   Q     And if an officer grabbed someone by the arm, would that



                                      53
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 1         require a use of force report?

 2   A     Probably not.

 3   Q     Okay.   I assume anytime they pull their gun out of their

 4         holster, that would require a use of force report?

 5   A     No.

 6   Q     No?

 7   A     No.

 8   Q     If they pointed their gun at someone, would that?

 9   A     Not necessarily.

10   Q     So if they point their gun at someone but they don't

11         fire their gun, they're not required to prepare a use of

12         force report?

13                     MS. BAYNARD:    Objection as to the form, it

14         misstates prior testimony.       Go ahead.

15                     THE WITNESS:    It depends on the circumstance.

16         You know, if an officer pulls their gun out, you know,

17         if you are searching a factory and you get an alarm at

18         2:00 in the morning and you are searching a factory, if

19         you're going in there you probably have your gun out.

20         BY MR. SCHWAB:

21   Q     Sorry, let me restate.      If an officer points their gun

22         at someone is that a use of force?

23   A     It probably at some point is a use of force, or they

24         wouldn't do that, yeah.

25   Q     But just the mere pointing a gun at someone, you



                                      54
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 1         wouldn't say is absolutely always a use of force?

 2   A     I would not say absolutely, depends on the circumstance.

 3   Q     Is the use of pepper spray on someone a use of force?

 4   A     Yes.

 5   Q     If they were to use pepper spray, an officer would be

 6         required to produce a report?

 7   A     Yes.

 8   Q     If they were to fire a pepper ball, would that require

 9         for every firing if -- I apologize.        Do you guys use --

10         does the Wauwatosa Police Department utilize pepper

11         balls, pepper ball guns?

12   A     We did.

13   Q     When?

14   A     October.

15   Q     Okay.   For the use of that munition, would a use of

16         force report be required?

17   A     A report would probably be required.

18   Q     Do you maintain the logs of how many pepper balls you

19         have in stock?

20   A     I don't know if we do.      That would be something that I

21         would not look at.

22                     MR. SCHWAB:    Fair enough.

23                                    EXAMINATION

24   BY MS. MOTLEY:

25   Q     What do you mean by it would probably be required, that



                                      55
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 1         they would have put in a use of force report?

 2   A     Because when they were used in October there was so many

 3         incidents happening simultaneously I don't know what the

 4         report was, if it was an individual that they used it

 5         toward, or toward a group of people, or if it was, like,

 6         one major incident, I'm not sure.

 7   Q     So spraying someone with mace, is that considered use of

 8         force?

 9   A     I believe so, yes.

10   Q     Would they have to write a report about that?

11   A     Normally, yes.

12                                    EXAMINATION

13   BY MR. SCHWAB:

14   Q     Do you guys use beanbag rounds or 40-millimeter less

15         legal munitions?

16   A     We have beanbag rounds.

17   Q     Okay.    And for every time one of those is fired, would

18         you expect a use of force report?

19   A     Yes.

20   Q     Would you require a use of force report?

21   A     I would think so.

22                                   EXAMINATION

23         BY MS. MOTLEY:

24   Q     If someone was tackled to the ground, is that considered

25         use of force?



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 1   A     Yes.

 2   Q     Would that officer be required to write a report about

 3         that?

 4   A     Write a report, yes.

 5   Q     If someone is handcuffed on the ground and they bring

 6         them to the ground, is that considered use of force?

 7   A     If they're brought to the ground, yes.

 8   Q     Would a report be required?

 9   A     Probably.

10   Q     Probably?

11   A     Well, if somebody -- again, it depends on what the -- if

12         you give me a specific situation, I could probably tell

13         you.

14   Q     Who makes the determination when a report is supposed to

15         be written and when it's not?

16   A     Depending on what the officer says the circumstances

17         that they were faced with, they would determine if they

18         needed to write a report or document the incident.

19   Q     And the officer would verbally tell you this?

20   A     He wouldn't tell me.      He would probably talk to his

21         supervisor and see what the supervisor would say, "yes,

22         I would write a report on that."

23   Q     Does every officer have to tell their supervisor, "do I

24         need a report to write about this situation," or do they

25         automatically -- are they trained to write reports?



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 1   A     If you're taking somebody to the ground, you would write

 2         a report on it.

 3   Q     That is an automatic, if you take somebody to the

 4         ground, you write a report?

 5   A     Yes.

 6   Q     They wouldn't have to talk to the supervisors about

 7         that?

 8   A     Probably not.

 9                                    EXAMINATION

10         BY MR. SCHWAB:

11   Q     Do you have a policy on when reports are required?

12   A     Probably, I mean, it's not something I would normally

13         look at.

14   Q     Okay.   And, you know, so just to repeat, would you say

15         there is some discretion the police officers are given

16         in determining when to write a report?

17   A     Yes.

18   Q     Is that discretion ever reviewed?

19   A     Yes.

20   Q     What happens if an officer decides not to write a report

21         when they should have?

22   A     If the supervisor becomes aware of that, the supervisor

23         might say, "why wasn't there a report written?          You need

24         to document that one."

25   Q     What if an officer used his firearm, fired several



                                      58
     Case 2:20-cv-01660-NJ Filed 02/02/23 Page 58 of 376 Document 291-3
 1         rounds at someone, and didn't write a report?

 2   A     That would be unacceptable.

 3   Q     Would you fire that person?

 4   A     Depends on why they didn't write the report.

 5   Q     If an officer pointed a gun at someone's head and didn't

 6         file a report, what would your response be?

 7   A     I would want to know the circumstances of why, what

 8         happened and why there was no report.

 9   Q     Do you believe a report would be required if an officer

10         pointed a gun at someone's head?

11   A     I believe so.

12                                    EXAMINATION

13         BY MS. MOTLEY:

14   Q     When would a report be required if an officer just

15         pointed a gun at someone?

16   A     Not necessarily.     I can give you an example:       Getting an

17         alarm at a house, so maybe we think the owner is on

18         vacation or whatever, but maybe they came back, we

19         don't -- you know, they didn't tell us they're back, and

20         we see somebody in the house.       The officer is going to

21         say, "I don't know, it might be a burglar," I am going

22         to pull the gun out.      "Wait a minute, hey, I live here."

23         No harm, no foul done, that would be the example I was

24         thinking of.

25   Q     If an officer pulled out their Taser on someone, would



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 1         they be required to write a report?

 2   A     No.

 3   Q     If an officer uses their Taser, would they be required

 4         to --

 5   A     It changes then, yes.

 6                     THE COURT REPORTER:     You guys have to slow

 7         down.

 8                                    EXAMINATION

 9   BY MR. SCHWAB:

10   Q     Can you tell me why you wouldn't require a report, or

11         something even as simple as, I was inspecting -- or,

12         rather for that example you just provided, why not have

13         them write up a two-line report just to document that?

14   A     You mean what I said about the house?

15   Q     Yes.

16   A     Because if they went to the homeowner is saying -- they

17         would then get on the radio and say, "it's the

18         homeowner, no further action is required, back in

19         service."

20   Q     But in this scenario, the police officer even

21         momentarily pointed a gun at someone?

22   A     It was documented when he called it in on the radio.

23   Q     Okay.

24   A     That the officer required it.

25   Q     Have you ever had a gun pointed at you by an officer?



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 1   A     By an officer?

 2   Q     Yes.

 3   A     No. No, other than training exercising, though.

 4   Q     Do you believe that having a police officer point a gun

 5         at you is a frightening experience?

 6   A     Yes.

 7   Q     Even if you were a homeowner coming home early from

 8         vacation?

 9   A     Yes.

10   Q     How do you train your officers on use of force?

11   A     Every -- I said earlier, we quarterly train on the

12         shooting range, and the use of force policy is gone over

13         each time, and the shift supervisors regularly go over

14         the use of force policy with officers, in some of the

15         other trainings that we do and send people to, use of

16         force is covered a lot.

17   Q     Let's dig in.     So when an officer comes onto the force

18         they have to undergo, I assume, some significant

19         training?

20   A     Yes.

21   Q     Who -- are you the one that decides where they receive

22         their training?

23   A     No.

24   Q     Who decides that?

25   A     That would be the personnel training lieutenant.



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 1   Q     Does the Wauwatosa Police Department have a police cadet

 2         school?

 3   A     We do not.

 4   Q     And where do -- is there a school that you send your

 5         officers to?

 6   A     There is two of them that we go to, we can go to either

 7         MATC or WCTC.

 8   Q     MATC and --

 9   A     WCTC in Waukesha, Waukesha County Technical College.

10                                    EXAMINATION

11         BY MS. MOTLEY:

12   Q     With regards to the hiring of your officers, what are

13         some of the things that your officers are required to do

14         before you hire them?      Let's start with the training

15         first, are they required to do any training before

16         they're hired?

17   A     Not before they're hired.

18   Q     Are they required to fill out a job application?

19   A     Yes.

20   Q     Is this online or by paper?

21   A     I think it's online now.

22   Q     Online now, when did it become online?

23   A     Probably the last couple of years.

24   Q     But before that there was a paper application?

25   A     Yes.



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 1   Q     Are they required to have any level -- educational

 2         level?

 3   A     Yes.

 4   Q     What is that?

 5   A     I think you have to have at least 60 credit hours or a

 6         two-year degree.

 7   Q     Okay.    60 credit hours, is it towards anything specific?

 8   A     Toward -- towards an associate degree.

 9   Q     Okay.    Could it be, like, an associate degree in

10         culinary skills?

11   A     Yes.

12   Q     Oh, really?

13   A     I think so.

14   Q     It could be an associate's degree in art?

15   A     Yes.

16   Q     So they just need some type of associate degree?

17   A     State of Wisconsin's requirements, yes.

18   Q     Are they required to go through any psychological

19         assessments?

20   A     Before we hire them they are.

21   Q     Are there any specific doctors that they're supposed to

22         go to?

23   A     We direct them who to go to.

24   Q     Who do you go to?

25   A     We use Dr. Rick Bauman (Phonetic).



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 1   Q     Any other doctors?

 2   A     No.

 3   Q     Why do you direct them to go to Dr. Rick Bauman?

 4   A     We have used Dr. Bauman for approximately 25 or

 5         26 years, and he does pre-hiring assessments.          He

 6         does -- we send somebody -- we send our people there

 7         before they promoted too, and I have a lot of faith in

 8         him because he's been -- he's been a, a business

 9         psychologist, I believe.      And I have always had a good

10         working relationship with him, and I find that the

11         candidates, we send them there, the ones that we usually

12         get back we're pretty satisfied with.

13   Q     What does the pre-hiring assessment consist of?

14   A     Whatever battery of psychological tests that he deems is

15         appropriate, I don't know, I think they still use the

16         MMPI, but what exactly he does, I don't know.          I didn't

17         go to him.

18   Q     What is the MMPI?

19   A     Minnesota Multiphasic Personality Inventory.

20   Q     Okay.   So he does that assessment with them for

21         pre-hiring?

22   A     Yes.

23   Q     Do you know if he does any other testing or

24         psychological assessments?

25   A     He does a battery of tests, usually the candidates are



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 1         there for like four hours.       He does a battery of tests,

 2         and then he does an interview with them too.

 3   Q     Okay.    So do you know what is included in the battery of

 4         tests?

 5   A     I don't.

 6   Q     Do you also look at, if officers come from -- I mean, I

 7         assume a lot of officers have had a prior job before.

 8         Do you also call their previous employer?

 9   A     Yes.

10   Q     Okay.    And if an officer comes from another law

11         enforcement agency, do you get their personnel file?

12   A     Usually we're allowed to look at it, the agencies don't

13         always release them, but usually we're allowed to look

14         at it.

15   Q     Has there ever been a time you weren't allowed to look

16         at an officer's personnel file that you hired?

17   A     No, if I can't see the personnel file then I wouldn't

18         hire them.

19   Q     Have you ever sort of -- were you ever able -- sorry.

20         Did you ever not hire an officer based on their

21         personnel file?

22                      MS. BAYNARD:   Objection to the form of the

23         question.    Go ahead.

24                      THE WITNESS:   I have not hired officers based

25         on their background that had we find out.



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 1   BY MS. MOTLEY:

 2   Q     Okay.   Do you do a criminal background check on officers

 3         before you hire them?

 4   A     Yes.

 5   Q     Do you do -- and when have you had a situation where you

 6         haven't hired an officer based on their prior employment

 7         experiences?

 8   A     That's happened numerous times in every process that we

 9         do.

10   Q     About how long does this process take a person, you

11         know, once they fill out their application, how long

12         does the hiring process take?

13   A     It varies, but it could be anywhere from three to

14         six months depending on what we've got going and when we

15         schedule the tests, and physical agility and things like

16         that.

17   Q     What time period, or at what point do you tell that

18         officer or the prospective candidate that they should go

19         ahead see Dr. Bauman?

20   A     When we do that we've given them a conditional offer of

21         employment.    Prior to that, they have to go to the

22         assessment center that we run, they have to go through

23         the physical agility tests we give them, they have to

24         undergo the police and fire commission interviews, and

25         then I believe they also have to -- we get their



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 1         background check done by the detective bureau.

 2   Q     With regards to the assessment center, what does that

 3         include?

 4   A     That is -- in the early days they used to always be

 5         given written tests.

 6   Q     What is "the early days," just so we're clear?

 7   A     I mean the previous ten years, prior ten years.          We

 8         would administer the state test, it is a state test for

 9         law enforcement officers, a written test, we found that

10         we were hiring people, and still they wouldn't always

11         make it through probation, so I wasn't happy with that

12         test.   We started doing an assessment center that some

13         agencies seemed to have more success with.          So the

14         assessment center consists of -- you know, it's like an

15         all-day situation where the candidate comes in and has

16         to undergo a number of different scenarios, and -- for

17         instance, we will do a simulated traffic stop, we'll do

18         a simulated thing where you deal with a person who

19         doesn't follow any of your directions at all, how are

20         you going to interact with them.

21                     Now, people who have been police officers

22         before are usually -- are better at that than somebody

23         who has never been a cop before -- I don't know what to

24         do with the guy, and what he can and can't do, we will

25         get a sense of how well they communicate, how well they



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 1         can take charge of the situation, and the assessors are

 2         made up of members that are trained in our own

 3         departments, so there is like a dozen people that are

 4         assessors.

 5   Q     Do those assessors, do they write their results out of

 6         the assessment?

 7   A     I believe they do.

 8   Q     Okay.   And so these are -- they're assessment reports, I

 9         assume?

10   A     I don't know what they do because the day after the

11         assessment center they all get together and go through

12         everything.    It takes them all day long to go through

13         what the reports are.      And usually when we do the

14         assessment center we only invite, like, a dozen people

15         to participate as candidates.       If we can get six or

16         eight people out of those dozen to move on, we're doing

17         good.

18   Q     After this assessment, which is written, right?

19   A     You mean by the assessors?

20   Q     By the assessors, yes.

21   A     I think they write something down.

22   Q     After -- you think they write something down?

23   A     Yeah, I don't see what they write.

24   Q     So who does see what they write?

25   A     That -- within that group, maybe the personnel and



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 1         training lieutenant would see that, but I don't.

 2   Q     So is there anything else that happens at the assessment

 3         center aside from simulations?

 4   A     Whatever things they're putting them through, I don't

 5         know.

 6   Q     Are there any written tests that officers have had to go

 7         to in the assessment center within the last seven years?

 8   A     I don't think so.

 9   Q     So there's no tests with the assessment center other

10         than simulations?

11   A     Whatever they do in that, you know, as I said, it's an

12         all-day process.     It's usually more -- because if you go

13         for a written test somewhere, it takes you maybe an hour

14         or two to do that written test.        The assessment center

15         is all day.    So when I have hired people I have asked

16         them, "how was that," they said, "man, that was tough."

17   Q     And there's a physical component also?

18   A     Yes.

19   Q     -- with the assessment --

20   A     Yes.

21                      THE COURT REPORTER:    Please wait until you

22         have finished with her question before you answer.

23         BY MS. MOTLEY:

24   Q     In terms of the physical component, what is required

25         with that?



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 1   A     They do something that is based on some standard, and I

 2         don't know what the standard is, but they have to do a

 3         certain amount of pushups and sit-ups within a certain

 4         amount of time, and do a mile-and-a-half run that has to

 5         be completed in a certain amount of time.

 6   Q     And is it the same assessors that assess the simulation

 7         that also assess the physical component?

 8   A     No.

 9   Q     So the different assessors for the physical component,

10         do they, you know, write down the results of the

11         physical?

12   A     They probably have a checklist, it is usually run under

13         the direction of the personnel training lieutenant.

14   Q     Okay.   So they have a checklist?

15   A     Probably.

16   Q     Okay.   Then after that, there's the PFC better views?

17   A     Yes.

18   Q     Okay.   I'm just trying to understand the process.             I

19         want to be a Wauwatosa police officer, I fill out an

20         application, who reviews it?

21   A     The personnel lieutenant does.

22   Q     Then based on those applications, the personnel

23         lieutenant determines who they want to the bring to the

24         assessment center?

25   A     Yes.



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 1   Q     Then the person goes to the assessment center first?

 2   A     Right.

 3   Q     Or, are they interviewed first?

 4   A     I think they do the physical agility before the

 5         assessment center.

 6   Q     So they do physical agility, and them that is assessed

 7         by people that will have a checklist?

 8   A     It's pretty much pass/fail.

 9   Q     But there's some checklist that they have?

10   A     I think so.

11   Q     I assume, like, if a person came in to run a mile in,

12         like, three minutes, you would want to write that down?

13   A     Yes.

14   Q     Because it was just remarkable, or even if it was

15         unremarkable?

16   A     Right.

17   Q     So that is documentation.       Then after the physical

18         component, then they go to the assessment center?

19   A     Yes.

20   Q     That's where the simulations happen?

21   A     Yes.

22   Q     By -- multiple people are assessing that?

23   A     Yes.

24   Q     And then they sort of note what happens in the

25         assessment center?



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 1   A     Yes.

 2   Q     And then, after that, do they then go to the PFC

 3         interviews?

 4   A     That would be the next phase.

 5   Q     Okay.   And is it every member of the PFC that

 6         participates in the interview process?

 7   A     We need a minimum -- there's five commissioners, we need

 8         a minimum of three.      Usually all five are there,

 9         sometimes you might have only four if somebody had a

10         conflict or whatever, but most of the time it is all

11         five.

12   Q     And those interviews, I assume they take notes of --

13         note what the candidate is saying in writing?

14   A     They have notes that they work from, and they have a

15         score sheet that, they evaluate that interview.          They

16         turn that into the personnel lieutenant right then and

17         there at the end of the interview, and then he gathers

18         them up so he can total scores so they know by the end

19         of the night if we have enough people to make the list,

20         or who passes or who did not pass.

21   Q     Do the candidates ever have a one-on-one interview with

22         you or your team within the Wauwatosa Police Department?

23   A     Not at that point.

24   Q     So then after that, so they've created sort of this file

25         on candidates, I assume, with the assessment center



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 1         notes, with the checklist, with the physical, and also

 2         with the PFC interviews?

 3   A     Yes.

 4   Q     And after that, then what happens if a person is deemed

 5         to be appropriate to the move to the next stage?

 6   A     They are put on the list, the police and fire commission

 7         certifies a list.     Let's just say we have ten people on

 8         the list, I can hire them in any order that I want to.

 9         Usually what we'll do is we will hire them, because we

10         will say these first two people are certified, this

11         person is not.     He's farther down the list, but WCTC has

12         a recruit academy coming up in, say, July 1st, let's get

13         that person up there because it is going to take him ten

14         weeks to go to the academy.       So we kind of jockey them

15         that way.    It is always -- (inaudible) -- there is a

16         reason I don't want to hire somebody, you know, because

17         we do the background checks, if there is somebody, just

18         say, you know what, we didn't realize he had a drug

19         problem or whatever, then I have to notify the police

20         and fire commission I would like to take this person off

21         the list, and they want to know what the reason is.            You

22         tell them, and then that person is removed.

23   Q     Okay.   So then you look at the list and you determine

24         who you are certifying, is that a certification through

25         the Wauwatosa Police Department, or through the IEFC?



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 1   A     The PFC is the one that has to certify the list.

 2   Q     Okay.   And then you look at that list?

 3   A     Well, I sit in on those interviews with the PFC.           I'm

 4         able to see them at that time too.

 5   Q     Do you also create notes on the candidates when you are

 6         sitting in on interviews?

 7   A     For myself I do.

 8   Q     You don't give it include it -- you don't give it to the

 9         personnel lieutenant like the -- (inaudible) --

10   A     No, nor does the PFC know what I say.         I always did it,

11         because I'm just mainly a guest of the PFC at those

12         meetings.    You know, it is their interview.        I sit there

13         and I write my notes, and I want to see if we're on the

14         same page, because if they say, well, this is our top

15         candidate, I like to see how I rated them too.          Lately

16         enough, we're close, not always right on, but close.

17         And there is times when you get somebody -- of course,

18         with the assessment center the candidates are all vetted

19         ahead of time.

20                     In the older days with the written tests you

21         didn't know who you were getting.        You know, sometimes

22         you would get somebody who had just barely made the list

23         and has got a 70 percent.       I remember there was times I

24         would sit in that meeting, and you would have a

25         candidate with a 30-minute interview, and after five



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 1         minutes it is like, well, this is going to be a long

 2         half-hour, other people after a half-hour we wish we

 3         could talk to them longer because they're so good.

 4         There's times I remember the commissioners are looking

 5         at me like, how this did this guy even make it through.

 6   Q     Typically you and the PFC usually come to the same

 7         conclusion, so good or not good, it sounds like?

 8   A     Yes.

 9   Q     After that process of them being certified, then what is

10         the next step, or let's just talk about the candidates

11         that make it to the next step.

12   A     The next step would be the background check.

13   Q     And who conducts that?

14   A     It is under the direction of our detective bureau.

15   Q     Okay.   So then say a person passes the background check,

16         this is a criminal background check, right?

17   A     We do one that is criminal.

18   Q     What else?

19   A     We do credit checks.      We talk to references.      We talk to

20         jobs where they've worked because they've listed

21         everything.    We have talked to neighbors where they've

22         lived to see, you know, many of them are young people

23         and were renting places, so we want to know if they were

24         problematic as tenants.      We find out everything we can

25         about people, we have their physical transcripts too.



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 1   Q     Is this the stage where for those that were prior law

 2         enforcement officers, where you would ask for their

 3         personnel file?

 4   A     Yes.

 5   Q     And this whole check is documented, correct?

 6   A     Yes.

 7   Q     And this goes in that same sort of file for a candidate?

 8   A     Yes.

 9   Q     So then after, let's say a person passes all the checks,

10         then what is the next stage?

11   A     After the background check, then they would bring it to

12         me and say, you know, can you sign off on it and we can

13         go ahead and hire this person, and it is just getting in

14         where we have the time slots and so on, yes, then we'll

15         schedule them for the psychological tests.

16   Q     That is when you recommend Dr. Bauman to them?

17   A     We send them to Dr. Bauman, and they also schedule them

18         for the drug screen and what doctors do.

19   Q     And who pays for their assessment with Dr. Bauman?

20   A     The city does.

21   Q     How much does that cost?

22   A     I think it's about $450 or $500 right now.

23   Q     An hour?

24   A     No, for the test.

25   Q     Oh, for the test?



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 1   A     Per person.

 2   Q     Do you know how long that assessment with Dr. Bauman

 3         takes?

 4   A     It's about four hours.

 5   Q     And that is when he does the MMPI?

 6   A     Yes.

 7   Q     After, what does passing with Dr. Bauman look like?

 8   A     I get a report back from Dr. Bauman, and he has --

 9         there's a bar chart on it that just lists people, like,

10         their maturity level, how they are, how quickly they

11         work, what is their intelligence, whatever he assesses.

12         Then he gives me some strong points, and, say, that

13         these are considered good points for somebody, you know,

14         he's confident, or he works well with people, here is

15         some points that might be areas that you want to work at

16         with them.    And it will say, you know, he lacks

17         self-confidence, so by working with him some more, or

18         making him -- his training officers aware that he night

19         need strength in this area, he would be a good officer

20         or whatever.

21                      In the final paragraph, it is always a

22         recommendation that, I consider so-and-so a strong

23         candidate, above average candidate, average candidate,

24         capable, sometimes you have got to try to read those

25         words.



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 1   Q     It sounds like Dr. Bauman creates comprehensive written

 2         report that you receive, is that accurate?

 3   A     Yes.

 4   Q     Within that report, he doesn't share this person is on

 5         this type of medication, or he doesn't share personal

 6         medical information with you?

 7   A     Never.

 8   Q     That would be a violation of HIPAA, is that why?

 9   A     Yes.

10   Q     Have you ever asked Dr. Bauman for anyone's personal

11         medical information?

12   A     Never.

13   Q     I assume you haven't done that because of HIPAA, is that

14         accurate?

15   A     I think it would be wrong to do even if we didn't have

16         the HIPAA, so I have never done it.

17   Q     Then the report, the comprehensive written report he

18         gives you has virtually no medical information in it,

19         correct?

20   A     Correct.

21                     MS. MOTLEY:    Sorry, I did that.     We were

22         saying the same thing at the same time.

23         BY MS. MOTLEY:

24   Q     So the comprehensive written report by Dr. Bauman that

25         you receive has no medical information in it?



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 1   A     Correct.

 2   Q     And then, have you ever had a candidate who failed the

 3         the assessment by Dr. Bauman and then you didn't go

 4         forward with them?

 5   A     Yes.

 6   Q     Is that typical?

 7   A     No, it's unusual.

 8   Q     Okay.   And then does Dr. Bauman give you -- is this sort

 9         of like -- does Dr. Bauman give you a letter to say,

10         basically a cover letter to that report?

11   A     No, I think it's all part of the same report.

12   Q     Okay.   Does he typically e-mail you these documents, or

13         does he mail them to you, how do you receive them?

14   A     If he knows I'm in a hurry because we've got a deadline

15         to meet, the school or whatever, he'll e-mail me the

16         report, but then it's always followed up with the hard

17         copy in the mail.

18   Q     But you'll always get an e-mail and a hard copy?

19   A     One or the other -- well, I always get the hard copy.

20         Sometimes he will give me a phone call and say, I got

21         the report done, give me a call.        I will call, and he

22         will say, "here is what I am recommending, here is why,

23         and here is the good points, blah, blah, blah, I will

24         have the report to you by Friday."

25   Q     You'll always get at least a hard copy?



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 1   A     Always.

 2   Q     And the e-mail at some point, depending on your wanting,

 3         how fast you want to the move forward with the

 4         candidate?

 5   A     Always a hard copy, and a phone call and/or e-mail.

 6                      MS. MOTLEY:   Okay.

 7                      MR. SCHWAB:   Are you about done with --

 8                      MS. MOTLEY:   Go ahead.     Thank you.

 9                                    EXAMINATION

10         BY MR. SCHWAB:

11   Q     One quick followup or question on Dr. Bauman's

12         pre-hiring assessments:      Does he perform a psychological

13         assessment?

14   A     I believe that is what it is, yes.

15   Q     So beyond -- you mentioned intelligence and confidence,

16         does he go into more detail, you know, on concerning

17         traits?

18   A     I don't know exactly what he does with people.

19   Q     What would you -- what type of assessment or finding

20         would you find disqualifies someone from being a police

21         officer?

22   A     Well, I think if it's somebody who does not have the

23         intellectual capabilities to even complete the reports,

24         or cannot communicate adequately, I would probably want

25         to disqualify them right there, but then if we have to



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 1         do a background check, because if there's any question

 2         in my mind to do a background check, and we look at the

 3         school transcripts, that would probably let me know that

 4         the person is not at the level that we would prefer.

 5   Q     Putting aside intelligence and hard skills like the

 6         ability to communicate or school grades or past crimes,

 7         does someone's emotional state have a bearing on whether

 8         they can be a good police officer?

 9   A     Yes.

10   Q     Can someone be too interested in violence to be a police

11         officer?

12   A     I would think so.

13   Q     And in your experience in 31 years have you ever seen

14         someone that was too interested in violence that applied

15         to be a police officer?

16   A     Probably.

17                                   EXAMINATION

18         BY MS. MOTLEY:

19   Q     And with regards to all of these documents for hiring

20         somebody, if a person is hired, then, you know, that's

21         the file that is created on them, correct?

22   A     Yes.

23   Q     And those documents, they're not destroyed, right?

24   A     I don't think so.

25   Q     Okay.   And are those documents, most of them are hard



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 1         copy or electronic?

 2   A     I think most them are hard copy.

 3   Q     Okay.    When's the last time -- and then after that, do

 4         they then get invited to go to the police academy?

 5   A     If we're going to hire them and they are not already

 6         certified, then they would to be the academy.

 7   Q     What do you mean "not already certified," the

 8         certification, the PFC, is that what you're talking

 9         about?

10   A     No, many of the candidates nowadays will go and pay for

11         themselves to go to WCTC or MATC to get certification.

12         It costs the candidates $2,000 or $3,000 to get that,

13         but because there is so many people that -- the jobs are

14         competitive, a lot of times there's just many suburbs,

15         especially, that don't want to the pay $2,000 or $3,000

16         to have to go to school, so they won't even look at the

17         candidates.    A lot of these young people will go and pay

18         to have themselves certified.

19                     We've always done a combination of both.           I

20         hate to spend the $3,000 on to send somebody to school

21         for 11 weeks, but if it is a great candidate and we

22         think they have potential, then we are willing to do it.

23   Q     So you send them to WCTC or MATC?

24   A     Usually WCTC is our preferred.

25   Q     So then is that considered police academy?



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 1   A     Yes.

 2   Q     How long does that process take?

 3   A     I think the academy is 11 weeks.

 4   Q     And what do they learn in that 11 weeks?

 5   A     They learn everything.      A lot of times you get somebody

 6         who has never been a cop before.        They learn everything.

 7         They'll cover the legal things, they'll cover the use of

 8         force, learn how to handle a firearm, they will cover

 9         first aid, the criminal investigations, all the things,

10         evidence collecting, traffic, how to drive a squad car,

11         how to conduct a traffic stop, everything.

12   Q     You would agree that with your policies a lot of them

13         are unique to Wauwatosa police officers?

14   A     Probably.

15   Q     Okay.   So within that 11-week time period, is that when

16         candidates receive your specific polices, or how does

17         that work?

18   A     No, once they graduate the academy, they come back to us

19         and they're in field training, as we call it FTO, field

20         training officer, and then they ride with somebody for,

21         it is usually about four or five months, that is when

22         they learn about the culture and how we do things in

23         Wauwatosa.

24   Q     That is why it takes about three to six months, this

25         whole process?



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 1   A     The three to six months to get through the interview

 2         process, and once you're hired if not certified think

 3         11 weeks at the academy, which is just short of three

 4         months, and another four or five months riding with

 5         somebody, a year goes by pretty quick.

 6   Q     So if you determine that someone is an appropriate

 7         candidate to move forward to going to WCTC, who pays for

 8         that?

 9   A     The city does.

10   Q     Okay.   And that is $3,000 per person?

11   A     Right, plus if we've hired the person and we're sending

12         them there, we're paying their salary.

13   Q     You're paying salary on top of that?

14   A     Yes.

15   Q     And when do they get certified by the LESB, the Law

16         Enforcement Standards Bureau?

17   A     Upon graduation from the academy.

18   Q     At WCTC?

19   A     Yes.

20   Q     Typically the candidates that go to WCTC that you send,

21         are they in classroom with other police trainings from

22         our jurisdictions as well?

23   A     Yes.

24   Q     But for the candidates for Wauwatosa, once they

25         graduate, then within that four-month time period after



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 1         is when they receive your specific policies?

 2   A     Yes.

 3   Q     How are you doing?

 4   A     As far as what?

 5   Q     Do you need a break?

 6                      MS. MOTLEY:   For the record it is now

 7         10:38 a.m.    Why don't we break until 11:00, or

 8         ten minutes to 10:50.

 9                         (A recess was taken.)

10   BY MS MOTLEY:

11   Q     The time is 10:52 a.m.      Just one last question on this

12         subject:    So the process as you outlined for hiring new

13         Wauwatosa police officers, this is the process that has

14         existed within the Wauwatosa Police Department for the

15         last seven years?

16   A     Yes.

17                      MS. MOTLEY:   Thank you.

18                                    EXAMINATION

19   BY MR. SCHWAB:

20   Q     In your time as police chief of Wauwatosa, how many

21         curfews have you enforced?

22   A     Are you talking about all curfews, because there's

23         always been the curfews for children under the age of 18

24         or whatever --

25   Q     So I assume that is a continuing curfew?



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 1   A     Yes.

 2   Q     Aside from the children's curfew, before this year,

 3         before 2020, had there ever been a curfew enforced?

 4   A     Not to my knowledge.

 5   Q     And this year, or in the last 12 months, how many

 6         curfews have been instituted?

 7   A     I think two.

 8   Q     Okay.   When was the first?

 9   A     I thought there was one in May, and then the other one

10         was in October.

11   Q     What was the basis or cause of the May curfew?

12   A     That was when we were having people mainly coming from,

13         down either Burleigh Street or Center Street at high

14         speeds from Milwaukee, and they were strung out across

15         the entire road, you know, from the westbound and

16         eastbound lanes there was speeding.        I think that was

17         when we talked about the curfew, and I don't know if we

18         had to do anything with the curfew other than it was

19         just traffic.

20                                    EXAMINATION

21   BY MS. MOTLEY:

22   Q     And just for the record, are you referring to the curfew

23         of May 31st through June 2nd, 2020?

24   A     That is probably it.

25   Q     There was a curfew on August 13th as well, correct.



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 1   A     I don't know.

 2                      MS. MOTLEY:    Okay.

 3                                     EXAMINATION

 4   BY MR. SCHWAB:

 5   Q     So were you involved in the planning or declaration of

 6         either of these curfews?

 7   A     When you say "planning or declaration," I think I may

 8         have recommended that we have a curfew, that would be

 9         the extent of it.

10   Q     For May?

11   A     Yes.

12   Q     And for October?

13   A     Same.

14   Q     Okay.   Whose idea was it to have a curfew?         I will

15         explain a little bit further, did the mayor or the city

16         council come to you?

17                      MS. BAYNARD:    For which curfew?

18         BY MR. SCHWAB:

19   Q     For the October curfew.

20   A     October, no it was probability the opposite, we went to

21         the mayor.

22   Q     So you were the one that had the idea for the emergency?

23   A     The police department, yes.

24   Q     When you say "the police department," was it your idea,

25         or was it someone below you?



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 1   A     It would -- again, as I said earlier, I meet with the

 2         captains on a regular basis, and we meet on a daily

 3         basis, so that is probably where it was discussed, and

 4         then I made a recommendation to the mayor after that.

 5   Q     Do you remember when it was first discussed?

 6   A     I am guessing sometime around the end of September.

 7   Q     Towards the end of September?

 8   A     Yeah, I think so.

 9   Q     And do you recall if it was you that raised it in

10         discussing it with the captains, or did the captains

11         bring the idea to you?

12   A     They would have brought the idea to me.

13   Q     Do you remember which captain?

14   A     No.

15   Q     How many captains are there?

16   A     There's three, for a while we had four because we had a

17         transition when Mike Schultz (Phonetic) was retiring a

18         couple of weeks ago.

19                     THE COURT REPORTER:     Mike Schultz, I am sorry.

20                     THE WITNESS:    Yes, Mike Schultz.      So that is

21         when Gaberich (Phonetic) was made captain, so we had

22         four for the time being.

23         BY MR. SCHWAB:

24   Q     You had four for the time being, and what was the fourth

25         captain the captain of?



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 1   A     Gaberich was made captain, and he was still assigned to

 2         the administrative bureau while he was transitioning

 3         from personnel and training.

 4   Q     And so you believe it was in late September?

 5   A     I think so.

 6   Q     What was the basis of -- why did you decide to recommend

 7         that curfew be instituted?

 8   A     Because it was anticipated that there would be a ruling

 9         from the district attorney's office on the Mensah

10         shooting, and we were trying to avoid any repeats of

11         what happened in Kenosha.

12   Q     Okay.

13                                    EXAMINATION

14   BY MS. MOTLEY:

15   Q     So you recommended to institute that curfew based on two

16         things:    What happened in Kenosha after the Jacob Blake

17         shooting on August 25th, and also based on the decision

18         of the DA's office regarding the Alvin Cole shooting?

19                     MS. BAYNARD:    Objection to the form of the

20         question, misstates his prior testimony.         Go ahead.

21                     THE WITNESS:    What happened in Kenosha, and

22         also the anticipation of the district attorney's

23         decision coming out.

24         BY MS. MOTLEY:

25   Q     Those were the only two reasons that made you --



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 1   A     Well, yeah, but also seeing what happened in Minnesota

 2         and around the country, you know, we wanted to be

 3         prepared.

 4   Q     And you're referring to what happened in Minnesota and

 5         around the country with regards to the George Floyd

 6         incident?

 7   A     Yes.

 8                                   EXAMINATION

 9         BY MR. SCHWAB:

10   Q     Did you have any threats of violence before suggesting

11         that this curfew was enforced or was being enacted?

12   A     Yes.

13   Q     Please tell me about those.

14   A     We follow social media, we also utilize things from the

15         Fusion Center, so when our own people pick up

16         information on the street, we had also seen what had

17         happened, you know, even in our own city at the

18         Cheesecake Factory.

19   Q     So before you suggested the institution of a state of

20         emergency, emergency declaration and a curfew for the

21         October protest, can you tell me a specific threat of

22         violence or property that you reviewed?

23   A     As I said, I also would be looking at social media to

24         see the reports coming, and I was also at the Cheesecake

25         Factory in July, and I saw what had happened in Kenosha,



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 1         and saw what happened in Minneapolis and Portland and

 2         Seattle.

 3   Q     Let me just --

 4                                    EXAMINATION

 5   BY MS. MOTLEY:

 6   Q     With regards to the Cheesecake Factory in July, what

 7         happened?

 8   A     There was a protest by the Cheesecake Factory, and

 9         people went there and also went in the restaurant and

10         disrupted the business.

11   Q     But they didn't destroy any property, correct?

12   A     Not at that time.

13   Q     And they didn't physically harm anybody, correct?

14   A     Correct.

15                                    EXAMINATION

16   BY MR. SCHWAB:

17   Q     When you say you followed social media, do you have a

18         Twitter account?

19   A     I do not.

20   Q     Do you have a Facebook account?

21   A     No.

22   Q     Walk me through -- are you just scrolling through

23         Facebook every day?

24   A     Never.

25   Q     Does the Wauwatosa Police Department follow particular



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 1         people?

 2   A     I don't know.

 3   Q     Can you explain to me then when you said you guys follow

 4         social media what that means?

 5   A     We have a crime analyst, civilian crime analyst, he

 6         follows social media, and he would bring to me, you

 7         know, I would ask him if we had any particular threats

 8         or what is going on, and he would let me know what were

 9         certain things he had seen.

10   Q     Were any --

11                                    EXAMINATION

12         BY MS. MOTLEY:

13   Q     Who is your crime analyst?

14   A     Dominic Ratkowski.

15   Q     And he is from -- he is a Wauwatosa police officer?

16   A     No, he is a civilian.

17   Q     And the Wauwatosa police office does not pay him to do

18         this?

19   A     No, he is a full-time employee.

20   Q     He is a full-time employee with the Wauwatosa Police

21         Department?

22   A     Yes.

23   Q     And how do you spell his last name?

24   A     R-A-T-K-O-W-S-K-I.

25   Q     And how long has he been the civilian that follows the



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 1         social media on behalf of the Wauwatosa Police

 2         Department?

 3   A     I think he has been with us about two years.

 4                     MS. MOTLEY:    Go ahead.

 5                                    EXAMINATION

 6   BY MR. SCHWAB:

 7   Q     Was there a particular business that was threatened?

 8   A     I believe so.

 9   Q     Can you tell me what business that was?

10   A     Mayfair Mall, the shopping mall, and the Cheesecake

11         Factory.

12   Q     And this was threatened in anticipation of the Alvin

13         Cole charging decision?

14   A     I don't know what the threaten was about, but, yes, that

15         was the timeframe.

16   Q     These were the bases, at least part of the bases for

17         your suggestion that a curfew be instituted?

18   A     Curfew, yes.

19                                    EXAMINATION

20   BY MS. MOTLEY:

21   Q     When was the Mayfair Mall threatened, what was the date?

22   A     I don't know the date, but people had said throughout

23         that we had monitored, we need to shut down the mall, we

24         need to do things to the mall, and the Cheesecake

25         Factory, we are going to shut it down.         That day in July



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 1         in the Cheesecake Factory and we were in the Cheesecake

 2         Factory they were yelling to shut it down.

 3   Q     The Cheesecake Factory that day was not shut down,

 4         correct?

 5   A     Business was disrupted on more than one occasion where

 6         they had to exit the customers.

 7   Q     But that was the last day, when they went to the

 8         Cheesecake Factory and actually went into the Cheesecake

 9         Factory, correct?

10   A     I am not sure.

11   Q     But in July, which is the day you keep referencing, they

12         actually did not shut down Cheesecake Factory, it was

13         disrupted but business was not shut down that day,

14         correct?

15                     MS. BAYNARD:    Objection to the form of the

16         question, compound.

17                     THE WITNESS:    I don't think I would agree with

18         that because the business was disrupted.         They were not

19         able to conduct their business.

20                     THE COURT REPORTER:     You said it was

21         disrupted, and --

22                     THE WITNESS:    They were not able to conduct

23         their business.

24         BY MS. MOTLEY:

25   Q     Do you recall that I sent you an e-mail on that day, the



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 1         Cheesecake Factory was not shut down in July, correct?

 2                     MS. BAYNARD:    Objection to the form of the

 3         question.

 4                     THE WITNESS:    I don't remember your e-mail.

 5         You sent so many of them.

 6         BY MS. MOTLEY:

 7   Q     Right.   With regards to Mayfair Mall, when was the last

 8         time that the Mayfair Mall was threatened, the date?

 9   A     I don't know the date.

10   Q     Was that also in July?

11   A     Probably, it's been numerous times Mayfair Mall would be

12         threatened.

13                     MS. MOTLEY:    Okay.

14                                    EXAMINATION

15         BY MR. SCHWAB:

16   Q     When you say "threatened," did anyone ever say, "let's

17         burn it down"?

18   A     I have heard that, and I have seen that.

19                                    EXAMINATION

20         BY MS. MOTLEY:

21   Q     You have heard it from people?

22   A     I have heard it from people.

23                     MS. MOTLEY:    Sorry, go ahead.

24                                    EXAMINATION

25         BY MR. SCHWAB:



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 1   Q     You say you have heard it and you have seen it, have you

 2         seen it on social media?

 3   A     I have.

 4   Q     Do you have records of that?

 5   A     I don't.

 6   Q     Why not?

 7   A     I don't do social media, when somebody would show me the

 8         social media, and here is what they said, I don't keep a

 9         record of it.     I am not the analyst, I have no need for

10         me to keep a record of it.

11   Q     Did someone print it out?

12   A     They may have.

13   Q     Did the analyst save it?

14   A     He probably did.

15   Q     Do you have a records retention policy related to

16         threats?

17   A     I don't know if it pertains to threats specifically, I

18         don't know.

19   Q     If these were strong enough for you to believe that a

20         curfew should be instituted, would you agree that those

21         records should have been kept?

22   A     Probably.

23   Q     Okay.   Do you know if those records were kept?

24   A     I will assume that Dominic would keep those records

25         because he's very meticulous.



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 1   Q     If someone heard on the street that someone had said

 2         that they were going to burn down Mayfair Mall, would

 3         they write that down in the report?

 4   A     Would who write it down?

 5   Q     That officer?

 6   A     He may or may not.

 7   Q     So you're saying that the police department received

 8         reports and has records that there were threats to burn

 9         down the Mayfair Mall?

10   A     I am saying that I have seen reports from social media

11         that there were threats, whether or not those things

12         were retained, because a lot of times I would just look

13         at somebody's computer and say, here is what is being

14         said right now, I would look at those.         I didn't print

15         them out.    I don't go on social media myself so I don't

16         have any records.

17                                    EXAMINATION

18   BY MS. MOTLEY:

19   Q     Just to be clear, when you say you saw reports from

20         social media, if someone posts something on social

21         media, do you consider that to be a report?

22   A     If someone --

23   Q     -- posts something on social media, like, if someone

24         posts a threat about Mayfair Mall on their social media,

25         do you consider that posting to be a report?



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 1   A     I don't consider it anything other than what it is, that

 2         somebody said something on social media, I see it, and

 3         then I will react to it to the degree that I need to.

 4   Q     A better question is:      When you're saying you saw

 5         reports from social media, what does that mean?          I'm

 6         trying to understand, does an officer see it and then

 7         writes the report?     What are we talking about?

 8   A     No, I'm saying that Dominic, our civilian analyst, he

 9         would get it on his computer because he monitors social

10         media.     I would see reports come on, and he would show

11         me what he's got, "here is what I've got."          Okay.

12   Q     What is Dominic's Facebook handle?

13   A     I have no idea.

14   Q     What is Dominic's Twitter handle?

15   A     I have no idea.

16   Q     But he has one?

17   A     I guess.

18   Q     But that is information that would be available to you?

19   A     If I wanted to know it, but I don't care.

20                      BY MS. MOTLEY:    Okay.

21                                    EXAMINATION

22   BY MR. SCHWAB:

23   Q     I'm sorry, but I really want to get into a little detail

24         here.    Can you give me in detail every threat that

25         formed the basis of your recommendation for a curfew?



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 1   A     No.

 2                      MS. BAYNARD:   Objection, asked and answered,

 3         and responded.

 4         BY MR. SCHWAB:

 5   Q     So just to confirm, you cannot tell me every threat that

 6         formed the basis for your recommendation for a curfew?

 7   A     I cannot.

 8   Q     Were there threats to any individuals?

 9                      MS. MOTLEY:    The curfew of October 2020?

10                      MR. SCHWAB:    Correct.

11                      THE WITNESS:   As it pertained to the curfew,

12         is what you mean?

13         BY MR. SCHWAB:

14   Q     In the month of August or September leading up to that

15         curfew, were there any threats to people that led you to

16         recommend a curfew be instituted after the DA announced

17         his charging order?

18   A     Threats to people, I am not sure if there was threats to

19         people, but, again, I still saw the things, you know,

20         and you hear the comments about, "we got to do something

21         more with Mayfair, burn it down, shut it down, shut down

22         city hall," I saw those threats to.

23   Q     And did you investigate those?

24   A     I did not.

25   Q     Did anyone go and speak with those people?



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 1    A    I don't know.

 2    Q    Was there any determination of credibility?

 3    A    I don't know.

 4                                    EXAMINATION

 5         BY MS MOTLEY:

 6    Q    Who are those people?

 7                          (Discussion had off record.)

 8   BY MS. MOTLEY:

 9    Q    Who are those people?

10    A    What are you referring to?

11    Q    When you mentioned, you had said you would see threats

12         of "shut it down," and with regards to Mayfair Mall,

13         that those people would say that, I am just trying to

14         get clarification of who those people are.

15    A    The people that would make those threats on social

16         media.

17    Q    What is their names?

18    A    I don't know.

19    Q    What is their organization that they're affiliated with?

20    A    Probably some people are and some aren't.          There's a lot

21         of things being said.

22    Q    Which organizations?

23    A    The People's Revolution is one that identified

24         themselves many times.

25    Q    What about Tosa Together?



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 1    A    I didn't pay any attention to anything from Tosa

 2         Together.

 3    Q    Black Lives Matter-Milwaukee?

 4    A    They probably said things, but I didn't pay attention.

 5    Q    Milwaukee Artists for Racial Change?

 6    A    Never heard that name.

 7    Q    Indivisible Tosa?

 8    A    Heard about them, don't know anything about them.

 9    Q    The idea of Antifa?

10    A    I don't know anything about them.

11    Q    Okay.    So your focus -- not focus, but the only

12         organization that you can identify that may have said

13         "shut it down" of Mayfair is People's Revolution?

14    A    It's the only organization of people who identified

15         themselves that we saw prominently on social media,

16         whether or not those were the same people that said

17         "shut is down" or do whatever, we saw a lot of things

18         from The People's Revolution, whether or not they were

19         the specific ones, I don't know.

20    Q    Is The People's Revolution a terrorist organization?

21    A    I have no idea.

22    Q    What's your definition of a terrorist organization?

23    A    I think a terrorist organization would be a group that

24         advocates violence and civil disobedience to affect

25         changes to try to overthrow or undermine the United



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 1         States government.

 2                                     EXAMINATION

 3   BY MR. SCHWAB:

 4    Q    A group that advocates civil disobedience is a terrorist

 5         organization?

 6    A    Civil violence.

 7                      MS. BAYNARD:    Objection, misstates his prior

 8         testimony.     You've cleared it up.      Go ahead.

 9                                     EXAMINATION

10         BY MS. MOTLEY:

11    Q    Just to be clear:      Could you please repeat your

12         definition of a "terrorist organization"?

13    A    That was the first time I was asked to define it.           I

14         think it's a group of people or organization that

15         advocates violence or plans to disrupt or undermine the

16         United States government and it's subsidiaries.

17    Q    Do you consider yourself to be part of the United States

18         government?

19    A    I'm part of the Wauwatosa city government.

20    Q    Okay.    So do you believe that The People's Revolution

21         advocates violence?

22    A    I don't think they advocate violence.

23    Q    Do you believe that The People's Revolution advocates

24         for civil disobedience or plans to disrupt or undermine

25         the U.S. government?



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 1    A    Not the U.S. government.

 2    Q    Who do you think they plan to disrupt?

 3    A    I think that some of their members have advocated to

 4         disrupt our city and the peace and wellbeing in

 5         Wauwatosa.

 6    Q    Okay.    But based on your definition of a terrorist

 7         organization, do you think The People's Revolution is a

 8         terrorist organization?

 9                      MS. BAYNARD:    Objection, asked and answered.

10                      THE WITNESS:    I do not.

11                                     EXAMINATION

12         By MR. SCHWAB:

13    Q    Do you know if any of your officers have ever referred

14         to People's Revolution as a terrorist organization?

15    A    I don't know if they did or not.

16    Q    If you were to learn that someone did, would you find

17         that inappropriate?      If one of your officers referred to

18         them as terrorists or a terrorist organization, would

19         you find that conduct inappropriate?

20    A    No, I think that police officers like anybody else are

21         entitled to their opinions.

22    Q    What about when they are wearing their uniforms, are

23         they entitled to the same opinions?

24    A    It depends on what their opinions are and who they

25         proclaim them to.



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 1    Q    So if an officer representing himself as an officer of

 2         Wauwatosa Police Department says that The People's

 3         Revolution is a terrorist organization, is that properly

 4         attributed to the Wauwatosa Police Department?

 5    A    If an individual officer made that comment, that would

 6         be that individual officer who made that comment, not

 7         the police department.

 8    Q    While he's wearing his uniform?

 9                     THE COURT REPORTER:      I am sorry, I missed what

10         you just said.

11                     MR. SCHWAB:    While he is wearing his uniform.

12                     THE WITNESS:     He made his individual comment.

13         I speak for the Wauwatosa Police Department.

14                                    EXAMINATION

15   BY MS. MOTLEY:

16    Q    So the buck stops with you with the Wauwatosa Police

17         Department?

18    A    When it comes to the statements and stuff, yes.

19    Q    And also when it comes to policy decisions?

20    A    Yes.

21    Q    That includes also unwritten policy decisions?

22                     MS. MOTLEY:    What did we call them earlier?

23                     MR. SCHWAB:    Informal policies.

24                     MS. MOTLEY:    Informal policies.

25                     THE WITNESS:     Well, I've got to tell you, I



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 1         certainly don't tell the guys to make sure you gas up

 2         the car or clean your car for somebody, when I was

 3         giving an example before, but those things I don't get

 4         involved in.

 5         BY MS. MOTLEY:

 6    Q    But you already mentioned you are the chief policy maker

 7         for the Wauwatosa Police Department?

 8    A    Yes.

 9    Q    And that includes formal polices as well as informal

10         policies of the Wauwatosa Police Department?

11    A    Yes.

12                                    EXAMINATION

13   BY MR. SCHWAB:

14    Q    If an officer used the "N" word while wearing a uniform,

15         would that trouble you?

16    A    What is the "N" word you're referring to?

17                     MS. MOTLEY:    The derogatory term for

18         African-American people that is used by some people,

19         that "N" word.     I don't know what other "N" word there

20         is.

21                     THE WITNESS:     I want to make sure we are

22         clear, but that would trouble me.

23         BY MR. SCHWAB:

24    Q    That would trouble you, would there be consequences?

25    A    If I found out about it, yes.



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 1    Q    You wouldn't just say, mark it up to, "that's their

 2         opinion"?

 3    A    No.

 4    Q    If a police officer said "black people are monkeys"

 5         while wearing a uniform, would that trouble you?

 6    A    That is about as saying the "N" word.

 7    Q    Would there be consequences for that?

 8    A    Absolutely.

 9    Q    If a police officer while wearing a uniform described a

10         local organization a terrorist organization, would you

11         be troubled by that?

12    A    Depends on what the organization is.

13    Q    If you were to learn that a police officer wearing a

14         police uniform referred to The People's Revolution as a

15         terrorist organization, would that trouble you?

16    A    I would want to know what the context was.

17    Q    What context would be appropriate there?

18    A    Well, with the interaction that that officer had with

19         that person that he would make that label.

20    Q    Do you know any of any interaction that would warrant

21         that type of label?

22    A    I don't.

23    Q    Do you think it's appropriate to refer to civic

24         organizations as terrorist organizations?

25    A    No.



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 1                                   EXAMINATION

 2         BY MS. MOTLEY:

 3    Q    Do you keep a list of people that are presumably in The

 4         People's Revolution?

 5    A    No.

 6    Q    Does anyone within the Wauwatosa Police Department keep

 7         a list of people who are within The People's Revolution?

 8    A    Not to my knowledge.

 9    Q    Did you hear about this protester list that your

10         officers have created on The People's Revolution?

11    A    No.

12    Q    On July 14th of 2020 there was an e-mail sent from Shane

13         W-R-U-C-K-E, who is that?

14    A    Shane Wrucke is the lieutenant in charge of the

15         detective bureau.

16    Q    Okay.    And in this e-mail he referred to a protest

17         folder, "this list can be found in open investigations

18         in the protest folder," what is he talking about?

19    A    I have no idea.     I don't know what the protest folder

20         is.

21    Q    On July 14th, 2020, Dominic Ritkowski referred to an

22         updated list where there are around 40 people on it that

23         he's fully ID'd, what is he talking about?          You were

24         actually on this e-mail.

25    A    I don't know.



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 1    Q    You didn't ask?

 2    A    I did not.

 3    Q    Do you read your e-mails?

 4    A    Most of them.

 5    Q    I wasn't trying to be funny.        Does your secretary read

 6         your e-mails and tell you, how does that work?

 7    A    You know what, so many of the e-mails that I get, even

 8         at our break, you know how you get those and you just

 9         delete, and I delete a lot of them.         I wasn't involved

10         with those kinds of things, you know, they've got,

11         Sergeant Wrucke and Dominic Ritkowski are exchanging

12         information about those things.        Okay, guys, I don't

13         need to know.

14    Q    There has been several spoliation letters sent to you

15         and the Wauwatosa Police Department to preserve evidence

16         as it relates to the protest and the curfew, did you

17         delete any of those e-mails?

18    A    Not right away.

19    Q    But you have?

20    A    Once I forward them to the city attorney and to the

21         administrative bureau to handle those, you know, what is

22         required, then I delete them.

23    Q    By the "city attorney," are you referring to Alan

24         Kesner?

25    A    Yes.



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 1    Q    So the e-mails that are part of the preservation letters

 2         and spoliation letters in reference to curfews and

 3         protesting, you would have forward all those e-mails to

 4         Alan Kesner or the city administrator, is that correct?

 5    A    Not the city administrator, I don't think.

 6    Q    Sorry, who else did you say?

 7    A    I would send them to Alan Kesner and the administrative

 8         bureau, probably Captain Morrison or Lieutenant Roy.

 9    Q    Okay.    Would you forward them to Mayor McBride?

10    A    No.

11    Q    Would you forward them to Dominic Leone or anyone else

12         within the fire and police commission?

13    A    No.

14    Q    Okay.    And other than your bweber@Wauwatosa.net do you

15         use any other e-mail addresses?

16    A    No.

17                                    EXAMINATION

18   BY MR. SCHWAB:

19    Q    Is that a personal e-mail, or is that your official

20         e-mail?

21    A    That's the city e-mail.

22    Q    At bweber.net?

23    A    Bweber@Wauwatosa.net, that is the city e-mail.

24    Q    How long does the police, or the City of Wauwatosa

25         retention policy?



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 1    A    Yes.

 2    Q    Are you familiar with that?

 3    A    A little bit.

 4    Q    Do you check with that before you delete e-mails?

 5    A    I do not.

 6    Q    Do you know what it states in regards to maintenance of

 7         e-mails?

 8    A    I believe we require that our e-mails are kept for seven

 9         years or whatever it is, I don't know, but anything I

10         delete is still able to be retrieved by the IT

11         department.

12    Q    So is it your understanding that there is an essential

13         database that holds on to seven years of e-mails, and

14         then you have a separate inbox which you can clean up?

15    A    Yes.

16    Q    So your understanding is that when you delete an e-mail

17         you're not violating any policy or destroying any

18         evidence?

19    A    Correct.

20                                   EXAMINATION

21         BY MS. MOTLEY:

22    Q    With regards to you and Mayor McBride, do you ever

23         communicate with Mayor McBride by e-mail?

24    A    Very little.

25    Q    Do you ever communicate with Mayor McBride by text



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 1         message?

 2    A    Probably less than e-mail.

 3    Q    But you have communicated?

 4    A    I have.

 5    Q    Okay.    Have you communicated with Mayor McBride by

 6         e-mail in relation to the curfew of October?

 7    A    Yes, I believe so.

 8    Q    Have you communicated with Mayor McBride by text message

 9         with regard to the curfew of October of 2020?

10    A    Probably.

11    Q    Did you communicate with any members of the fire and

12         police commission by e-mail in relation to curfews in

13         October of 2020?

14    A    I don't think so.

15    Q    Did you communicate with fire and police commission by

16         text message with regards to curfew of October of 2020?

17    A    I don't think so.

18    Q    Did you talk to anyone within the fire and police

19         commission by phone in relation to any of the protests

20         or any of the curfews of 2020?

21    A    I may have.

22    Q    Did you communicate with Dominic Ritkowski by e-mail,

23         phone, or text message with regards to any protesting or

24         curfews of 2020?

25    A    I don't think I did.      I think I may have talked to him



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 1         in person, but I may have gotten something from him when

 2         there was a protest at my house.

 3    Q    Did Dominic Ritkowski, did he forward to you or send to

 4         you any reports with regards to curfews or protests of

 5         2020?

 6    A    He may have.

 7    Q    Did you communicate with Alan Kesner or any other of the

 8         city attorneys that we have had on -- (inaudible) -- or

 9         I believe George Schimmel, let's just say any of the

10         city attorneys, did you communicate with them by text

11         message, by e-mail as it relates to curfews or

12         protesting in 2020?

13    A    I don't think so.

14    Q    Did you communicate with them, any of the city

15         attorneys, by phone with regards to curfew/protesting in

16         2020?

17    A    Yes.

18    Q    And who did you communicate with?

19    A    Alan.

20    Q    How often did you communicate with him?

21    A    Once or twice.

22    Q    Did you communicate by text, by phone, by text message

23         or e-mail with the city administrator as it relates to

24         curfews of protesting in 2020?

25    A    I don't think so.



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 1    Q    Did you communicate with the city administrator by phone

 2         as it relates to protesting and curfews in 2020?

 3    A    Yes.

 4    Q    Did you communicate with any members of the common

 5         council by text message or e-mail with regards to

 6         curfews or protesting in 2020?

 7    A    No.

 8    Q    Did you communicate with any common council members by

 9         phone in relation to curfews or protesting in 2020?

10    A    No.

11    Q    Did you write any orders in relation to the curfews or

12         protesting in 2020?

13    A    I think when we had the curfew in place and when we were

14         anticipating some problems in October, I may have signed

15         off on the order that had to do with other --

16         (inaudible).

17    Q    Do you recall signing off any special orders as it

18         relates to say any protesting or curfews in 2020 aside

19         from October -- let's just take it one-by-one, did you

20         create any special orders in relation to the curfew in

21         May of 2020?

22    A    I don't know if I did or not.

23    Q    Okay.    Who would know?

24    A    Kevin Vetter would probably know.

25    Q    When did he become a captain, by the way?



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 1    A    I believe it was February of 2020.

 2    Q    Okay.    Did you -- did any of your designees, like your

 3         secretary or Captain Vetter or anyone that you

 4         designated to, did they create any communications,

 5         whether it be by text or e-mail, with regards to the

 6         curfew or protesting in 2020?

 7    A    I don't believe it would be my secretary, maybe a

 8         captain, but I don't know for sure.

 9    Q    Okay.

10                                    EXAMINATION

11   BY MR. SCHWAB:

12    Q    I apologize.     I wanted to return to the institution of

13         the October 6th or 7th through 14th curfew?

14                     MS. MOTLEY:    The curfew of October 7th through

15         October 12th.

16                     MS. BAYNARD:     So we have the same

17         understanding, when they say the October curfew, that is

18         the timeframe.

19                     THE WITNESS:     Yes.

20         BY MR. SCHWAB:

21    Q    So you were the one that first came up with the idea?

22    A    My police department and I, yes.

23    Q    And you suggested it to Mayor McBride?

24    A    Yes.

25    Q    Did you also suggest or discuss this with the common



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 1         council?

 2    A    I did not.

 3    Q    Why not?

 4    A    I don't -- the common council is not in my chain of

 5         command, you know, the mayor is who I report to, and as

 6         I detailed earlier, the city administrator, so I don't

 7         communicate with them.

 8    Q    Did you also suggest it to the city administrator?

 9    A    Probably.

10                                    EXAMINATION

11         BY MS. MOTLEY:

12    Q    Did you also discuss it with the fire and police

13         commission?

14    A    No.

15    Q    Did you discuss it with the fire and police commission?

16    A    No.

17                                    EXAMINATION

18   BY MR. SCHWAB:

19    Q    So what was the primary basis for it?

20    A    Preventative, so we wouldn't have the same kind of

21         issues happen in our city that happened in other places

22         around the country including Kenosha.

23                      MR. SCHWAB:   Okay.

24                                    EXAMINATION

25         BY MS. MOTLEY:



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 1    Q    Did you also discuss this with the city attorneys?

 2    A    Briefly, yes.

 3    Q    Which attorneys?

 4    A    Alan Kesner.

 5    Q    Did you discuss it with Hanna Kolberg?

 6    A    I don't think so.

 7    Q    Did you discuss it with George Schimmel?

 8    A    Never.

 9    Q    Did you discuss it with the municipal court judge in

10         Wauwatosa?

11    A    No.

12                                     EXAMINATION

13   BY MR. SCHWAB:

14    Q    So the primary was preventative?

15    A    Yes.

16    Q    And what were you trying to prevent?

17    A    Violence and destruction in our city.

18    Q    Okay.    And you said Kenosha, can you give me some other

19         examples of places you were concerned about?

20                      MS. BAYNARD:    Objection, asked and answered.

21                      THE WITNESS:    Chicago, Minneapolis, Portland,

22         Seattle.

23   BY MR. SCHWAB:

24    Q    Did you speak with anyone from any of these cities?

25    A    No.



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 1    Q    Do you know the police chiefs from any of these cities?

 2    A    The chief from Kenosha, I knew of him.         I know his name.

 3         I didn't really have any relationship with him, though.

 4    Q    Did you speak with any officers from any of these police

 5         departments?

 6    A    No.

 7    Q    Was what you learned based solely on news reports?

 8    A    Yes.

 9    Q    Were there any problems with how the police responded in

10         any of these cities?

11    A    I don't know.

12    Q    Did any of these police use excessive force against

13         protesters?

14    A    I would have no knowledge of that.

15    Q    Are you aware that in Portland and Seattle the city

16         police departments were subject to restraining orders

17         and injunctions relating to the use of force on

18         protesters?

19    A    I am not aware.

20    Q    But you were following the unrest?

21    A    Yes.

22    Q    So you didn't follow it completely?

23    A    I saw things on the news like everybody else did, I did

24         not want that to happen to my city.

25                     MR. SCHWAB:    Okay.



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 1                                    EXAMINATION

 2   BY MS. MOTLEY:

 3    Q    Could you define what a "riot" is?         Let me give you a

 4         better question, sorry.       Were there any riots in

 5         Wauwatosa before the October 2020 curfew?

 6    A    I don't know the exact date we started having some of

 7         our disorder in our community.        Prior to our disorder

 8         that we had, I wouldn't call any of it a riot.

 9    Q    So there hasn't been any riots in -- you've had

10         disorder, but not riots in Wauwatosa?

11    A    Yes.

12                                    EXAMINATION

13   BY MR. SCHWAB:

14    Q    I am going to hand you what is labeled as Exhibit 1.            I

15         will give a minute to read that over.

16    A    Okay.

17    Q    Are you familiar with this document?

18    A    Yes.

19    Q    Is that your name at the bottom?

20    A    It is.

21    Q    And is it fair to say that you sent this to Mayor

22         McBride?

23    A    Yes.

24    Q    And the date is September 10th?

25    A    Correct.



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 1    Q    Okay.    So the first sentence you write, "After reviewing

 2         our situation and planning for the possibility of civil

 3         unrest, several issues are of concern."         Tell me about

 4         your review of Wauwatosa's situation?

 5    A    Yeah, like said a couple minutes ago, I had seen what

 6         was happening in other parts of the country and Kenosha,

 7         and I wanted to make sure that we knew exactly what we

 8         were facing in our city, the possibilities could be.

 9    Q    Okay.    And tell me about the -- is the possibility of

10         civil unrest within that?

11    A    Yes.

12    Q    Can you define for me what you meant by "civil unrest"?

13    A    Well, in the second paragraph I refer to the unrest in

14         Kenosha which resulted in violence and property

15         destruction, people were injured, so I think that is

16         exactly what I was referring to.

17    Q    Okay.    Were you suggesting through this that no one be

18         allowed out on the streets after 7:00 p.m.?

19    A    At this point I am not requesting a specific time or

20         whatever, I am asking the mayor to consider that we use

21         a curfew.

22    Q    So let's get into a little more of what you intended by

23         this curfew:     Was it your intention that at least during

24         the curfew there would be no path for protest?

25    A    I think if you put a curfew in effect, whatever time you



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 1         decide the curfew is going to be, that means people need

 2         to be off the street.

 3    Q    So even peaceful protests wouldn't be allowed?

 4    A    Not if there's a curfew in effect.

 5    Q    Okay.

 6                                    EXAMINATION

 7   BY MS. MOTLEY:

 8    Q    Does that mean people can't even be outside their homes

 9         if they are a Wauwatosa resident?

10    A    I think there is a reasonableness thing that you have to

11         look at, people are coming home from work, or people

12         have to take the dog out, or want to play in their yards

13         or whatever, I think they have every right to do that.

14                                    EXAMINATION

15         BY MR. SCHWAB:

16    Q    So just to put everything together, I just want to make

17         sure I understand your position:         Based on what you had

18         seen in Kenosha and in Seattle and Portland, you were --

19         you had seen that protests on police violence can

20         sometimes become violent or disruptive and based on what

21         you read in the newspaper you didn't want -- you wanted

22         to institute a curfew that would both stop that and also

23         prohibit protests more broadly.

24                     MS. BAYNARD:     Objection, when you say, what do

25         you mean by that?      Well, objection to the compound



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 1         question, you said stop that -- (inaudible) --

 2                     MR. SCHWAB:    I apologize.     Let me restate

 3         that.    That ran on.

 4   BY MR. SCHWAB:

 5    Q    Based on what you had seen in national news reports, you

 6         advised the mayor to institute a curfew which would

 7         among other things prohibit protest based on an effort

 8         to prevent civil unrest?

 9    A    Yes.

10    Q    Okay.    Tell me about -- so this letter is

11         September 10th, correct?

12    A    Yes.

13    Q    And would it be fair to say that you began reviewing or

14         considering a curfew recommendation before

15         September 10th?

16    A    Yes.

17    Q    Okay.    Who did you talk with about that?

18    A    Probably my staff members.

19    Q    Can you name those staff members?

20    A    It would be my captains.

21    Q    Just your captains?

22    A    There may have been others involved, other supervisors,

23         that would probably be it.

24                     MR. SCHWAB:    Okay.

25                                   EXAMINATION



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 1         BY MS. MOTLEY:

 2    Q    Did you talk to anyone within the police and fire

 3         commission?

 4    A    I don't think so.

 5    Q    Did you talk to Alan Kesner?

 6    A    I don't know if I talked to Alan prior to this letter.

 7         I may have, I don't know.

 8    Q    Did you talk to the city administrator?

 9    A    Probably.

10    Q    Did you talk to Mayor McBride?

11    A    I don't think so.

12    Q    Did you talk to anyone in the governor's office?

13    A    There was, at one point we made a phone call with

14         somebody from the governor's office, but not the

15         governor himself, I don't know the date of that.

16    Q    You would agree there was no civil commotion in

17         Wauwatosa before September 10th, correct?

18    A    I disagree with that.

19    Q    When was there a civil commotion?

20    A    Throughout that entire summer.

21    Q    Why did you wait until October for the curfew if you

22         wrote this letter on September 10th?

23    A    We were able to manage things throughout summer with

24         what was going on.      It wasn't easy on a daily basis in

25         Wauwatosa, but there was disorder in this community all



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 1         summer long, but I thought that after the district

 2         attorney's decision that would be coming out, we would

 3         probably face some more difficulties.

 4    Q    Can you define what a "civil commotion" is?

 5    A    It is another -- a different word rather than civil

 6         unrest.

 7    Q    So it is a synonym for civil unrest?

 8    A    I believe it would be.

 9    Q    So by this letter you define "civil unrest"?

10    A    Okay.

11    Q    Right.    Based on your definition in this letter, how did

12         you define "civil unrest"?

13    A    I refer to the -- I said officers who responded to the

14         unrest in Kenosha, I refer to the incident in Kenosha as

15         unrest.

16    Q    Right.    And that is where you refer to buildings being

17         burned and people being physically hurt, correct?

18    A    Yes.

19    Q    Were there any buildings burned in Wauwatosa?

20    A    No.

21    Q    Were there any people that were physically -- any law

22         enforcement officers who were physically hurt from

23         September 10th through the curfew of October?

24    A    Yes.

25    Q    Who?



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 1    A    Officer David Sefran (Phonetic) was hurt.

 2    Q    How?

 3    A    He was hit by a car.

 4    Q    Who hit him?

 5    A    A police officer responding to another incident, I

 6         believe.

 7    Q    Was that regarding the protests, or he just was hit by a

 8         car?

 9    A    It was on scene at one of the protests.

10    Q    But he doesn't know who hit him?

11    A    He does.

12    Q    Who?

13    A    I believe he was hit by -- I would be speculating.              I

14         know him, but I had a couple incidents, I don't know

15         which one hit him.

16    Q    Was that person criminally charged by the district

17         attorney's office by hitting an officer with a vehicle?

18    A    No.

19    Q    Why not?

20    A    I don't think there was any intent to hit him.

21    Q    Okay.    Was that person a protester that hit him with the

22         car?

23    A    It was a police officer.

24    Q    Another police officer hit a police officer?

25    A    Correct.



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 1    Q    So did any people who were part of protesting hurt any

 2         Wauwatosa police officers?

 3    A    Not that I'm aware of, other than there were some things

 4         thrown at police officers, and some cuts and bruises,

 5         scrapes things like that.

 6    Q    Based on your definition of civil unrest, which per

 7         Kenosha required burning buildings, which wasn't

 8         happening in Wauwatosa, right?

 9    A    No.

10    Q    And also based on your definition of officers getting

11         physically hurt in Wauwatosa, that also didn't happen,

12         correct?

13    A    Other than what I just described, no.

14    Q    Based on your definition, there wasn't any civil unrest

15         in Wauwatosa, correct?

16    A    Are you talking about prior to this letter?

17    Q    I am talking about period.

18    A    There was civil unrest in Wauwatosa.

19    Q    What is your definition --

20                     MS. MOTLEY:    Go ahead.

21                                    EXAMINATION

22   BY MR. SCHWAB:

23    Q    Let's just get into civil unrest, so would you define

24         property destruction as civil unrest?

25    A    I would define property destruction as property



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 1         destruction, destroying property.

 2    Q    So you would not refer to that as civil unrest?

 3    A    Not necessarily.

 4    Q    Would you refer to violence as civil unrest?

 5    A    In the context it could be.

 6    Q    Is there any conduct that you would qualify as or define

 7         as civil unrest that is not property destruction,

 8         violence, or a threat of violence directed at another

 9         individual?

10    A    Yes.

11    Q    Does that include people marching?

12    A    It can.

13    Q    People being upset with the government?

14    A    Depends on how they are vocalizing or how they are

15         conducting themselves.

16    Q    So there is conduct, and some of that would be peaceful,

17         you would agree?

18    A    Yes.

19    Q    There is peaceful conduct that you think constitutes

20         civil unrest?

21    A    Not peaceful conduct.

22    Q    Conduct that is nonviolent and nondestructive, that you

23         would define as civil unrest?

24    A    No, if it's nonviolent, nondestructive, that would be a

25         peaceful protest.



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 1    Q    If I cursed at a police officer, is that civil unrest?

 2    A    No.

 3    Q    Okay.    Is it okay for me to curse at a police officer?

 4    A    According to the constitution, I believe you can do

 5         that.

 6    Q    Is there conduct that is the constitutional but still

 7         would qualify as civil unrest?

 8    A    Yes.

 9    Q    Okay.    So people just yelling and screaming down the

10         road without destroying property or harming people, can

11         that be civil unrest?

12    A    It can.

13    Q    So protests, again, that don't devolve into property

14         destruction or violence or a threat of violence can

15         still be civil unrest?

16    A    Absolutely.

17    Q    That conduct can be subject to a curfew?

18    A    Subject to what?

19    Q    Was that they type of conduct, or was that some of the

20         conduct that you were concerned about in this letter?

21    A    That would be some of it, but into the all.

22    Q    Okay.    When you were talking about civil unrest in this

23         letter, you were referring to property destruction?

24    A    Yes.

25    Q    And violence?



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 1    A    Yes.

 2    Q    And the threat of violence?

 3    A    Correct.

 4    Q    And conduct that was outside of those three components?

 5    A    Yes.

 6    Q    Can you just explain a little, I am trying to

 7         understand, outside of property destruction and

 8         violence, what type of conduct were you concerned about?

 9    A    As I said, all summer long we had protests in our

10         community, and I think it is a misnomer for people to

11         say that it was peaceful protests.         The protestors would

12         block traffic, disrupt neighborhoods.         I experienced it

13         myself, and I think that it's criminal behavior, what I

14         experienced at my house.       And when people say that these

15         things are peaceful protests that is not -- that is not

16         true.    That is not correct.     It's criminal behavior.

17         When -- you can express your First Amendment rights, but

18         when you start affecting other people's rights to

19         assemble or to also have their peace of mind, I think

20         you've moved beyond where you should be.

21    Q    Do you think that this order affected people's ability

22         to assemble?

23                     MS. BAYNARD:     The curfew order?

24   BY MR. SCHWAB:

25    Q    The October curfew order affected people's ability to



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 1         assemble?

 2    A    It should have.

 3    Q    Okay.    Let's move on:    Did the protests become unlawful

 4         during October?

 5    A    Yes.

 6    Q    Can you define what an unlawful assembly is?

 7    A    Unlawful assembly, my definition of it would be that if

 8         people are assembling outside of what is permitted by

 9         the law, or in this case the curfew, for whatever

10         purpose they gather in and they're told that they're in

11         violation, if they don't follow the direction of what

12         they're given, and continue, you know, when you are

13         given repeated directions, I think that becomes

14         unlawful.

15    Q    Who decides when an assembly has become unlawful?

16    A    The police officer on the scene would decide that.

17    Q    Any officer?

18    A    Supervisor.

19    Q    Supervisor of what rank?

20    A    In this particular case during October we had --

21         everybody was working, but Captain Vetter was in charge,

22         he was in command.

23    Q    It was his job to determine on each night if the

24         assembly was unlawful?

25    A    He would get information back from the people that were



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 1         on the scene, the lieutenants and sergeants that were

 2         already assigned different area.

 3    Q    Did you have any role in that determination?

 4    A    My role was to be in the emergency operations center.

 5    Q    Did anyone ever ask you, can we declare this an unlawful

 6         assembly?

 7    A    No.

 8    Q    So was it a sergeant or Captain Vetter that determined

 9         on each night and declared they were unlawful

10         assemblies?

11    A    The lieutenants, as I said, the sergeant or the

12         lieutenant that was on the scene would say, here is what

13         we've got, they would call in and say that it has become

14         unlawful, the curfew is in effect, can we start

15         enforcing the ordinance?

16    Q    On these nights, was it just by mere fact that there was

17         a curfew that started at 7:00 p.m. that those assemblies

18         were unlawful?

19    A    I don't understand that.

20    Q    Is the reason or basis that those curfews were declared

21         -- or, rather, those assemblies were declared unlawful

22         was because there was a curfew in place?

23    A    That would be the determining factor there, but even if

24         there wasn't a curfew in place, let's just say there

25         wasn't a curfew in place, I think a lot of it was



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 1         unlawful.

 2    Q    Tell me more about why you think it was unlawful.

 3    A    As I said earlier, they were blocking traffic,

 4         disrupting neighborhoods and property destruction.

 5    Q    Okay.    Do you know what the basis for each night's

 6         declaration was for why they were unlawful assemblies?

 7    A    I'm not sure I understand.

 8    Q    On October 7th, do you know why an unlawful assembly was

 9         declared?

10    A    I don't have the reports in front of me of what happened

11         on October 7th, but what day of the week was that?

12                     MS. MOTLEY:    I think it was a Wednesday.

13                     MS. KNOWLTON:     It was a Wednesday.

14                     THE WITNESS:     That was the day that I believe

15         THE district attorney made his ruling on the Mensah

16         case.

17                     MR. SCHWAB:    Yes.

18                     THE WITNESS:     So we had anticipated that we

19         would have problems after that based on the experiences

20         and seeing what happened around the country with other

21         similar type of instances, so we were prepared.

22         BY MR. SCHWAB:

23    Q    Do you keep records for any declaration of unlawful

24         assembly?

25    A    I don't.



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 1    Q    Are there reports generated for a decision?

 2    A    Not to my knowledge.

 3    Q    Does an unlawful assembly affect people's constitutional

 4         rights?

 5    A    An unlawful assembly?

 6    Q    Does the declaration an assembly has become unlawful

 7         affect people's constitutional rights?

 8    A    I don't think so.

 9    Q    No, okay.     Do you think it's important for people to be

10         able to protest?

11    A    Yes.

12    Q    Do you think some protest is illegitimate?

13    A    My personal opinion, it doesn't really matter.           Do I

14         think protests are illegitimate, I question the reason

15         why some people really protesting.         I recognize they

16         have the right to do it.

17    Q    The right based on what?

18    A    It is what your First Amendment rights are.

19    Q    Did you understand the protests in October to be

20         antipolice?

21    A    I would characterize them as anti-law enforcement, yes.

22    Q    Is it appropriate for the police to declare an

23         antipolice protest unlawful?

24    A    We did not do that, so the answer would be no.

25    Q    What did you do?



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 1    A    We enforced the curfew.

 2    Q    Do you believe there is a difference between being

 3         antipolice and antipolice brutality?

 4    A    Let me just think for a second.        Yes.

 5    Q    What do you think about police brutality?

 6                     MS. BAYNARD:     Objection to the form of the

 7         question.     Go ahead.

 8                     THE WITNESS:     Well, I am against it, of

 9         course.    I would say that, if I could just expound on

10         the -- you know, the George Floyd case, for example, I

11         made this comment publicly after that incident happened,

12         whether you wanted to argue that Derek Chauvin killed

13         George Floyd with the weight and position of his knee or

14         whatever, there was speculation that was talked about in

15         court, the appearance and the arrogance that he gave,

16         and he did that for such a long period of time, was

17         disgusting.     I was personally happy that he was found

18         guilty, and I don't think Derek Chauvin was a racist.

19         He would have had done it to anybody because he was that

20         pompous and arrogant, the way he acted.

21         BY MR. SCHWAB:

22    Q    Does it concern you that police can be imbued with that

23         power and arrogance?

24    A    Absolutely.

25    Q    Are any police on your force that arrogant?



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 1    A    I certainly hope not.

 2    Q    Do you know if any police on your force display

 3         arrogance against the public?

 4    A    If I knew that they did, I would probably intervene

 5         because that is one thing that I think is detrimental to

 6         our image.

 7    Q    Do you think police take issue with disrespect towards

 8         police officers?

 9    A    I think they do.

10    Q    Do you know if -- do you believe, at least in this

11         country as a whole, that there are officers that use

12         violence to respond to disrespect?

13                      MS. BAYNARD:    Objection, relevance.      Go ahead.

14                      THE WITNESS:    In this country, yes.

15   BY MR. SCHWAB:

16    Q    Do you know if your officers have ever done that?

17    A    Not to my knowledge.

18    Q    Can you tell me if there is any training on what the

19         definition of an unlawful assembly is?

20    A    I don't know what the training would be on that.           There

21         probably is, but I am not familiar with it.

22    Q    Is there a policy on how to define an unlawful assembly

23         for your officers to use while they are in the field?

24    A    I am not sure.

25    Q    Do you know who would make that -- who would define it



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 1         for that officer that is going to make the declaration

 2         that an assembly has become unlawful?

 3    A    I would guess the supervisor on the scene would discern

 4         if it's an unlawful assembly.

 5    Q    What I'm asking is, what does he base -- is there a

 6         definition he looks to, does he have training, how does

 7         he know that an assembly is unlawful?

 8    A    It's hard to define a lot of those things, I think we

 9         would have to look at what the statutes are and the

10         ordinances are, and what exactly is the behavior they're

11         experiencing.

12    Q    Does that officer take into account who is protesting

13         when declaring an unlawful assembly?

14    A    I don't know.     I don't know what you mean.

15    Q    You know, an organization, which organization it is,

16         would an officer declare an assembly unlawful because it

17         is the KKK?

18    A    I think that would be a bigger issue that we would

19         probably -- if we knew that they were protesting, I

20         think the city would probably go to court over that to

21         begin with, I don't know.

22    Q    Okay.    Did you take into account that the people that

23         would be protesting in October would be protesting

24         police when declaring that assembly unlawful?

25    A    Yes.



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 1    Q    Did you take into account their viewpoint?

 2    A    The protesting police, yes.

 3                     MR. SCHWAB:    Let's take a lunch.

 4                         (A recess was taken.)

 5                     MS. MOTLEY:    So we're back on the record.

 6         It's 1:15 p.m.     Thank you.

 7   BY MR. SCHWAB:

 8    Q    So I would like to get into, if it's possible, to talk a

 9         bit about the process by which you moved from your

10         September 10th letter to the September 30th proclamation

11         of an emergency by Mayor McBride.        So the September 10th

12         letter, that is kind of what kicked off the process, is

13         that correct?

14    A    Yes.

15    Q    And then what was the next thing that happened?

16    A    Well, I got the proclamation letter, so I think they he

17         probably, the mayor probably talked to Alan Kesner when

18         they drafted up the letter.

19    Q    Did you have no interaction between sending that letter

20         and receiving an order of the proclamation?

21    A    Only interaction, I think we had one of our meetings

22         because I do a regular meeting with the mayor, and we

23         suggested a couple things to include.

24    Q    Can you tell me what those things were?

25    A    I made the suggestion after seeing what happened in



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 1         Kenosha, I didn't want to -- you know, I wanted to

 2         prohibit gasoline sales in cans after the curfew is in

 3         effect because we don't want people setting things on

 4         fire.    So you could still buy gasoline for your car, but

 5         we didn't want to sell it in portable cans.

 6    Q    Okay.

 7    A    And I think I also suggested the curfew start at

 8         7:00 p.m.

 9    Q    Why did you make -- how did the make the determination

10         of 7:00?

11    A    Sunset, and I think right around October, that is when

12         the sun goes down, right around that time.          It seemed

13         like most of the issues that cities would face would

14         happen after dark.

15    Q    Okay.    Was there any discussion of where, or did the

16         curfew -- was the curfew attempting to cover every

17         square inch of Wauwatosa?

18    A    It was citywide.

19    Q    Were there any exceptions?

20    A    I don't think it was covered by the curfew exceptions,

21         but certainly as I said, if you had people coming home

22         from work, or they had to get their kids somewhere or

23         whatever, we certainly would not arrest them for that.

24    Q    What do you know about the development outside of your

25         involvement of the curfew order?



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 1    A    I don't know what their process was.

 2    Q    Were any of your officers involved?

 3    A    I don't think so.

 4                                    EXAMINATION

 5         BY MS. MOTLEY:

 6    Q    Who is "their," their process, who are we talking about?

 7                     MS. BAYNARD:     I think he asked the question,

 8         and he said "their process."

 9                     MS. MOTLEY:    No, he said I didn't know what

10         their process involved.

11         BY MS. MOTLEY:

12    Q    Who are you referring to?

13    A    I am referring to the mayor and probably Alan Kesner.

14    Q    Okay.    The city administrator as well?

15    A    I'm guessing he is probably involved, but I don't know

16         that.

17    Q    Fire and police commissioners?

18    A    No.

19    Q    Common council members?

20    A    I don't think so, but I don't know.

21                     MS. MOTLEY:    Go ahead.

22                                    EXAMINATION

23   BY MR. SCHWAB:

24    Q    Did you ever participate in a phone call with anyone

25         from Governor Evers' office?



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 1    A    Yes.

 2    Q    When?

 3    A    Sometime in that timeframe, if I had my calendar, I

 4         can't tell you what the date was.

 5    Q    Can you tell me the substance of that phone call?

 6    A    That we were preparing for a possible civil unrest, and

 7         would we be able to utilize the National Guard.

 8    Q    What did they say?

 9    A    I think somebody from emergency management was on the

10         call too and told us what the steps were, and, of

11         course, the chief police does not request the National

12         Guard, it has to come from a higher authority than the

13         chief.

14    Q    Who would that be?

15    A    That would be the mayor.

16    Q    Was it your recommendation to request the National

17         Guard?

18    A    Yes.

19    Q    And what was the basis of that recommendation?

20    A    What I had seen, especially what happened in Kenosha.

21    Q    What in particular worried you from what happened in

22         Kenosha?

23    A    I am sorry?

24    Q    What in particular from Kenosha worried you?

25    A    There was many people that were doing many unlawful



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 1         things, setting fires, and there was one video I saw of

 2         them, people trying to break into the Kenosha Police

 3         Department and the courthouse.

 4    Q    So was it all about people that were there to protest

 5         police?

 6    A    I don't know what they were all there to protest.

 7                                    EXAMINATION

 8         BY MS. MOTLEY:

 9    Q    Just to make a clean record, what timeframe are we

10         talking about when we're talking about what happened in

11         Kenosha?

12    A    During the summertime whenever the Kenosha incident

13         happened.

14    Q    August 25th, that week?

15    A    Is that the one where the fires all started and the

16         Jacob Blake case, I don't know.

17    Q    Jacob Blake was shot August 24th, yes.

18    A    That would be it.

19                                    EXAMINATION

20   BY MR. SCHWAB:

21    Q    So your concern was that Wauwatosa would look like

22         Kenosha based on the people who were protesting Jacob

23         Blake's shooting?

24                     MS. BAYNARD:     Objection to the form of the

25         question, misstates his testimony.         He said he didn't



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 1         know who or what they were protesting.

 2         BY MR. SCHWAB:

 3    Q    So you were worried about fires?

 4    A    Fires and violence.

 5    Q    What type of violence?

 6    A    Any time there's violence, I worry about violence

 7         against any person which would include police officers

 8         and certainly any other citizen.

 9    Q    I'm talking about -- you're saying the violence from

10         Kenosha, correct?

11    A    Yes.

12    Q    What was the violence from Kenosha that worried you?

13    A    The fires, the disruption, the trying to break into the

14         police department and the courthouse, and of course the

15         shootings.

16    Q    Did you ever speak with any malitia members?

17    A    By malitia, do you mean the National Guard?

18    Q    Have you ever heard of the Kenosha guard?

19    A    No.

20    Q    Do you know the name Kyle Rittenhouse?

21    A    Yes.

22    Q    What do you know about him?

23    A    Was he the police officer that was involved?          I don't

24         know.

25    Q    Okay.    In Kenosha, were you aware that right-wing



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 1         malitia members came into town to protect businesses?

 2    A    Not at that time.

 3    Q    You weren't aware?

 4    A    No.

 5    Q    Would you have welcomed right-wing malitia members

 6         coming into Wauwatosa to protect downtown businesses?

 7    A    I don't think so.

 8    Q    Why not?

 9    A    Well, if they're not law enforcement or operating under,

10         you know, the standards and rules that we -- we go by, I

11         would not feel comfortable with that.

12    Q    Okay.    Did the operational partners that you had operate

13         under your rules?

14    A    I believe so.

15    Q    You believe so?

16    A    Uh-huh.

17    Q    Why aren't you certain?

18    A    There's many, many agencies involved in Wauwatosa.

19    Q    Did you issue them your policies and procedures?

20    A    I did not.

21    Q    Did anyone from your office?

22    A    I don't know.

23    Q    Did you direct anyone from your office to do so?

24    A    No.

25    Q    Who made the decision to bring in operational partners,



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 1         or partners?

 2    A    That was a decision that was made when we were asking

 3         for mutual aid.

 4    Q    Who made the decision to ask for mutual aid?

 5    A    We as a staff did that.

 6    Q    When you say, "we as a staff," can you go into more

 7         detail about that?

 8    A    Captain Vetter was my operations captain, he would be

 9         the one that would be directing that.

10    Q    So could he do that without your approval?

11    A    No.

12    Q    So you were the one that made the decision?

13    A    In consultation with him, yes.

14    Q    But ultimately it was you?

15    A    Yes.

16    Q    And do you have any prewritten mutual aid agreements?

17    A    Yes.

18    Q    Okay.    Who do you have those with?

19    A    We have what we call the smart group, which is suburban

20         mutual aid response teams, and with all the agencies in

21         Milwaukee County.      As far as mutual aid beyond that, I

22         don't believe we have written agreements with any of

23         those communities.

24    Q    And just to be clear, you're not certain in whether

25         these mutual aid partners operated within or under



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 1         Wauwatosa police policies?

 2    A    I am not certain.

 3    Q    Do you know if you have policies on use of force that

 4         are more restrictive than some of your mutual aid

 5         partners?

 6    A    I don't know if they are or not.

 7    Q    Would it have been acceptable if your mutual aid

 8         partners used force that you wouldn't permit your

 9         officers to use during the October protests while they

10         were here?

11    A    Say that again, if they used force that --

12    Q    If the mutual aid partners who came in during the

13         October protests --

14                      MS. MOTLEY:   And August.

15   BY MR. SCHWAB:

16    Q    -- and August -- used force that would not be allowed to

17         be used by Wauwatosa officers, would that be a problem?

18    A    I would be concerned.

19    Q    Okay.    Are they under your command?

20    A    They are operating under the command of Captain Vetter

21         who is in charge of overall operation.

22    Q    So these officers and partners were agents of Wauwatosa

23         police while they were here?

24    A    Yes.

25    Q    You guys were responsible for them?



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 1    A    Probably.

 2    Q    Okay.

 3                                   EXAMINATION

 4         BY MS. MOTLEY:

 5    Q    Did you have any processing points that you used in the

 6         curfews, the October curfew, other than law -- let's

 7         just say this, let's break it down:         What non-law

 8         enforcement processing points did you have in the

 9         October curfew?

10    A    What do you mean by "processing," I am not sure I

11         understand.

12    Q    I guess we can call them operational partners, for

13         instance, just to the give you an example, I know there

14         was things happening at Mayfair Mall, so I am just

15         trying to figure out what private entities were also

16         assisting law enforcement during the curfew of October.

17    A    I am not aware of any private entities.

18    Q    But you are aware that, at Mayfair Mall, that people

19         were arrested and taken to Mayfair Mall?

20    A    Yes.

21    Q    Are you aware of that happening at any other private

22         establishments?

23    A    No.

24    Q    Are you aware of any private establishments such as Our

25         Redeemer Church being used as a staging area, or a place



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 1         where law enforcement officers go and park and

 2         congregate?

 3                     MS. BAYNARD:     Objection to the form of the

 4         question, compound.      Go ahead.

 5                     THE WITNESS:     I am not sure what the staging

 6         areas, where they were.

 7         BY MS. MOTLEY:

 8    Q    Who were your non-law enforcement agencies partners that

 9         helped with the curfew of October in any way, shape, or

10         form?

11    A    Non-police?

12    Q    Yes.

13    A    If that would include people who helped provide food

14         for --

15    Q    Or organization or businesses?

16    A    There were a number of businesses that provided things,

17         but I am not really sure.

18    Q    Okay.    Did Mayfair Mall provide things?

19    A    Well, I think they had their security force working, but

20         whether or not they provided things to us, I am not

21         aware of that.

22    Q    Okay.    So what do you mean their security force, so the

23         security of Mayfair is not a part of Wauwatosa Police

24         Department?

25    A    They have their own separate private security force.



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 1    Q    Are you aware that there were officers that were

 2         triaging people at Mayfair Mall during the October

 3         curfew?

 4    A    When you say, "triage," that means people were injured,

 5         and I am not familiar with that.

 6    Q    That means people were processed, so their names were

 7         taken, their photographs were taken --

 8    A    Yes.

 9                     MS. MOTLEY:    Go ahead.

10                                    EXAMINATION

11   BY MR. SCHWAB:

12    Q    First of all, how would you describe that relationship

13         with Mayfair Mall?

14    A    It is a partnership.

15    Q    Did you have anything in writing?

16    A    We do have -- I believe there's a contract in writing.

17    Q    And what does that contract speak to?

18    A    It's been a long, long time, and we're always, the city

19         and the police department are always trying to figure

20         out where the written contract is because we can't find

21         it, but we have an office at Mayfair Mall, and we have a

22         booking area at Mayfair Mall.        We provide officers there

23         during second shift seven days a week.         Mayfair pays for

24         some of that, and then the city absorbs some of it too.

25         We have a partnership that probably has been in



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 1         existence for at least 15 years.

 2    Q    So during these protests, did you -- did the Wauwatosa

 3         Police Department detain people at Mayfair Mall?

 4    A    I think they processed some through their booking area,

 5         yes.

 6    Q    Did they only through booking area, or did you have

 7         other locations within the mal?

 8    A    I am not aware of anything other than the booking area.

 9    Q    Okay.    Did the Wauwatosa police or any other of your

10         partners detain people at places that were not law

11         enforcement buildings?

12    A    I am not sure if they did or not.

13    Q    You know, you just said, you mentioned processing, they

14         processed people at Mayfair?

15    A    Yes.

16    Q    Did they process people at any other location?

17    A    I thought they processed them at other police

18         departments.

19    Q    Okay.

20    A    Which ones they used, I don't know.         West Allis would be

21         one that comes to mind, I thought Waukesha Sheriff, but

22         I am not sure.

23                                    EXAMINATION

24   BY MS. MOTLEY:

25    Q    What about processing at any -- again, what do you think



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 1         was happening at Mayfair Mall during the protest of

 2         October 20th, what is your understanding of what was

 3         happening there?

 4    A    With the processing, or --

 5    Q    Period.

 6    A    I think we had -- Mayfair had the security force to keep

 7         the property secure, and we had officers waiting on

 8         standby to help them keep it secure.

 9    Q    That's all you know about what happened at Mayfair Mall?

10    A    Yes.

11    Q    Are you aware of Our Redeemer Church being used as a

12         partner for law enforcement during the protest -- or,

13         the curfew of October 20th?

14    A    I am not.

15    Q    Are you aware of Gunta Law Offices being used as a

16         partner during the October curfew?

17    A    When you say, "partner," what do you mean?

18    Q    You tell me, what did you use Gunta Law Offices

19         for during the October curfew?

20    A    I didn't use the Gunta Law Offices.

21    Q    Did the Wauwatosa Police Department or any Wauwatosa

22         Police Department partners use Gunta Law Offices during

23         the October 20th, curfew?

24    A    We did not.

25    Q    Are you sure?



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 1    A    We used the CVMIC office.

 2                     THE COURT REPORTER:      The what?

 3                     MS. BAYNARD:     C-V-M-I-C.

 4         BY MS. MOTLEY:

 5    Q    What is the CVMIC office?

 6                     MS. BAYNARD:     It is an insurance company.

 7         BY MS. MOTLEY:

 8    Q    Where is the insurance --       where is the CVMIC office at?

 9    A    It is Bluemound Road.

10    Q    Is it in Gunta Law Offices?

11    A    Gunta Law Offices is in the same building.

12    Q    But it is a separate office?

13    A    Yes, ma'am.

14    Q    What did you use the CVMIC office for?

15    A    We used it for an emergency operations center.

16                                    EXAMINATION

17         BY MR. SCHWAB:

18    Q    Is that where you were located?

19    A    Yes.

20    Q    So you operated out of the CVMIC insurance office?

21    A    I did.

22    Q    Who was there with you?

23    A    Mayor McBride, City Administrator Schimmel, the fire

24         chief, Jim Case (Phonetic) was there, the IT director

25         for the city, Jilal Ali (Phonetic) and then we also had



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 1         our public information officers that were there in a

 2         separate room, and then periodically there were

 3         different people that would stop in and go out that were

 4         affiliated with one or more of those agencies.

 5    Q    What were you --

 6                                    EXAMINATION

 7   BY MS. MOTLEY:

 8    Q    Was anyone from the fire and police commission, did they

 9         ever show up at the CVMIC office?

10    A    No.

11    Q    Did anyone from the common council ever show up at the

12         CVMIC office?

13    A    No.

14    Q    Did anyone from Gunta Law Offices ever show up at the

15         CVMIC office?

16    A    Yes.

17    Q    Who?

18    A    Greg Gunta.

19    Q    Why did he show up?

20    A    When we first got there he showed me a room that had

21         refreshments, he said, "if you guys need anything,

22         there's soda in the refrigerator, or whatever," that was

23         the only contact I had with him.

24    Q    So he was the one that gave you access to the CVMIC

25         office --



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 1                          (Discussion had off record.)

 2                     THE WITNESS:     CVMIC, they gave us access.

 3         BY MS. MOTLEY:

 4    Q    Okay.

 5    A    When I got there --

 6    Q    He was already there?

 7    A    He was the one that said, if you need something, feel

 8         free.

 9    Q    Okay.

10                         (Discussion had off record.)

11         BY MS. MOTLEY:

12    Q    Is there one door to get in the CVMIC office and Gunta

13         Law Office?

14    A    I think there is two different entrances.

15    Q    Okay.    Same building?

16    A    Yes.

17    Q    Same floor?

18    A    Yes.

19                     MS. MOTLEY:    Okay.

20                                    EXAMINATION

21   BY MR. SCHWAB:

22    Q    So you wrote the mayor a letter on September 10th?

23    A    Yes.

24    Q    And then you had -- you were on a phone call sometime

25         after that with the governor's office and I guess public



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 1         safety?

 2    A    The governor's office, the director of emergency

 3         management, and I think the exigent general.

 4    Q    The who?

 5    A    Exigent general.

 6    Q    Did you ever have a one-on-one conversation with Mayor

 7         McBride between September 10th and September 30th

 8         regarding the institution of a curfew order?

 9    A    I may have.

10    Q    You don't recall?

11    A    I don't.

12    Q    Did he ever ask you any questions about it?

13    A    Nothing that stands out.

14    Q    Are there any e-mail correspondents between you and the

15         mayor about the curfew order prior to the institution of

16         the curfew?

17    A    I don't think so.

18    Q    Any text messages?

19    A    No.

20    Q    Would the mayor have spoken with Captain Vetter?

21    A    He may have.

22    Q    And you don't know?

23    A    I don't.

24                                   EXAMINATION

25         BY MS. MOTLEY:



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 1    Q    How many cell phones do you have?

 2    A    Me personally?

 3    Q    Yes.

 4    A    Two.

 5    Q    Are they both work phones, or is one work and one

 6         personal?

 7    A    Since I'm leaving there in about ten days, I just got my

 8         own personal phone not that long ago, but I don't do

 9         anything from work on it.

10    Q    When did you get the new phone?

11    A    Probably a month ago.

12    Q    And prior to a month ago, how many phones did you have?

13    A    Just one.

14    Q    What's your work phone number, cell number?

15    A    Do I have to answer that?

16                      MS. BAYNARD: What's the purpose of having his

17         work cell phone number?

18                      MS. MOTLEY:    I just want to have it.

19                      MS. BAYNARD:    You use it for work, so --

20                      THE WITNESS:    (414) 651-8113.

21         BY MS. MOTLEY:

22    Q    Don't worry, I won't call it.

23    A    Okay.

24    Q    I won't give it out.

25    A    Thank you.



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 1    Q    And what is your personal number?

 2    A    I won't give that out.

 3    Q    Do you use your personal phone for work purposes?

 4    A    Never.

 5    Q    During the curfew of last year, is this the phone for

 6         that work number you gave me, is that the primary cell

 7         phone number you would use?

 8    A    That would be the only one.

 9    Q    That would be the only one, okay?

10    A    Yes.

11    Q    Is that on your Samsung Galaxy?

12    A    Yes.

13    Q    Then do you have an office phone specific to you?

14    A    Yes.

15    Q    What's that number?

16    A    (414) 771-3930.

17    Q    Okay.    And did you preserve any text messages that you

18         had going or coming from your work cell phone from last

19         year?

20    A    No.

21    Q    You erased those?

22    A    Yes, but again, they're still retrievable.

23    Q    Why did you erase those?

24    A    Because if I don't erase them my screen is all filled

25         with messages all the time, and I don't like the



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 1         clutter.

 2    Q    How did you preserve those?

 3    A    They would go to the city server or whatever.

 4    Q    Oh, it goes to the city server.

 5    A    Yes.

 6    Q    Okay, and so you have text messages regarding -- from,

 7         you know, what was the timeframe -- do you have text

 8         messages from August 1st until, I guess, now that deal

 9         with the curfew or the protests in the City of

10         Wauwatosa?

11    A    If there are any, and there would be very few because I

12         don't text much.

13    Q    You receive texts?

14    A    Maybe a couple.

15    Q    Does the mayor know your work cell number?

16    A    Yes.

17    Q    Did he ever text you anything regarding the protests or

18         curfews or anything like that?

19    A    Not that I recall.

20    Q    Who would text you about the protests or curfews or

21         anything like that?

22    A    I would get continuous updates during the protests from

23         the Fusion Center and occasionally from a supervisor on

24         the scene, and, like, from Vetter or somebody if they're

25         at the command post, but that would be it.



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 1    Q    Okay.    What about from the fire and police

 2         commissioners?

 3    A    Never.

 4    Q    Dominic Leone?

 5    A    Never.

 6    Q    Common council members?

 7    A    No.

 8    Q    Alan Kesner?

 9    A    No.

10    Q    But they're all preserved in the city server?

11    A    Yes, as a matter of fact if I could just say one thing,

12         when you asked me who was present in the emergency

13         operations, Alan Kesner was also present too.           I forgot

14         to say that.

15    Q    Was Hanna Kolberg there?

16    A    No. I knew there was somebody else, it was Alan.

17                      MS. MOTLEY:   Okay.

18                                    EXAMINATION

19   BY MR. SCHWAB:

20    Q    So you said that you didn't have any one-on-one

21         conversations with Mayor McBride about the preparation

22         or the drafting of the proclamation for public

23         emergency?

24    A    That's correct.

25    Q    Were you involved in groups that talked about it?



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 1    A    No.

 2    Q    Were you -- did you ever review a draft of the

 3         proclamation?

 4    A    I don't remember if I did or not.

 5    Q    Okay.    When did you first learn that a proclamation

 6         would be declared?

 7    A    I don't remember the date of the proclamation, but

 8         probably right around that time.

 9    Q    Okay.    I want to hand you what is -- we'll start with

10         this, we are going to mark this Exhibit 2.          I will give

11         you a minute to just review it.

12                          (Discussion off the record.)

13   BY MR. SCHWAB:

14    Q    You've had a chance to review it?

15    A    Yes.

16    Q    Do you see your name on here?

17    A    I do.

18    Q    So you received this e-mail?

19    A    I believe I did.

20    Q    This is dated September 17th?

21    A    Yes.

22    Q    And this refers to the emergency declaration?

23    A    Yes.

24    Q    Can you tell me who else on this e-mail is a member of

25         the Wauwatosa Police Department?



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 1    A    Nobody else.

 2    Q    Okay.    Can you tell me who James Archambo is?

 3    A    He is the city administrator.

 4    Q    Okay who is James Case?

 5    A    Fire chief.

 6    Q    So who is Melissa Weiss?

 7    A    She is a communications person and assistant to

 8         Mr. Archambo.

 9    Q    Who is Laura Conklin?

10    A    She was the health officer, she has since left the city.

11    Q    And who is Laura Stephens?

12    A    Laura was Laura Conklin's assistant, and now she has

13         since been named the health officer.

14    Q    Okay.    Do you recall this e-mail?

15    A    Vaguely.

16    Q    And can you tell me what the purpose of this e-mail was?

17    A    Well, Alan says he put together a generic emergency

18         declaration for the mayor to use, and he asked for any

19         feedback if we had suggestions.

20    Q    Did you ever respond to this e-mail?

21    A    I don't think I did.

22    Q    I'm going to hand you what is marked as Exhibit 3.

23    A    Okay.

24    Q    You've had a chance to review this ******e-mail?

25    A    Yes.



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 1    Q    Were you on this e-mail?

 2    A    I'm sorry?

 3    Q    Were you a recipient of this e-mail?

 4    A    Yes.

 5    Q    Who was this written by?

 6    A    Captain Vetter.

 7    Q    Okay.    Who is Michael Schultz?

 8    A    He's a captain that just retired.

 9    Q    Who is Jack Morrison?

10    A    He is a captain assigned -- he was assigned

11         administration, but he now -- he is assigned to the

12         medical complex bureau.

13    Q    Who is Abby Pavlic?

14    A    Sergeant Pavlic is assigned as a public information

15         officer.

16    Q    Who is Joseph Roy?

17    A    Administrative lieutenant.

18    Q    So I Count five members of the Wauwatosa police on this,

19         is that correct?

20    A    Yes.

21    Q    And then Alan Kesner, Dennis, and James Archambo?

22    A    Yes.

23    Q    Do you recall this e-mail?

24    A    Yes.

25    Q    Were you involved in the content of this e-mail?



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 1    A    I was not.

 2    Q    So sergeant, or Captain Vetter says, "The PD and the

 3         City EOC continue to meet and pin down operational plans

 4         for the DA announcement?

 5    A    Yes.

 6    Q    Who from the PD was meeting with the city EOC?

 7    A    I'm guessing it would be Vetter, and he would be with

 8         some of his supervisors to formulate the plan.

 9    Q    Okay.    Were you kept abreast of that?

10    A    I was aware that they were having a meeting and getting

11         the plan together, but, yes.

12    Q    So earlier when you said that you weren't aware of the

13         emergency proclamation until September 30th, that was

14         incorrect?

15    A    I am not sure because I don't know when it was actually

16         issued.

17    Q    Okay.    What is the date of this e-mail?

18    A    September 24th.

19    Q    Okay.    And are they referring to a declaration of

20         emergency in this e-mail?

21    A    In the second to last paragraph they said, we'll need a

22         declaration signed by you.

23    Q    Operational plans were for what in this context?

24    A    To prepare in case we had disturbances in our community.

25    Q    Were there ever the operational plans for enforcement of



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 1         the emergency declaration?

 2    A    I believe so.

 3    Q    Okay.

 4                          (Discussion had off record.)

 5   BY MR. SCHWAB:

 6    Q    Are you familiar with this?

 7    A    Yes.

 8    Q    Did you have a role in drafting this?

 9    A    I did not.

10    Q    Who drafted this?

11    A    This is from Captain Vetter.

12    Q    Did he write the entire thing?

13    A    He authored it and may have had other people's input

14         into it.    He's the one who prepared it.

15                      THE COURT REPORTER:     He is the one that

16         prepared it?

17                      THE WITNESS:    Correct.

18         BY MR. SCHWAB:

19    Q    And just to be clear, it begins, "On Wednesday,

20         October 7th, the Milwaukee County DA John Chisolm plans

21         to release a 'Community Briefing'"?

22    A    Yes.

23    Q    This operational plan was directly related to the same

24         day, the same conduct that was the basis for the

25         emergency declaration?



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 1    A    Yes.

 2    Q    Should they be understood as two parts of the city's

 3         response, this document and the emergency proclamation?

 4    A    I am not sure I understand.       This document is a police

 5         department document, so it wouldn't be something that

 6         the city would be aware of at all.

 7    Q    Was the mayor made aware of this?

 8    A    This document, no, I don't believe so.

 9    Q    The mayor wasn't consulted?

10    A    No.

11    Q    Okay.    So would you agree this was being drafted as part

12         of the plans for the emergency declaration and curfew?

13    A    Yes.

14    Q    And you were aware that this was being drafted before

15         October 6th?

16    A    Yes, I was, but I am not sure when I became aware of it.

17    Q    Did you instruct Captain Vetter to prepare this?

18    A    No.

19    Q    Did Captain Vetter just do this on his own?

20    A    Captain Vetter is assigned to handle the operations

21         aspect of the department, so he would determined what

22         need to be done.

23    Q    Would he have consulted you before?

24    A    He would have let me know what he's doing, and I would

25         say, "go ahead and work on it."



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 1    Q    But you wouldn't have the given final approval?

 2    A    I probably attended a meeting once it was totally done,

 3         and sat in on some of those meetings when they were

 4         doing the final draft.

 5    Q    Okay.    On September 24th, there's discussion of the

 6         emergency declaration, there's discussion of this, you

 7         were aware that the curfew was at least being

 8         contemplated at that time?

 9    A    Yes.

10    Q    And did you inform any members of the common council

11         that a curfew was going to be coming?

12    A    That what was coming, a curfew?

13    Q    That a curfew would be instituted?

14    A    No, I did not.

15    Q    Did you inform, and this is prior to October 6th, on

16         October 5th even, at any time prior to the actual

17         October 6th order, did you tell anyone -- or was it

18         October 7th, prior to the October 7th order, did you

19         ever talk with any common council members or let them

20         know this would be coming?

21    A    No.

22    Q    Did you talk with any business owners about this?

23    A    No.

24    Q    Did you instruct any of your officers to let business

25         owners know there would be a curfew?



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 1    A    No.

 2    Q    So is it fair to say --

 3                                    EXAMINATION

 4   BY MS. MOTLEY:

 5    Q    Did you let anyone within the fire and police commission

 6         know about this curfew?

 7    A    No.

 8                                    EXAMINATION

 9   BY MR. SCHWAB:

10    Q    Why didn't you confer with anyone on the common council

11         on this?

12    A    As I said earlier this morning, they're not in my chain

13         of command, I don't report to the common council, so I

14         don't feel it's my duty to keep them abreast of

15         everything that I do.

16    Q    Do you ever talk with them?

17    A    I used to.

18    Q    Why not anymore?

19    A    I think the common council has done some things, and

20         their actions have indicated that they have not

21         supported what the police department has done throughout

22         things, and I have a complete lack of trust in their

23         abilities.

24    Q    Like what?

25    A    When we first started having issues in our community,



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 1         I'm talking back in probably May, then when we had the

 2         disturbances at city hall, do you remember those, ma'am?

 3                     MS. MOTLEY:    I do.

 4                     THE WITNESS:     Common council members who were

 5         to run meetings could not handle running the meeting and

 6         let the meetings get out of hand.        So I think that was

 7         one of the reasons we'll we've had as many difficulties

 8         in our community as we have, because they were unable to

 9         handle the meetings.      So I have a complete lack of

10         confidence in the way they conducted themselves.           So I

11         limited my contact with them, and I deal with the city

12         administrator.

13         BY MR. SCHWAB:

14    Q    So it was because they couldn't run a meeting well?

15                     MS. BAYNARD:     Object to the form of the

16         question.

17                     THE WITNESS:     In my opinion they let the

18         things that happened in our community, they took a

19         hands-off approach because they were afraid of getting

20         protested by their own residents, there were protest at

21         fire and police commissioner residence periodically

22         throughout the summer.       The common council members never

23         had that at all, so they weren't would going to say

24         anything one way or another, in my opinion.

25         BY MR. SCHWAB:



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 1    Q    So your relationship -- your professional relationship

 2         with common council is dependent on their support for

 3         you?

 4    A    In this case, I have always had good support from common

 5         council over the years, to that degree it goes up and

 6         down because there are 16 common council members.

 7                     MS. MOTLEY:    17, right?

 8                     THE WITNESS:     16.

 9                     MS. MOTLEY:    17, according to the website.

10                     THE WITNESS:     There is 16.

11                     MS. MOTLEY:    There's 17 common council

12         members, there is 16 alder-persons, but 17 common

13         council members, correct?

14                     THE WITNESS:     That's not true.

15                     MS. MOTLEY:    The website is wrong.

16                     MS. KNOWLTON:     -- (inaudible) -- you're

17         correct, there is 16 alders.

18                     THE WITNESS:     I thought so.

19                     MS. KNOWLTON:     Yes.

20   BY MR. SCHWAB:

21    Q    So the common council members, did you feel they weren't

22         supportive of the police?

23    A    That's my opinion.

24    Q    Okay.    Did that influence how you conducted your job?

25    A    No.



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 1    Q    Did it influence how you communicated with them?

 2    A    Yes.

 3    Q    What else did you withhold from them?

 4    A    I don't withhold anything.

 5    Q    How important is it for the city government to elect

 6         officials who support the police?

 7    A    Things run a lot smoother, especially at budget time, if

 8         they support the police department.

 9    Q    Do police allow their performance of their jobs under

10         you to be affected by whether they feel supported by

11         their elected officials?

12    A    I don't think so.

13    Q    Do they enforce the law differently depending on how

14         supportive they are of you?

15    A    No.

16    Q    You've seen a lot across the country, certain police

17         departments saying they were not going to enforce laws

18         as stringently, or let's see what happens when we --

19         when the police are defunded, have you seen some of

20         that?

21    A    Yes.

22    Q    Did you ever engage there any of that?

23    A    I did not.

24    Q    Would you have allowed any of your police officers to

25         engage in any of that?



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 1    A    No.

 2    Q    They didn't?

 3    A    Not that I'm aware of.

 4    Q    But you took personal offense to some of the language

 5         the common council members used?

 6                     MS. BAYNARD:     Objection to the form of the

 7         question, it misstates his testimony.

 8                     THE WITNESS:     I wouldn't say personal offense.

 9         You know, after 40 years in law enforcement it takes a

10         lot to offend me.      So whatever their opinions were, they

11         didn't have their -- they are entitled to their

12         opinions, but I can respond the way that I think is

13         appropriate.     I still do my job and I do it

14         professionally, but remember I answer to the mayor and

15         the city administrator.

16                     So even when we have a major incident that

17         happens, I don't refer -- I don't contact the common

18         council members.      I call Mr. Archambo, and he says, I

19         will notify the alders that we had this -- " let's say

20         it is a robbery or something happened, I don't do that.

21         BY MR. SCHWAB:

22    Q    In August of this year your police union issued a

23         public -- a press release saying they had lost all

24         confidence in the mayor, are you familiar with that?

25    A    Yes.



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 1    Q    Had you lost confidence in the mayor at that point?

 2    A    I did not.

 3    Q    Did you talk with your officers about that?

 4    A    I have.

 5    Q    What did you tell them?

 6    A    As I recall, I think the mayor sometimes - well, I told

 7         them the mayor might have different political viewpoints

 8         than what we have, or some of us, but I think he's a

 9         good guy.     I have known him for many years.       He was --

10         (inaudible) -- when I started in Wauwatosa.          He was the

11         head of the civil service commission at that time, and

12         when I needed to -- different things, he was very

13         supportive.

14                      So after he was off the commission and became

15         an alderperson, I always got along with him then too.

16         So I have always had a good working relationship with

17         him.    And I think the mayor, and what I told him, I

18         said, the mayor is a nice man.        He is always a

19         gentleman.     Even if he disagreed with you, he would

20         always listen to you, you know, and he always responded

21         professionally.     So I have never had unkind words with

22         him, or never a disagreement where will we were angry at

23         each other.     So I have always enjoyed that relationship.

24    Q    Why did the police pull the vote and put out a press

25         release saying they had no confidence in the mayor?



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 1                     MS. BAYNARD:     Objection, calls for

 2         speculation.     Go ahead.

 3                     THE WITNESS:     I don't know why they would do

 4         that.    They -- they have opinions too.

 5         BY MR. SCHWAB:

 6    Q    Do you think it's appropriate for the police to try to

 7         influence the political process?

 8    A    I don't know if they're influencing the political

 9         process, but as a union they have the right to have

10         their voice.

11                                    EXAMINATION

12         BY MS. MOTLEY:

13    Q    Are you part of the police union?

14    A    Never.

15    Q    So you've always had confidence in Mayor McBride?

16    A    Yes.

17    Q    Do you remember the listening session of July 22nd?

18    A    Oh, yes.

19    Q    And Mayor McBride was in charge of that listening

20         session, right?

21    A    Yes.

22    Q    What did you think about that?

23    A    I think the city handled it horribly.

24    Q    How?

25    A    During that entire listening session when people were



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 1         supposed to come to the camera or come to the microphone

 2         to speak their mind about that, whatever their issues

 3         were, there were people that stood behind that

 4         microphone with signs that said Joseph Mensah was a

 5         murderer, and I was also an accomplice to murder.           For

 6         five hours I had to endure seeing my picture on the TV

 7         and being called an accomplice to murder.          I've said, I

 8         have never been accused of driving without a taillight

 9         in my entire career.

10                     It was hurtful, and I think it was wrong of

11         the city to allow that to happen.        I don't necessarily

12         fault the mayor for that because he wasn't in control of

13         the TV or production or whatever, but I think it was

14         wrong in the way it was handled.

15    Q    Did you voice -- I will mark this as Exhibit 5, is this

16         the picture you're talking about?

17    A    Yes, that's the picture.

18    Q    Did you voice your concerns about this to the mayor or

19         the common council members?

20    A    Yes, I voiced it to two common council members, I

21         believe, and also to Mayor McBride.

22    Q    Which common council members?

23    A    I think it was that meeting on -- I'm not sure of the

24         date of the meeting, but I think it was Alderman Stipich

25         (Phonetic) and Alderman Wilson.



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 1    Q    Did you voice your concerns verbally or in writing?

 2    A    Verbally, I would never voice my concerns like that in

 3         writing.

 4    Q    Did you voice your concerns to Mayor McBride also?

 5    A    In person, yes.

 6                          (Discussion had off record.)

 7                                    EXAMINATION

 8   BY MR. SCHWAB:

 9    Q    So you sent a letter on September 10th, on

10         September 17th an e-mail went around with the beginnings

11         of an emergency proclamation, it looks like on

12         September 24th, and it just so happens these seem to be

13         in weekly increments, or, Captain Vetter sent this

14         e-mail, so during this period the emergency proclamation

15         is being drafted, and the operational plan is being

16         drafted as well, is that your understanding?

17    A    I think so, yes.

18    Q    And your only input was the September 10th letter?

19    A    I don't know if I had any other, I don't think, I don't

20         recall.

21    Q    Do you know if any of your -- if Captain Vetter or

22         anyone else had any input into the emergency

23         proclamation?

24    A    I would be speculating, but I would guess that Vetter

25         would, but I don't know that for sure.



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 1    Q    Okay.    I'm going to hand you what is marked as Exhibit

 2         6, and it's the emergency proclamation, so I would like

 3         to go paragraph-by-paragraph and just go through some of

 4         this with you and just get your personal knowledge.

 5    A    Okay.

 6    Q    Now, just to check, you hadn't seen this until

 7         September 30th?

 8    A    Whenever it was issued, that's when I would have seen

 9         the final copy.

10    Q    So we'll start with the second paragraph, "whereas -- "

11         and we can just read it and not put it on the record,

12         but it says, "based upon recent experience with protests

13         concerning the continued employment of Officer Mensah,"

14         and "upon community response to decisions and actions

15         regarding police officers nationwide, most recently in

16         Kenosha," -- "it is anticipated an emergency will exist

17         in the City of Wauwatosa," just to be clear, when it was

18         issued there was no emergency in Wauwatosa on

19         September 30th, is that correct?

20    A    Correct.

21    Q    It was speculative?

22    A    Yes, it was in preparation.

23    Q    But where it says, "it is anticipated that an emergency

24         will exist," that is all guesswork, is that correct?

25    A    Yes.



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 1    Q    Okay.    And you enacted -- this enacted a curfew between

 2         the hours of 7:00 p.m. and 6:00 a.m. for the entire

 3         city, is that correct, that looks like in Paragraph 5,

 4         4?

 5    A    Yeah, except for going it to and from work, et cetera,

 6         as it is stated here.

 7    Q    Do you know if your officers ever inquired into whether

 8         people were going to or from work when they arrested

 9         people under this curfew?

10    A    I don't know.

11    Q    Should they have?

12    A    Depends on the circumstance of what they came across

13         people.

14    Q    Would it be unlawful to arrest someone if they were in

15         one of these exceptions?

16    A    It wouldn't have -- yeah, it would have been -- it

17         wouldn't have violated the emergency proclamation if one

18         of those exceptions that's true.

19                     MR. SCHWAB:    Okay.

20                                    EXAMINATION

21         BY MS. MOTLEY:

22    Q    And just to be clear, violating an emergency

23         proclamation, that is not criminal, correct?

24    A    I don't think so, but, again, it has to be in the

25         context.



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 1                                    EXAMINATION

 2   BY MR. SCHWAB:

 3    Q    Did you instruct your police officers to enforce this?

 4    A    I don't think I directly instructed them, but, again, we

 5         had our operations center operating and our command

 6         post, so it would have been passed down and given them

 7         the authority to do that.

 8    Q    When they went out on October 7th, the first night?

 9    A    Yes.

10    Q    Before they went out, did every officer read this?

11    A    I don't know if they were told they had to read it or

12         not.

13    Q    Usually officers have a good grasp of what state laws

14         and municipal ordinances are so they can know exactly

15         they can stop someone and when someone is free to go,

16         correct?

17    A    Correct.

18    Q    And in order to enforce this, they would have needed to

19         have been instructed on a special law, correct?

20    A    They would have had to know the contents of it, yes.

21    Q    Who would have instructed them to enforce this?

22    A    I am guessing the supervisors that were working on that

23         particular night.

24    Q    Okay.    Do you know if people were arrested for violating

25         the curfew that night, or those nights in October?



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 1    A    I believe there were some people.

 2    Q    For being outside after 7:00 p.m.?

 3    A    Yes.

 4    Q    And that alone was the basis for some people?

 5    A    No, I don't think that was why they were arrested.

 6    Q    So nobody was arrested solely for violating the curfew?

 7    A    I think there was circumstances involved when people

 8         were arrested.

 9    Q    Tell me about those circumstances.

10    A    I will just be speculating, but if people are, as I said

11         earlier, if they are out walking their dog or they are

12         coming back from somewhere or wherever, they would not

13         get arrested for a curfew violation.

14    Q    What would be the basis for why someone would be

15         arrested for a curfew violation?

16    A    If they were involved in doing something that was

17         unlawful or did not obey the officer's request.

18    Q    So if someone was out to protest, that would be grounds

19         for arresting them?

20    A    After 7:00 p.m. when the curfew was in effect, yes.

21    Q    So if on October 7th or October 8th I walk down the

22         street with a sign that said, "Chief Weber is an

23         accomplice," your officers would have arrested me?

24    A    Maybe and maybe not.

25    Q    What would make that determination?



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 1    A    It depends on what their workload was at the time, if

 2         you are just a single person walking by yourself, the

 3         officers had other people that they had to deal with --

 4    Q    But they could have arrested me, if they had lots of

 5         free time at that moment, they could have arrested me?

 6    A    They could have.

 7    Q    Is that your order?

 8    A    My order, no, it is the order of this proclamation.

 9    Q    Do you investigate or look into whether orders are

10         lawful?

11    A    If the order comes from the city hall with a city

12         attorney who is drafting an order, then I do not.

13    Q    Do you believe -- have you ever stated that you will not

14         enforce an illegal order?

15    A    There's one time.

16    Q    What was that time?

17    A    Several years ago when the whole issue was about

18         sanctuary cities.

19    Q    Tell me more about that.

20    A    There were people wanted our city to become a sanctuary

21         city.    The council was debating that, and I spoke at the

22         common council meeting at that time, and I said,

23         cooperate with the federal government because we have

24         officers assigned to the federal task forces

25         including -- crimes task force, the secret service



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 1         financial and crimes task force, and we also had a gang

 2         crimes guy.     So with the HYDAA (Phonetic) drug unit, so

 3         we get -- you know, we work in cooperation with those

 4         groups.    So if the federal government, specifically the

 5         ICE, immigration and customs, if they asked us to make

 6         an arrest or whatever based on, you know, on their

 7         needs, we're not going to say, I said, we're not going

 8         to say we're not going to help them.

 9    Q    Would you say it's more accurate to say that you report

10         to the federal government than the Wauwatosa city

11         government?

12    A    No, I report to the Wauwatosa city government.

13    Q    If the Wauwatosa city government gave you an order that

14         contradicted an order of ICE, you would still choose the

15         order of ICE?

16    A    I don't think that Wauwatosa city government is going to

17         give me orders that are going to be contradictory to

18         federal law and what federal law enforcement agencies

19         require, and I said that that night, I said I would not

20         comply with any order.

21    Q    Are you familiar with the legal concept of federal

22         commandeering?

23    A    I am not.

24    Q    Do you believe that the President of the United States

25         can order you to do -- to enforce a federal law?



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 1    A    That would be an interesting happenstance, if that

 2         occurred, but I don't listen to the President of the

 3         United States on anything.

 4    Q    Would you say that your belief on enforcing an ICE order

 5         was based on your professional opinion or your personal

 6         opinion?

 7    A    Professional opinion.

 8    Q    Was that also your personal opinion?

 9    A    It is probably somewhat intertwined on that, but I try

10         to obey lawful orders and we cooperate with our law

11         enforcement partners, so that would be it, yes.

12    Q    If the city attorney told you that the city council or

13         the mayor had the right to make Wauwatosa a sanctuary

14         city, would you have listened to the city attorney or

15         declare the city attorney's opinion unlawful?

16                      MS. BAYNARD:     Objection, improper

17         hypothetical.     Go ahead.

18                      THE WITNESS:     I would determine the city

19         attorney's interpretation of unlawful.         The way I would

20         look at it is I would do what I think is right, and if I

21         get in trouble, the city attorney would get me out of

22         it.

23         BY MR. SCHWAB:

24    Q    So you would disobey a city attorney if you thought he

25         was wrong?



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 1    A    I would.

 2    Q    Would you do your own investigation?

 3    A    If it came to that, I probably would have to.

 4    Q    Would you speak with your own lawyer in determining

 5         whether to follow an order from the mayor signed off by

 6         the city attorney?

 7    A    I don't know if I would speak to my own lawyer at that

 8         point.     I think I would probably first check with the

 9         district attorney's office, somebody from there.

10    Q    Okay.    Do you have the authority yourself to declare a

11         curfew?

12    A    I do not.

13    Q    Who does have the authority?

14    A    I believe the mayor does.

15    Q    Okay.    Does the mayor have this right himself, is it his

16         sole decision?

17    A    I am not sure.

18    Q    Okay.    Would it worry you if you found out that the

19         mayor didn't have that authority and you were enforcing

20         a law that was unlawful?

21    A    It would worry me to the point, in this case I knew that

22         the city attorney's office was involved, so I was

23         comfortable with it.

24    Q    What if the city attorney or the City of Wauwatosa

25         declared that we were going to reinstitute segregation,



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 1         would you enforce those orders?

 2    A    Who declared that?

 3    Q    The city council.

 4    A    I don't think anybody could order me to enforce

 5         something that I think is unlawful.

 6    Q    Even if the city attorney signed off on it?

 7    A    I don't care.

 8    Q    So there were times you would know that the city

 9         attorney was wrong?

10    A    I think you have to do what you think is right, and the

11         standard I have always believed in is you act reasonably

12         and in good faith.      In good faith you are trying to do

13         the right things, I think that means a lot.

14    Q    Okay.    When did the FBI get involved in this?

15                     MS. MOTLEY:    Can we take a break, if you guys

16         don't mind?

17                         (A recess was taken.)

18                     MS. MOTLEY:    So let's get started.      It's 2:25.

19   BY MR. SCHWAB:

20    Q    Was the FBI involved in the response to the October

21         curfew?

22    A    Yes, to some degree, but I saw them at the command post

23         doing some things, but exactly what their details were,

24         I am not sure exactly what their assignment was.

25    Q    Were the U.S. Marshals involved?



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 1    A    I think they were.

 2    Q    Are there any federal buildings in the City of

 3         Wauwatosa?

 4    A    Not that I'm aware of.

 5    Q    Were they here to enforce federal law?

 6    A    Well, that's what their jurisdiction is.

 7    Q    Did you confer jurisdiction on them?

 8    A    I don't confer jurisdiction on federal agents.

 9    Q    Can you bring them in as mutual aid partners?

10    A    I believe we can.

11    Q    Did you?

12    A    Again, I don't know if that is something that we have to

13         do because we work with the marshals when it comes to

14         doing a lot of things and we would -- (inaudible) -- the

15         marshall's task force and also the FBI.

16    Q    Do you know who asked the FBI to assist in this?

17    A    I don't.

18    Q    Did it come from someone in the police department?

19    A    It had to have.

20    Q    But it wasn't you?

21    A    It was not.

22    Q    Okay.    Same thing with the marshals?

23    A    Correct.

24    Q    Do you know if FBI agents interrogated any arrestees?

25    A    I don't know.



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 1                                    EXAMINATION

 2   BY MS. MOTLEY:

 3    Q    Why did the FBI interrogate people?

 4    A    I don't know if they did.

 5    Q    You have no idea if the FBI questioned people for the

 6         October curfew?

 7    A    I have no idea.

 8    Q    Did you get a briefing after the October curfew by any

 9         of your Wauwatosa police officers?

10    A    After the curfew, are you talking about after the end of

11         the night, or --

12    Q    Well, after the end of the night.

13    A    I would get a summary report of what the activities

14         were.

15    Q    Who would write that report?

16    A    I think Lieutenant Roy did.

17    Q    Lieutenant Roy wrote a report, and he would e-mail that

18         to you?

19    A    Yes.

20    Q    He would e-mail at bweber@Wauwatosa.net?

21    A    Yes.

22    Q    And he would do this every night in the October curfew?

23    A    I think so.

24    Q    Was it common, would Wauwatosa officers write reports

25         after every night of protesting in the city?



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 1    A    I don't know what -- when they would write their reports

 2         because they still had to write reports.          I don't know

 3         when they had the time to do it.

 4    Q    For instance, like the August 13th curfew, the one-day

 5         curfew that was enacted by Mayor McBride, do you recall

 6         that?

 7    A    One-day curfew?

 8    Q    Yes, it was the same day that the WPOA (Phonetic) took

 9         their no countenance vote against Mayor McBride.

10    A    I don't remember the one-day curfew.

11    Q    Okay.    Do you recall the August 14th, when protesters

12         were protesting outside Mayor McBride's house?

13    A    There was so many protests outside his house, I don't

14         know which one was which.

15    Q    Do you recall when there was a protest outside Mayor

16         McBride's house where Wauwatosa police called in and

17         used their mutual aid relationships to bring in other

18         law enforcement officers?

19    A    I don't know the date, but I remember that they did

20         that.

21    Q    After that day of protesting, would there have been a

22         written report by Lieutenant Roy or anyone else within

23         the Wauwatosa Police Department also?

24    A    Depending on what happened at the mayor's house, there

25         may or may not have been.



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 1    Q    Okay.    Were there reports ever written after protesting

 2         outside, for instance, the police and fire commission

 3         members' houses?

 4    A    Not necessarily.

 5    Q    Okay.    When did you ask the FBI to help with the

 6         protests of October?

 7    A    I didn't ask the FBI.

 8    Q    When did Captain Vetter ask for the FBI to be here to

 9         help with protests?

10    A    I don't know.

11    Q    But he did at some point?

12    A    He or somebody did.

13    Q    Somebody within the Wauwatosa Police Department?

14    A    Yes.

15    Q    When did you ask for the U.S. Marshals to help with the

16         October protests?

17    A    I did not.

18    Q    When did someone with the Wauwatosa Police Department

19         asked for the U.S. Marshals to come and help with the

20         protest?

21    A    Probably somewhere around that same timeframe, you will

22         have to ask the FBI, I don't know.

23    Q    But it was somebody within the Wauwatosa Police

24         Department?

25    A    I am guessing, yes.



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 1    Q    Presumably Captain Vetter?

 2    A    He would be the most likely that would, but because they

 3         work a lot with the detective bureau, it could be

 4         Lieutenant Wrucke or somebody else that requested them.

 5    Q    What were the duties of the FBI at the protests of

 6         October?

 7    A    I have no idea.

 8    Q    What were the duties of the U.S. Marshals at the protest

 9         of October?

10    A    I don't know, I wasn't out there.

11    Q    But you were aware they were out there when you were at

12         the command center, the command post, correct?

13    A    I think I found out later on that were there.

14    Q    You found out later on that they were in Wauwatosa at

15         that point in time?

16    A    Yes.

17    Q    Where did the FBI -- who gave the FBI permission to work

18         out of Wauwatosa Police Department, was that you?

19    A    No.

20    Q    Was that Captain Vetter?

21    A    I don't know.

22    Q    But someone gave the FBI permission to work out of the

23         Wauwatosa Police Department?

24    A    I don't know if they were working out of our department

25         or they were working at our command post.



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 1                     THE COURT REPORTER:      Working at where?

 2                     THE WITNESS:     Our command post.

 3         BY MS. MOTLEY:

 4    Q    But they were working in Wauwatosa that night, the FBI,

 5         either at the command post or at the Wauwatosa Police

 6         Department?

 7    A    I think so.

 8    Q    Okay.    And who gave permission to the U.S. Marshals to

 9         arrest people?

10    A    U.S. Marshals are a federal agency, they have their own

11         set of rules.     They don't need my permission.

12    Q    As far as you were aware, there weren't any fugitives of

13         justice in Wauwatosa during the October 2020 curfew,

14         correct?

15    A    That would be beyond something I would know.

16    Q    Would it be something that presumably you would know in

17         case, you know, the U.S. Marshals wanted assistance of

18         the Wauwatosa Police Department, correct?

19    A    If they wanted assistance, then I might know.

20         Otherwise, if they're there, I have no way of knowing

21         what they're doing.

22    Q    What did you know that the U.S. Marshals was doing

23         there?

24    A    I think they probably responded as mutual aid like a lot

25         of other agencies did.



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 1    Q    Okay.    And in terms of these mutual aid contracts -- is

 2         that the proper term, contracts or agreements?

 3    A    Agreements.

 4    Q    So who is the contact person with the U.S. Marshals that

 5         Wauwatosa Police Department works with?

 6    A    I don't know what the person's name is.

 7    Q    You mentioned that there is an FBI liaison within the

 8         Wauwatosa Police Department, right?

 9    A    Yes.

10    Q    Who is that?

11    A    Now I think it's detective -- or, excuse me, Officer

12         Steve Schmidt.

13    Q    Was Steve Schmidt the one who was the liaison for the

14         U.S. Marshals and the FBI during the October curfew?

15    A    I don't know, if could be him or it could be Detective

16         Marty Keck (Phonetic).

17    Q    Okay.    So either Detective Keck or Officer Schmidt, one

18         of the two or both?

19    A    Probably.

20    Q    How many Wauwatosa police officers were working during

21         the October curfew?

22    A    I don't have an exact number, but there was a lot

23         because we had people on 12-hour shifts.

24    Q    Was it most of the Wauwatosa police force?

25    A    Yes.



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 1    Q    Were officers assigned to different areas, or how did

 2         that work?

 3    A    Different areas, yeah, different assignments.

 4    Q    Why did the U.S. Marshals arrest -- (inaudible)?

 5                      THE COURT REPORTER:     Arrest who?

 6                      MS. MOTLEY:    Taleavia Cole, T-A-L-E-A-V-I-A,

 7         C-O-L-E.

 8                      THE WITNESS:    I don't know why they did.

 9         BY MS. MOTLEY:

10    Q    When did you give permission for the officers to take

11         people's cell phones?

12    A    I never gave permission to take cell phones.

13    Q    When did Captain Vetter give permission for people's

14         cell phones to be taken?

15    A    I'm not aware that he did.

16    Q    Did any Wauwatosa police officers give permission for

17         cell phones to be taken?

18    A    Not to my knowledge.

19    Q    Why did Wauwatosa Police Department keep people's cell

20         phones if you weren't aware that cell phones were going

21         to be taken?

22    A    I don't know if that was for some evidentiary purpose or

23         not, I don't know.

24    Q    With regards -- and you agree that -- were there any

25         people with regards to the October protests that were



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 1         actually charged and convicted of a crime?

 2    A    I don't know.

 3    Q    Okay.    Do you recall if there were any people for the

 4         October protests that were referred to the district

 5         attorney's office to be charged for a crime?

 6    A    I'm not sure.

 7    Q    Okay.    But you are aware that a lot of people received

 8         noncriminal municipal tickets for the protests of

 9         October 20th?

10    A    Yes.

11    Q    And based on it being a noncriminal charge, their phones

12         should not have been taken, correct?

13    A    I don't know what the circumstance would be.

14    Q    Okay.    Are you aware that -- why did the Wauwatosa

15         Police Department keep Taleavia's phone for 22 days?

16    A    I don't know.

17    Q    Did you ask?

18    A    I wasn't aware of those things.        I am not --

19    Q    Why did the Wauwatosa Police Department physically

20         assault Tracey Cole?

21                     MS. BAYNARD:     Objection to the form of the

22         question.    Argumentative.

23                     THE WITNESS:     I'm not aware she was assaulted.

24         BY MS. MOTLEY:

25    Q    Were you aware of any protesters being physically hurt?



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 1    A    I believe Mrs. Cole later claimed she -- her arm was

 2         hurt.

 3    Q    Do you realize that Mrs. Cole was sent to the hospital

 4         that night?

 5                     MS. BAYNARD:     Objection to the form of the

 6         question.     Go ahead.

 7                     THE WITNESS:     I think I found out later she

 8         went to the hospital.

 9         BY MS. MOTLEY:

10    Q    Did you realize that one of your Wauwatosa police

11         officers actually helped her into the ambulance that

12         night?

13    A    I am not aware.

14    Q    Did you have any type of conversations with officers

15         after the October curfew?

16    A    Any conversations?

17    Q    Yeah, because it seems like you don't know a lot, to be

18         completely honest.

19                     MS. BAYNARD:     Object to the form of the

20         question, argumentative.       That was a statement, not a

21         question, but go ahead.

22                     THE WITNESS:     The question was?

23         BY MS. MOTLEY:

24    Q    Did you have a conversation with your law enforcement

25         officers about what happened during the curfews of



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 1         October 2020?

 2    A    After the fact I probably had numerous conversations

 3         with people as I see them in hallways or different

 4         places.

 5    Q    After the fact, are we talking about October 12th after

 6         the fact, or midnight after the fact?

 7    A    I don't record the conversations I have, so I don't

 8         know.

 9    Q    Do you know who you talked to about the curfew within

10         the Wauwatosa Police Department?

11    A    No, I don't.

12    Q    Did you have any concerns about the excessive force that

13         was used by Wauwatosa police officers during the October

14         curfew?

15                     MS. BAYNARD:     Object to the question,

16         compound.    Go ahead.

17                     THE WITNESS:     Describe what excessive force

18         was used.

19         BY MS. MOTLEY:

20    Q    Tracy Cole was assaulted, she ended up in the hospital.

21    A    If she was assaulted, she wasn't assaulted by a police

22         officer.

23    Q    How do you know?      You didn't talk to anyone, you don't

24         know.

25                     MS. BAYNARD:     Objection to the form of the



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 1         question.    It is not a question.        Go ahead.

 2                      THE WITNESS:    If Mrs. Cole was assaulted, she

 3         should have made a police report or contacted the

 4         district attorney's office.

 5                      THE DEFENDANT:    Can I ask a couple of

 6         questions?

 7                      MS. MOTLEY:    Go ahead.

 8                                     EXAMINATION

 9         BY MS. KNOWLTON:

10    Q    Would you characterize this operations plan, and you

11         said -- would you characterize this operation plan as

12         large?

13    A    Yes.

14    Q    In scale?

15    A    Probability the largest scale we have ever done in

16         Wauwatosa.

17    Q    Have you done -- has there been anything of this

18         magnitude in your career prior to Wauwatosa?

19    A    No.

20    Q    And you did see this as exhibit -- whatever number, the

21         operations plan?

22    A    Yes.

23    Q    The listed operational partners here --

24                      MS. BAYNARD:    What page are you referring to?

25                      MS. KNOWLTON:    On Page 2 carrying over to



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 1         Page 3.

 2                     THE WITNESS:     Yes.

 3         BY MS. KNOWLTON:

 4    Q    That's significant, right, I mean, you would

 5         characterize that as a large undertaking?

 6                     MS. BAYNARD:     Object to the question,

 7         compound, go ahead.

 8                     THE WITNESS:     Yes.

 9         BY MS. KNOWLTON:

10    Q    And those certainly, it seems like there are law

11         enforcement agencies here that are referenced as "PD," I

12         am interpreting that as police department.

13    A    Correct.

14    Q    But there are other agencies here that aren't

15         necessarily law enforcement like the Department of

16         Transportation.

17                     MS. BAYNARD:     Are you asking a question?

18                     MS. KNOWLTON:     I am.

19         BY MS. KNOWLTON

20    Q    That is not a law enforcement agency, right?

21    A    That's correct.

22    Q    Or, like, when you said the Mayfair security force, is

23         that a law enforcement -- a trained law enforcement

24         agency?

25                     MS. BAYNARD:     Objection, asked and answered.



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 1         Go ahead.

 2                      THE WITNESS:    They're trained, but they're

 3         private security.

 4         BY MS. KNOWLTON:

 5    Q    Okay.    So they haven't gone through the vetting that you

 6         previously this morning discussed in terms of the

 7         qualifications and credentials of your officers, is that

 8         right?

 9    A    That is right.

10    Q    So with something this comprehensive, why wouldn't you

11         have your reports in writing?

12                      MS. BAYNARD:    Objection, it misstates prior

13         testimony.     What reports are you referring to?

14                      MS. KNOWLTON:    Thank you for that being on the

15         record, but he can ask if he has a question about my

16         question.

17                      THE WITNESS:    What report?

18         BY MS. KNOWLTON:

19    Q    When you said that you received briefings, or, rather,

20         e-mails, written reports in the evening after the nights

21         of protests, is that the extent to any report, written

22         report, you would get about this operation?

23    A    At that time, yes, that would be all I would get, just a

24         summary.

25    Q    Okay.    So after this four or five days, you did not do



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 1         any other formal debriefing with your department or any

 2         personnel in your department?

 3    A    We did a debriefing, but I think it was weeks later.

 4    Q    Okay.    Was that in writing at all, or recorded?

 5    A    I don't think it was recorded, but it was with some of

 6         the operational commanders involved, and we talked about

 7         what had happened.

 8    Q    Okay.    And the operation -- the people in charge of the

 9         operations then, you're saying, were members of your

10         police department?

11    A    Yes.

12    Q    And when you were in the CVMIC offices those evenings,

13         was that every evening of the curfew?

14    A    Yes.

15    Q    And were you viewing any realtime video of anything

16         happening?

17    A    I was.

18    Q    And was that from drone footage, or what footage was

19         that from?

20    A    There was drone footage, there was also some people who

21         are -- were at the events posted live video from their

22         cell phones.

23    Q    Okay.    That wasn't your officers, you're saying that

24         was, or was it, was that your officers?

25    A    Wasn't ours, I would see some people calling themselves,



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 1         different things, and they had their phones out

 2         constantly.     From where I was at, we had split screens

 3         so we could see drone footage, live things here, and

 4         there was a number of different views.

 5    Q    In your command center where you were, did you record

 6         any of that?

 7    A    No.

 8    Q    The drones, you and your department did have control of

 9         some drones, is that right?

10    A    We have somebody that was in charge of the drone, but

11         that wasn't a City of Wauwatosa Police Department

12         employee.

13                     MS. KNOWLTON:     Okay.

14                                    EXAMINATION

15         BY MR. SCHWAB:

16    Q    Who was in charge of the drone?

17    A    There was a person that works for the public works

18         department, Paul Vesprackus (Phonetic) is his name.

19                     THE COURT REPORTER:       Could you spell that last

20         name?

21                     THE WITNESS:     I don't know how to spell it.

22                     MS. MOTLEY:    Could you say his name again?

23                     THE WITNESS:     Vesprackus, V-E-S-something,

24         he's the GIS manager, geographical interface-something

25         or other, so he does things with drones, and he would



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 1         have been the operating the drone for us.          I'm not sure

 2         if the FBI had some footage too.

 3   BY MR. SCHWAB:

 4    Q    Did other police departments bring drones?

 5    A    Not that I am aware of.

 6    Q    Does the Wauwatosa Police Department even own a drone?

 7    A    We do not.

 8    Q    So this was a City of Wauwatosa drone?

 9    A    Yes, I think so.

10    Q    A civilian drone?

11    A    Yes.

12    Q    Called into duty?

13    A    Sorry?

14    Q    Called into duty?

15    A    Yes.

16                                    EXAMINATION

17   BY MS. MOTLEY:

18    Q    So you mentioned you were surveying different people's

19         social media sites at the command post?

20    A    The operation center.

21    Q    Sorry, the operation center.        Whose social medial posts

22         were you monitoring?

23    A    I don't know the names.       The people have different names

24         that they use.     They would just say, this is whatever

25         the name is it was, and I don't know who that is.



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 1    Q    Who are the people -- I know you don't know the handle

 2         names, but who are the names of the people that -- whose

 3         sites that you monitored?

 4    A    I didn't copy those down.

 5    Q    Was Taleavia Cole one of them?

 6    A    I don't think so.

 7    Q    Frank Nitty (Phonetic)?

 8    A    No.

 9    Q    Vaun Mays?

10                      THE COURT REPORTER:     Hold on.

11         BY MS. MOTLEY:

12    Q    V-A-U-N, M-A-Y-S, Khalil Ahmad (Phonetic)?

13    A    No.

14    Q    Kimberly Motley?

15    A    No.

16    Q    Deja Vishny (Phonetic)?

17    A    No.

18    Q    The People's Revolution?

19    A    No.

20    Q    Indivisible Tosa?

21    A    No.

22    Q    -- (inaudible) --

23                      The COURT REPORTER:     Hold on.

24         BY MS. MOTLEY:

25    Q    But you know that there are -- Sean Kafer (Phonetic)?



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 1    A    No.

 2    Q    Kevin Glowicki, G-L-O-W-I-C-K-I?

 3    A    I never heard those names.

 4    Q    You haven't heard any of these names?

 5    A    I have heard some of the names, I never heard of Kevin

 6         Glowicki or Sean, whatever his name is.

 7    Q    Who can we talk to to see whose sites were being

 8         monitored, who would know that information?

 9    A    I don't know because there was -- one of the sites we

10         were monitoring, there was a woman who just went by her

11         first name.     This was -- and she was outside, she said

12         this is -- she was showing live video, and there was a

13         name, but I don't remember what it is.

14    Q    Would Dominic Ritkowski, your crime analyst, would he

15         know what sites are being monitored by the Wauwatosa

16         Police Department?

17    A    He probably would know.

18    Q    Okay.    And Dominic, did he go through the rigorous

19         police hiring process also?

20    A    As a civilian employee it would not be quite the same as

21         what we do for police officers, but we do a pretty rigid

22         background check on people.

23    Q    Okay.    Now, has the Wauwatosa Police Department ever

24         reached out to any social media companies like Facebook

25         and asked to shut down people's Facebook pages, or asked



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 1         for information from specific Facebook pages?

 2                     MS. BAYNARD:     Objection, compound.

 3                     THE WITNESS:     Not that I'm aware of.

 4         BY MS. MOTLEY:

 5    Q    Who would be aware of that, would that be Dominic again?

 6    A    He might know that, or Lieutenant Roy might know that.

 7    Q    Okay.    And in terms of -- well, with regards to Facebook

 8         pages, you said you don't know who Dominic is referring

 9         to when he says, here is a new updated list.          There are

10         around 40 people I fully ID'd.        When did you task

11         Dominic to ID protesters?

12    A    I don't task Dominic to do anything, he works for the

13         lieutenant in the detective bureau.

14    Q    He workings for the Wauwatosa Police Department?

15    A    Correct.

16    Q    Who is his direct supervisor?

17    A    Ultimately it would be Lieutenant Wrucke in the

18         detective bureau.

19    Q    What is the nerd lab?

20                     THE COURT REPORTER:      Nerd lab?

21         BY MS. MOTLEY:

22    Q    Yes.

23    A    Nerd lab is an area in our police department where

24         you're able to retrieve information from computers, cell

25         phones, to the degree that they want to do an



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 1         investigation.

 2    Q    Okay.    Who is in charge of the nerd lab?

 3    A    Again, it is part of the detective bureau, Lieutenant

 4         Wrucke.

 5    Q    Who told people to -- why were phones taken to the nerd

 6         lab the week of October 20th, the protests?

 7    A    I don't know.

 8                                    EXAMINATION

 9   BY MR. SCHWAB:

10    Q    If those phones were not voluntarily given, would a

11         search warrant be required to do whatever they do in the

12         nerd lab?

13    A    Depending on what they're doing, I would think sometimes

14         if you wanted to get somebody's data or something, you

15         have to get a search warrant.

16    Q    You've been a police officer for 40-something years, you

17         have a pretty good sense of the constitutional limits of

18         search and seizure, correct?

19    A    Not to the degree I did when I worked the streets.

20    Q    Your understanding is that in order to search a phone

21         you would need a warrant?

22    A    I would think so.

23    Q    Okay.    Would it trouble you if your officers were

24         searching phones without a warrant?

25    A    Those -- those guys know what the law is better than I



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 1         do when it comes to search and seizure of cell phones,

 2         because cell phones is -- when I was working the street

 3         there were no such thing.       So what the limitations are

 4         and what they can get off of cell phones or what they

 5         needed to do is not really my (inaudible).

 6                                    EXAMINATION

 7   BY MS. MOTLEY:

 8    Q    Why were phones searched after the October 20th protest

 9         that were taken from people, why were they searched?

10    A    I don't know.

11    Q    Why were people's SIM cards taken out of their phones on

12         the October 20th curfew?

13    A    You know, I know you said that I don't seem to know too

14         much, but that's really not what I do.         I have no idea.

15         I wouldn't even know how to get a SIM card out of a

16         phone.

17    Q    You are aware that SIM cards are commonly taken out of

18         phones by Wauwatosa police officers in the nerd lab just

19         as a general concept?

20    A    I'm not aware that it is commonly done.         I don't know.

21    Q    But you are aware that it's done?

22    A    That's the first time somebody has brought it up to me,

23         you can take a SIM card out of a phone.

24                                    EXAMINATION

25         BY MR. SCHWAB:



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 1    Q    While you were watching drone footage, did every night

 2         become a civil unrest?

 3    A    The first two nights were the most troublesome.           After

 4         that, it seemed like it stabilized better, and then we

 5         saw less and less problems in our city.

 6                                     EXAMINATION

 7   BY MS. MOTLEY:

 8    Q    Well, I think just to correct the record, you defined

 9         civil unrest before as violence and damage to property.

10    A    Okay.

11    Q    Right.    So there wasn't any civil unrest that happened

12         on October 20th?

13                      MS. BAYNARD:    October of 2020?

14                      MS. MOTLEY:    Yes, October of 2020.

15                      THE WITNESS:    Well, the two dates that we were

16         --

17         BY MS. MOTLEY:

18    Q    October 7th through the 12th -- let me just clean this

19         up, sorry.     With regards to, there wasn't any property

20         damage during the October curfew, correct?

21    A    No, that is not correct.

22    Q    What property was damaged?

23    A    There were windows broken along North Avenue.

24    Q    That was October 7th?

25    A    That was probably the 7th or 8th.



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 1    Q    Do you know what windows?

 2    A    Areas along North Avenue near 92nd Street.

 3    Q    Okay.

 4    A    There was some apartment buildings, and I was able to

 5         see people on video actually smashing out windows.

 6    Q    Was there any violence that occurred the week of the

 7         protests of October?

 8    A    I think there was.

 9                                    EXAMINATION

10         BY MR. SCHWAB:

11    Q    Was any of that violence not performed by police

12         officers?

13    A    Sorry?

14    Q    How much of that violence was done by police officers?

15    A    I don't believe any violence was caused by police

16         officers.

17                                    EXAMINATION

18   BY MS. MOTLEY:

19    Q    Do you think shooting rubber bullets at people is

20         violence?

21    A    I think police officers need to defend themselves, and

22         they were getting bottles and rocks thrown at them, they

23         needed to defend themselves and enforce the law.           Yes, I

24         don't think that is violence by police officers.           They

25         can defend themselves.



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 1    Q    But defending yourself, you can still impose violence,

 2         right?

 3    A    If you commit violence against a police officer, you

 4         will be met in kind.

 5    Q    Were any of your officers hurt, or any officers hurt the

 6         week of October?

 7    A    I talked about the one guy that got hit by the car.

 8    Q    That was in July at the Cheesecake Factory.

 9    A    Then there was also police officers that, when things

10         were thrown at them, I think in October, they had

11         scraped up legs and things like that.

12    Q    Which officers were hurt?

13    A    I don't know which officers.

14                                   EXAMINATION

15         BY MR. SCHWAB:

16    Q    So you said when you act violently towards a police

17         officer he can respond in kind?

18    A    Yes.

19    Q    What is the goal of his response?

20    A    Take control of the situation.

21    Q    Is it to punish you?

22    A    No, it is to get in control.

23    Q    If I were to throw something at an officer, a water

24         bottle, is it okay for him to shoot me?

25    A    No.



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 1    Q    Shoot me with a rubber bullet?

 2    A    Depends.

 3    Q    If I were to do this, can he hit me in the face?

 4    A    If you just threw something at him --

 5                     THE COURT REPORTER:      Wait.

 6                     MS. MOTLEY:    When you do that --

 7         BY MR. SCHWAB:

 8    Q    If I threw something at him, and then immediately put my

 9         hands on my head and surrendered, is it okay for him to

10         punch me in the face?

11    A    No.

12    Q    You just said he can respond in kind.

13    A    If he needs to take control of the situation, if you

14         have already surrendered, there is no need to do

15         anything more.

16    Q    So it is not that he can respond in kind, but he has the

17         authority to take control of the situation?

18    A    I was referring to in the heat of the moment, if you're

19         fighting with the officer, he can respond the same way.

20    Q    Do you believe your officers ever use force to punish

21         people?

22    A    I don't.

23    Q    Ever?

24    A    I don't think so.

25    Q    You watched those videos over those nights, and you



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 1         monitored I suppose every minute?

 2    A    Not every minute, but I was there.

 3    Q    Was everyone that was out there a criminal?

 4    A    You're referring to protesters?

 5    Q    Yes.

 6    A    No.

 7    Q    Were many of them criminals?

 8    A    I didn't do a tally or anything like that, some of them

 9         were committing unlawful acts.

10    Q    Did you see any conduct by your police officers that

11         worried you?

12    A    No.

13    Q    No police officer responded in a way that was more than

14         the least force necessary?

15    A    Anything that I saw, I was watching the videos from far

16         away.    It was hard to see what is going on.        If I had

17         been at the scene, maybe I would have saw things maybe

18         differently.     There was nothing that I saw that caused

19         me concern at that time.

20    Q    Afterwards, did any officers come forward with

21         complaints of other officers using excessive force?

22    A    Not to me.

23    Q    Have you ever in your 31 years with the Wauwatosa Police

24         Department seen one officer report another?

25    A    Yes.



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 1    Q    Tell me the circumstance.

 2    A    The one that I referred to earlier, when I had been

 3         there a short time, an officer took some guy behind the

 4         mall property and roughed him up, as it was told to me.

 5         I got that officer to resign because that is how we did

 6         it.   I also had an officer that brought somebody in the

 7         sally port at one point, this was probably around 2001,

 8         so 20 years ago, and the prisoner spit at the officer,

 9         so I think he set him down rather harshly on the ground.

10         Another officer reported that to me, so that police

11         officer that is committing the act, I think I gave him a

12         20-day suspension and a severe warning.         I have never

13         had a problem again.

14                     There's been certain circumstances over the

15         years, if something happened or somebody used harsh

16         language or something, police officers come to me and

17         they've said, "this is what I saw, and, chief, that is

18         not what we're all about here.        We don't do those

19         things."    I have always had great respect for the way

20         our people treat others.       One of the things I look at

21         when we hire people, I look for people that have a sense

22         of compassion and integrity.        I think those are the two

23         biggest qualities I look for when hiring people.

24    Q    You said earlier this was, I guess, the biggest

25         operational event of your career?



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 1    A    Yes.

 2    Q    Did you guys do a debrief?

 3                      MS. BAYNARD:    Objection, asked and answered.

 4         Go ahead.

 5                      THE WITNESS:    Yes.

 6         BY MR. SCHWAB:

 7    Q    Tell me about that debrief.

 8    A    I think I said it was a couple of weeks later.           We sat

 9         down, and -- as a supervisory staff, and talked about

10         things we could have done differently or what went on.

11    Q    Was anything written down?

12    A    Not by me.

13    Q    Why did you guys write down the operational report but

14         not your debrief report?

15    A    I don't know if they wrote down anything or there were

16         any notes made for something in the future.          I was not

17         part of that operational thing so I didn't feel that I

18         needed to write any notes.

19                                     EXAMINATION

20         BY MS. MOTLEY:

21    Q    What things did you say in that debrief that you should

22         have done differently?

23    A    I didn't say anything that I should have done

24         differently.

25    Q    What --



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 1    A    In general conversations, I think if you look through

 2         some of the problems we had, it was, initially, the

 3         first night we had trouble with getting the radio

 4         channels synchronized with what we needed to do, so what

 5         we needed to do differently, to get the radios ready.

 6         Some of the staging areas, we thought we might have

 7         wanted to change a couple of those just because it would

 8         be more out of sight and certainly easy to respond to.

 9         There may have been other things that we've talked

10         about.    I do remember talking about the radio channels

11         and the sites.

12    Q    Who participated in the debrief?

13    A    Many of the supervisors that were there.

14    Q    Like who?

15    A    If you look at command staff, it would probably be

16         chief, captains and lieutenants, and probably some

17         sergeants.

18    Q    Was Mayor McBride there?

19    A    No.

20    Q    Did Mayor McBride express to you concerns that he had

21         about how the police behaved during the October curfew?

22    A    He did not.

23    Q    Did Mayor McBride, was he with you at command staff, or

24         most of the time that you were there?

25    A    At the operations center, yes, he was.



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 1    Q    I am sorry, operations center.

 2    A    Yes, he was there.

 3    Q    What hours were you there?

 4    A    Usually about 5:00 or 6:00 in the afternoon, I was there

 5         until about 2:00 or 3:00 in the morning.

 6    Q    Was Alan Kesner also there?

 7    A    Yes.

 8    Q    And why did you -- let me strike that.         Whose idea was

 9         it to protect the fire and police commissioners' houses?

10    A    I think that was Captain Vetter who said we needed to do

11         that.

12                                    EXAMINATION

13         BY MR. SCHWAB:

14    Q    Is Vetter up for your job?

15    A    He will be the interim chief, but he did not apply for

16         chief's job.

17                                    EXAMINATION

18         BY MS. MOTLEY:

19    Q    Did any Wauwatosa police officers apply for the chief's

20         job?

21    A    I don't believe so, nobody wants it.

22    Q    Tough job.

23    A    It can be.

24                                    EXAMINATION

25         BY MR. SCHWAB:



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 1    Q    So I reviewed a bunch of arrest reports, have you had a

 2         chance to review them?

 3    A    Here and there, I don't read a lot of arrest reports.

 4    Q    Even related to this lawsuit that you're a party to?

 5    A    I read the one report -- (inaudible).

 6    Q    I noticed in almost every single one when people are

 7         arrested they're taken to the ground, what does that

 8         mean?

 9    A    They're not always taken to the ground.

10    Q    Okay.    But what is the purpose of taking someone to the

11         ground?

12    A    Get control of them so they can't resist anymore.

13    Q    So they must be resisting first?

14    A    Usually.

15    Q    What about just directing someone on the ground?

16    A    There's been a circumstance, if the officer believes it

17         is more safe to have better control over what is going

18         to happen, they may direct him to the ground.

19    Q    Is it ever uncalled for or inappropriate to take -- to

20         either take or direct someone to the ground?

21    A    I'm sure there's instances that it's uncalled for.

22    Q    If you saw your officer witness someone jaywalking, and

23         he ran up and said, "get on the ground," would you think

24         that was excessive?

25    A    Probably.



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 1    Q    Okay.    Do you believe that just the simple act of

 2         violating a curfew order is sufficient grounds for

 3         directing someone to the ground?

 4    A    Just violating the order, no.

 5    Q    Okay.    Why do police officers break car windows?         Why

 6         did they do so during these protests?

 7    A    Can you be more specific?       I don't know about them

 8         breaking car windows.

 9    Q    Is it okay -- I don't know.       I mean, have you gotten

10         complaints about broken car windows?

11    A    I have not.

12    Q    If I were to tell you that multiple vehicles' windows

13         were broken, would that concern you?

14    A    Are you saying the police officers broke them?

15    Q    Yes.

16    A    If I had reports, then I would certainly do an

17         investigation as to why they were broken.

18    Q    If I were to tell you that I know someone -- no, I

19         actually don't.     If I were to tell you that a police

20         officer threw his flashlight through someone's window,

21         would that concern you?

22    A    I would want to know the circumstances, absolutely.

23    Q    Especially if he didn't arrest them afterwards?

24    A    Yes.

25    Q    Is it acceptable to break someone's window, and then let



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 1         them drive through, and then tell them to leave?

 2    A    It would certainly not be something that I would

 3         condone.

 4    Q    How about stop sticks, what are those used for?

 5    A    Deflexion devices to stop somebody from driving

 6         recklessly.

 7    Q    Can you use them to stop a protest?

 8    A    Depending on the circumstance and what has transpired at

 9         the time, yes.

10    Q    Someone is driving five miles an hour with a group

11         protesting on the road, is it appropriate to destroy

12         someone's tires?

13    A    Had they been given a warning to move off the road or

14         whatever, those are judgment calls.         We used stop sticks

15         back in May when we had the drivers driving so quickly

16         down the roads.     And we probably used stop sticks on 100

17         vehicles in that period of time, and that was

18         appropriate because they were driving so recklessly.             It

19         depends on the circumstance.

20    Q    If they weren't given a warning, would it be

21         appropriate?

22    A    You know, every police officer conducts themselves a

23         certain way.     I myself would give a warning, get the car

24         off the road or I'm going to do something.          If the car

25         is only driving five miles an hour, as you said, it is



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 1         pretty easy to avoid a stop stick driving five miles an

 2         hour.

 3    Q    Sure, some officers put knees people's necks, we're

 4         trying to understand what is appropriate conduct for

 5         your officers.

 6    A    An officer put his knee on somebody's neck.

 7    Q    He's not the only one that has ever done that.           Have you

 8         ever put your knee on someone's neck?

 9    A    I never have.

10    Q    Have you ever put your knee on someone's back?

11    A    No.

12    Q    Do you know if any of your officers ever put their knees

13         on people's necks?

14    A    They should not do that.

15    Q    You saw the Chauvin video, did you call a meeting to

16         demand no officer ever do that?

17    A    We put out to our people that we are not doing those

18         kinds of procedures.      It's never been brought to my

19         attention that our officers ever did that before, and we

20         do not do that.

21    Q    What about utilizing choke-holds?

22    A    Never have.

23    Q    Do you have a ban on choke-holds?

24    A    We do.

25                                   EXAMINATION



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 1   BY MS. MOTLEY:

 2    Q    With regards to September 20th, did Mayor McBride tell

 3         you about any credible threats?

 4                     MS. BAYNARD:     September 20th?

 5         BY MS. MOTLEY:

 6    Q    I'm sorry, September 30th, thank you.

 7    A    Not that I'm aware of.

 8    Q    Did you receive -- and you didn't have any reports of

 9         any written credible threats, correct?

10    A    Just the stuff we hear on social media that I talked

11         earlier, the things that I saw and heard, yeah.

12    Q    What did you hear?

13    A    Well, you know, the talk, and burn down the mall, shut

14         is down.

15    Q    Do you know what dates those were?

16    A    I don't.

17    Q    They could have been any time?

18    A    Right.

19    Q    Certainly if -- well, let me strike that.          What is a

20         credible threat?

21    A    I think a credible threat would be some sort of

22         statement that they're going to do something that would

23         be unlawful and could be -- and could cause harm to

24         somebody, damage to property, or something that would be

25         disruptive to a business.



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 1    Q    So if someone just put something on Facebook and says,

 2         "we should burn Mayfair down," just a Facebook post, a

 3         random person, that is the definition in your eyes of a

 4         credible threat that would warrant a curfew?

 5    A    No, I would want to see who made that threat.           Is it a

 6         person that we know that maybe has got some sort of

 7         problem, you know, mental problem, and is not really --

 8         maybe it is somebody who has just got an alcohol

 9         problem, for example, and they're not really going to do

10         anything, then that would not considered a credible

11         threat.    If we know there's somebody that has got a

12         history of violence or whatever and has made those

13         statements, then we would take it a little more

14         seriously.

15    Q    It terms of those credible threats that you take

16         seriously, you would certainly go and investigate it and

17         perhaps talk to the person, right, or instruct your

18         officers to do that because you wouldn't want anyone in

19         the community to get hurt?

20                      MS. BAYNARD:    Objection, compound.     Go ahead.

21                      THE WITNESS:    I think that if something like

22         that happened the investigators would follow up on that,

23         I don't have to tell them, here is what you need to do.

24         If you have got a credible threat or what is deemed to

25         be a credible threat, then the civilian analyst would



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 1         say to the lieutenant, "here is what I've got," and the

 2         lieutenant would say, "I want you, you, you to go

 3         investigate this situation and find out."

 4         BY MS. MOTLEY:

 5    Q    As far as you know, no one was investigating any

 6         credible threats on September 30th of last year within

 7         the Wauwatosa Police Department?

 8    A    If they were or they were not, that wouldn't something

 9         they would tell me.

10    Q    That is something that would end up in a report,

11         correct, investigating?

12    A    If nothing came of it, probably not.

13    Q    Okay.    But based on the emergency proclamation, it

14         wasn't -- that was made because of the Alvin Cole

15         decision that was going to come down from the DA's

16         office and also based on what happened in Kenosha and

17         Minneapolis and Portland, correct?

18    A    Yes.

19    Q    Do you know, when did the DA make his decision, not to

20         the public, but when did you know about the DA's

21         decision?

22    A    I knew about eight days before, I think that was

23         September 29th, I had a meeting at the district

24         attorney's office.

25    Q    And who determines with the Wauwatosa Police Department



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 1         which businesses should know about the emergency

 2         proclamation and which businesses should not know?

 3    A    I don't know if any businesses were told.

 4    Q    Okay.    There were some businesses that boarded up prior

 5         to, how did --

 6    A    Yes.

 7    Q    And you've heard reports there were Wauwatosa police

 8         officers that were telling businesses to board up, do

 9         you know which officers were doing that?

10    A    I don't.

11    Q    Do you know which businesses, like, who told them to

12         tell the businesses to board up?

13    A    I don't know that.

14    Q    Should they have been doing that?

15    A    I think if they wanted to, I'm just speculating, if they

16         wanted to tell somebody, here is what might happen, or

17         here is what happened in Kenosha, you might want to

18         consider this.     Maybe if you're a friend of the

19         businesses owner, and say, here is what I would do, if

20         somebody asked opinions.

21                     MS. BAYNARD:     Can we take a break?

22                     MS. MOTLEY:    It's 3:10 now.

23                         (A recess was taken.)

24                     MS. MOTLEY:    It's now 3:21.

25   BY MS. MOTLEY:



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 1    Q    Before September 30th, 2020, you've already testified

 2         that the mayor didn't talk to you about any credible

 3         threats, correct?

 4    A    He didn't talk to me about any.

 5    Q    Did Alan Kesner talk to you about any credible threats?

 6    A    No.

 7    Q    Did anyone at the fire and police commission talk to you

 8         about any credible threats?

 9    A    No.

10    Q    Anyone at the common council?

11    A    No.

12    Q    Did you authorize people to be strip-searched?

13    A    No.

14    Q    Why were people strip-searched?

15    A    I am not aware that any were.

16    Q    Okay.    But you were in charge of the operations?

17    A    Not that operation.

18    Q    Not unlawful -- if someone was strip-searched, would you

19         determine that to be unlawful?

20    A    There's a very limited scope on how you can do that

21         according to state statute.       I am not aware of anybody

22         being strip-searched.

23    Q    Did you talk to any other heads of law enforcement

24         before the October curfew?

25    A    Probably.



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 1    Q    Do you know who?

 2    A    I think other police chiefs.

 3    Q    Which names?

 4    A    I think Pat Mitchell from West Allis, Ken Touchouse

 5         (Phonetic) from Brookfield who has since retired, those

 6         would be the two main ones because they're our

 7         neighbors.

 8    Q    What about Waukesha County Sheriff, did you talk to him?

 9    A    Prior to this operation, in summertime I did.

10    Q    What did you talk to him about?

11    A    I thanked him for the assistance that they'd given us

12         when we asked for mutual aid.

13    Q    That was before the October curfew that you talked to

14         him?

15    A    Yes, I think so.

16    Q    Did you talk to him after the October curfew?

17    A    Probably.

18    Q    Why were they strip-searching people at the Waukesha

19         County Jail?

20    A    I'm not aware of anybody being strip-searched in the

21         Waukesha County Jail, that would not be anything I would

22         know about.

23    Q    Who was the person that gave you permission to use

24         Mayfair Mall as, you know, a holding area, what's the

25         name of that person?



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 1    A    We have a holding area there already, so we don't need

 2         any additional authorization.

 3    Q    And you can use that 24/7?

 4    A    Yes.

 5    Q    Even though it's a private property?

 6    A    Yes.

 7    Q    Do you have a mutual aid agreement?

 8    A    We have a contractual agreement with them and have an

 9         office there.

10    Q    Is that something the city pays for, that space?

11    A    No, Mayfair gives us that space.

12    Q    How long have you had that space?

13    A    At least 15 years.

14    Q    And who was the contact person for the National Guard

15         for this operation in October?

16    A    From the National Guard, we talked to General Knapp

17         (Phonetic).

18    Q    How many National Guard members were here?

19    A    I think around 500.

20    Q    How many FBI agents were here?

21    A    I don't know.

22    Q    Why were FBI agents sent from Portland to Wauwatosa?

23    A    I have no idea where they bring their people from.

24    Q    What about the U.S. Marshals, why were they here?

25    A    Again, we have mutual aid with a lot of agencies and we



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 1         participate with them, so I don't know.

 2    Q    Do you know how many people the U.S. Marshals arrested?

 3    A    I don't.

 4    Q    Okay.    Why were people dropped off at random places in

 5         the City of Milwaukee after they were arrested?

 6    A    I don't know where they were dropped off after they were

 7         transported out of our city to wherever they were booked

 8         or given their tickets or whatever happened, then they

 9         were released, and I don't know where those places were.

10    Q    Whose idea was it to force people back to Wauwatosa cars

11         to drop them off at random places in the City of

12         Milwaukee?

13    A    I don't know.

14    Q    Would Captain Vetter have been in charge of that?

15    A    I am not sure.

16    Q    Whose idea was it that people could just walk out of the

17         police station after they were arrested the week of

18         October?

19    A    I don't understand what you mean by "whose idea."

20    Q    Well, people were arrested and then sent to the

21         Wauwatosa Police Department, people who wanted to walk

22         home were told that they had to get into Wauwatosa

23         police cars -- they had no choice but to get back into

24         Wauwatosa police cars and then dropped off randomly in

25         different parts of the City of Milwaukee, whose idea was



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 1         it to do that?

 2                     MS. BAYNARD:     Objection to the question,

 3         compound.

 4                     THE WITNESS:     I don't know whose idea it was.

 5         BY MS. MOTLEY:

 6    Q    Is that normal procedure of the Wauwatosa Police

 7         Department?

 8    A    Never been before.

 9    Q    Is it normal for the Wauwatosa Police Department to

10         arrest people for speeding?

11    A    Yes.

12    Q    How many people do you arrest for speeding per year

13         would you say, just for a speeding ticket, not drinking,

14         just for a speeding ticket?       What I mean "arrest," I

15         mean not just detained, but bringing to the Wauwatosa

16         Police Department?

17    A    Actually transporting them to the station for speeding?

18    Q    Yes.

19    A    Not unless there was some other warrant for something,

20         if it was just speeding, you would be issued a ticket on

21         the street and released.

22    Q    How many people are arrested just for jaywalking, not a

23         warrant, that are brought to the police station solely

24         based on that municipal citation per year?

25    A    For jaywalking, I don't think I have ever seen a



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 1         jaywalking ticket.

 2    Q    How many people -- so it's not common procedure for

 3         people to be arrested for ordinance violations alone and

 4         to be brought before the Wauwatosa Police Department?

 5    A    No, there is a lot of people that are arrested for

 6         ordinance violations.

 7    Q    And they're brought and they are booked?

 8    A    Depending on what the violation is.

 9    Q    What are the violations that people are brought to the

10         Wauwatosa Police Department and booked?

11    A    It could be disorderly conduct, retail theft, which are

12         significant because of the mall and so on, and the

13         retail businesses, there is a lot of retail theft.

14    Q    Let me ask you a better question.        How many people were

15         arrested -- how many people were arrested and ticketed

16         for the May 31st through June 2nd curfew?

17    A    I don't know how many.

18    Q    Okay.    Were you trying to stop the protest?

19    A    Which protest?

20    Q    Of October.

21    A    When you say, "trying to stop the protest," we had the

22         curfew in effect, so we were trying to enforce the law

23         there.

24    Q    Were you trying to have the protests end in the October

25         curfew?



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 1    A    I was trying to avoid acts of violence in our city.

 2    Q    Okay.    Do you recall -- I mean, people were

 3         protesting --

 4                                    EXAMINATION

 5         BY MR. SCHWAB:

 6    Q    Have there been other protests in the past year aside

 7         from protests of police brutality in Wauwatosa?

 8    A    Probably.

 9    Q    Are you familiar with a protest or gathering at Mayfair

10         Mall by Trump supporters?

11    A    What month are you referring to?

12                     MS. MOTLEY:    November 21st, 2020.

13                     THE WITNESS:     Yes.

14         BY MR. SCHWAB:

15    Q    And were any of those protesters arrested?

16    A    I don't believe so.

17    Q    Were any of them carrying guns?

18    A    I heard they were.

19                                    EXAMINATION

20         BY MS. MOTLEY:

21    Q    Why weren't they arrested, they were stopping traffic?

22    A    Just having a gun is not illegal.

23                                    EXAMINATION

24         BY MR. SCHWAB:

25    Q    Did any of them stop traffic?



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 1    A    I heard that.

 2    Q    Were you aware of this protest before it happened?

 3    A    I think a couple days before I knew about it.

 4    Q    Are you familiar -- why was a curfew not called that

 5         day?

 6    A    It was a Saturday morning, I believe, so there's no need

 7         to have a curfew.

 8    Q    Are you familiar with pro-Trump malitia members killing

 9         citizens in Kenosha this year?

10    A    I am not.

11    Q    You're not?

12    A    I am not.

13                                    EXAMINATION

14   BY MS. MOTLEY:

15    Q    Do you watch the news?

16    A    I do.

17                                    EXAMINATION

18   BY MR. SCHWAB:

19    Q    And Kenosha was a real key part of the basis for this?

20    A    Yes.

21    Q    And you're not aware that a 17-year-old took an AR-15

22         and killed two people?

23    A    I didn't say I wasn't aware of that.

24    Q    What did you say?

25    A    I said I am not aware -- you asked me if it was he was a



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 1         pro-Trump malitia, I don't know if he was a pro-Trump

 2         malitia person.

 3    Q    Are you aware of any violence at Trump rallies?

 4    A    At trump rallies?

 5    Q    Yes.

 6    A    Probably.

 7    Q    Do your police treat conservatives differently than they

 8         treat liberals?

 9    A    I don't think so.

10    Q    Did they treat pro-Trump protesters differently than

11         they treated antipolice protesters?

12    A    No.

13    Q    No?

14    A    No.

15                                    EXAMINATION

16         BY MS. MOTLEY:

17    Q    For the October 20th curfew, how many -- you didn't

18         recover any guns from any protestors, correct?

19    A    I don't know if we did or didn't.

20    Q    But that would have been reported to you, right?

21    A    Correct.

22    Q    You don't recall receiving a report of any guns that the

23         protestors had?

24    A    If I had the report in front of me I could tell you, but

25         I don't, so I don't remember.



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 1    Q    For the October 2020 curfew, did you arrest any white

 2         supremacist or pro-Trump people that were armed for that

 3         that were also out there during the protest?

 4    A    For which date?

 5    Q    The October 20th curfew?

 6    A    I am not aware.

 7    Q    Are you aware that there were -- I hate to use the word.

 8                     MR. SCHWAB:    Malitia.

 9                     MS. MOTLEY:    I mean, I don't know that.

10                     MS. BAYNARD:     Counter-protesters.

11   BY MS. MOTLEY:

12    Q    Are you aware that there were counter-protesters out on

13         October 20th in Wauwatosa?

14    A    I had heard that.

15    Q    Were any of them arrested on that week?

16    A    I don't know.

17    Q    Were any of them -- okay, that's information that you

18         would presumably get?

19    A    I don't distinguish -- now, I don't know if this person

20         was a counter-protester or a protester, I don't discern

21         between them.

22    Q    Did the Wauwatosa Police Department survey

23         counter-protestors as they do TPR protestors?

24    A    I don't know who what you mean by "survey."

25                     MR. SCHWAB:    Surveil.



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 1                     THE WITNESS:     Surveil?

 2                     MS. MOTLEY:    Yes.

 3         BY MS. MOTLEY:

 4    Q    Does the Wauwatosa Police Department surveil

 5         counter-protestors as they do protestors with The

 6         People's Revolution?

 7    A    Not to my knowledge.

 8                                    EXAMINATION

 9         BY MR. SCHWAB:

10    Q    You said earlier that it was a violation of the curfew

11         to simply be outside protesting, is that correct?

12    A    Yes.

13    Q    And you just said that there were also

14         counter-protestors around, is that correct?

15    A    I didn't say that.

16    Q    You've heard that there were?

17    A    Ms. Motley said there were counter-protesters, and I

18         said that probably that's true.

19    Q    Okay.    And are you familiar with the concept of

20         selective enforcement?

21    A    Yes.

22    Q    If it turned out that your police officers were, let's

23         say, throwing water bottles to those that were out there

24         to support police while arresting people that were out

25         there to protest police, would that be a violation of



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 1         the constitution?

 2    A    If they were --

 3    Q    If they were thanking those that supported them and

 4         arresting those that oppose them on the same night

 5         during the curfew --

 6    A    And the question is.

 7    Q    Would that be wrong?

 8    A    It would certainly give the appearance of not being

 9         uniformly impartial.

10    Q    Does the Wauwatosa Police Department surveil people?

11    A    Yes.

12    Q    Tell me about that.

13    A    Okay.    There's a number of reasons why we would surveil

14         somebody.    We have an epidemic of car threats, for

15         example, in our city right now.        So if we know that

16         there is a group of car thefts or people that are

17         associated with car thefts operating in our city, we

18         will probably try to find out where they're at, where

19         their locations are.      If we know there is a group of

20         burglars, you know, there is a group of people who were

21         -- somebody who is selling drugs, or a sexual offender

22         who is hanging out by schools, there's many, many

23         reasons why.

24    Q    So in that sense, would that be sitting in a police car,

25         or maybe not a police car, maybe in a non-marked vehicle



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 1         watching?

 2    A    That could be part of it.

 3    Q    Does the Wauwatosa Police Department electronically

 4         surveil people?

 5    A    Probably.

 6    Q    Probably?

 7    A    Probably.

 8    Q    Do you record or monitor social media accounts?

 9    A    I do not.

10    Q    Does the Wauwatosa Police Department monitor social

11         media accounts?

12    A    I don't know if they monitor as much as check them or

13         whatever, as far as "monitor," I don't know what you

14         mean.

15    Q    Why would they check someone's social media account?

16    A    Because for whatever reason people seem to always want

17         to talk about their exploits, so if there's a burglar or

18         whatever, or somebody who is selling drugs, they like to

19         flash their money, and they like to kind of show how

20         successful they are.      They put that stuff out there,

21         we'll probably find that.

22                                    EXAMINATION

23         BY MS. MOTLEY:

24    Q    Whose idea was it to survey people that are protesting?

25    A    I don't know who would do that.



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 1    Q    How long has the Wauwatosa Police Department been

 2         surveying protesters?

 3    A    Well, if you're saying that they are, I'm assuming that

 4         they might do it, but I don't know.

 5                                    EXAMINATION

 6   BY MR. SCHWAB:

 7    Q    Do you know if Wauwatosa Police Department surveils

 8         David Bowen (Phonetic)?

 9    A    I don't know that.

10    Q    Do you know if the Wauwatosa Police Department has a

11         file investigating David Bowen?

12    A    I don't know if they have a file on him.

13    Q    Do you, and does the Wauwatosa Police Department have a

14         file on Tracy Cole?

15    A    I don't know if they do.

16    Q    Do you know if the Wauwatosa Police Department surveils

17         Tracy Cole?

18    A    I don't think so.

19    Q    Do you know if Wauwatosa Police Department surveils any

20         of the Cole family?

21    A    I don't think they do.

22    Q    Sit outside their door, sit outside their home?

23    A    No.

24    Q    Monitor their social media accounts?

25    A    They might look at their social media accounts, whether



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 1         they do or don't, I don't know.

 2    Q    Would it be proper to monitor social media accounts of

 3         those that express antipolice opinions?

 4    A    I don't think we care if people are antipolice as much

 5         as we would care if they are prone to violence or commit

 6         violent acts, then we would be more interested.

 7                                    EXAMINATION

 8         BY MS. MOTLEY:

 9    Q    What does that mean, if a person is prone to violence?

10    A    That they have a history of committing violent acts, or

11         maybe they have a past arrest record for assaults or

12         violent acts like that, if they're posting things, I

13         think we would be more interested in that, if they were

14         threatening somebody or threatening police officers.

15    Q    You have no information that anyone within the Cole

16         family is prone to violence, correct?

17    A    No, that's not true.

18    Q    Who is prone to violence in the Cole family?

19    A    Alvin Cole was prone to violence.

20    Q    (Inaudible).

21                     THE COURT REPORTER:      One at a time.

22                     MR. SCHWAB:    He's --

23         BY MS. MOTLEY:

24    Q    People that are alive, I mean, it's pretty obvious we're

25         talking about people that are alive?



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 1    A    But Alvin Cole is deceased, but he was prone to

 2         violence.

 3    Q    Is that why he was shot, because he was prone to

 4         violence?

 5    A    Alvin Cole was shot because he had a firearm and fired

 6         it at a police officer.

 7    Q    Who told you that?

 8    A    You can see the video.

 9    Q    Who told you that?

10    A    I watched the video.

11    Q    Did you talk to Mensah about the Alvin Cole shooting?

12    A    Eventually I did.

13    Q    What did Mensah tell you?

14    A    He told me exactly what is in the police reports.

15    Q    What is that?

16    A    Alvin Cole was running from the police officers near the

17         -- the Cheesecake Factory, Alvin Cole was told to put

18         down his weapon, you could hear on the video, "put it

19         down -- "

20    Q    No, what did Mensah tell you?        That's the question.

21    A    He told me what he saw, and he saw the gun still in his

22         hand, and the shot went off, that is when he fired his

23         weapon.

24    Q    Mensah said he saw the gun?

25    A    He did.



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 1    Q    And Mensah also said that he saw the gun when the shot

 2         went off?

 3    A    I couldn't remember if he said that, he said he saw the

 4         gun in Alvin's hand.

 5    Q    In terms of, again, the question was:         Is there anyone

 6         in the Cole family that is prone to violence?

 7    A    That I don't know.

 8    Q    Is anyone in the Cole -- is any of the social media

 9         accounts in the Cole family being surveyed?

10                     MS. BAYNARD:     Asked and answered, go ahead.

11                     THE WITNESS:     Not to my knowledge, no, they're

12         not.

13         BY MS. MOTLEY:

14    Q    Does the Wauwatosa Police Department have a policy for

15         surveying people?

16                     MS. BAYNARD:     Surveilling.

17                     THE WITNESS:     I don't know if we do or not.

18         BY MS. MOTLEY:

19    Q    But you would know because you're the chief policy

20         maker, correct?

21    A    You know, there's so many policies.         As I said at the

22         beginning of this, there is probably 100 or more.           If

23         there is policy on surveillance, that is probably

24         something the detective wrote and authored, sure, I am

25         surveilling people.      I don't pay attention to that.



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 1    Q    Even though someone else may have authored the policy,

 2         you're the one that signs off on it?

 3    A    Ultimately, yes.

 4    Q    So there's just so many policies that you can't remember

 5         all the policies?

 6    A    That's right.

 7    Q    Do you know of anyone that is being surveyed by the

 8         Wauwatosa Police Department that is part of protesting?

 9    A    I have no personal knowledge of that.

10    Q    Who would have had personal knowledge of that within the

11         Wauwatosa Police Department?

12    A    Probably the detective bureau would.

13    Q    Is there a specific person that we would need to talk to

14         about that?

15    A    Lieutenant Wrucke is the one in charge.

16    Q    Has Mayor McBride ever asked the Wauwatosa Police

17         Department to survey anyone?

18    A    I don't think so.

19    Q    And just to be clear, "survey," I mean, you know,

20         sitting outside a person's house with a car, or social

21         media, or by phone.      That is what I mean when I use the

22         word "survey."

23                     MS. BAYNARD:     Surveil.

24         BY MS. MOTLEY:

25    Q    Surveil, sorry.     Do you know if anyone within the fire



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 1         and police commission has asked the Wauwatosa Police

 2         Department to surveil anyone?

 3    A    No, they have not.

 4    Q    What about any common council members, have they asked

 5         that any people be surveilled?

 6    A    No.

 7    Q    The city administrator, has he asked that anyone be

 8         surveilled?

 9    A    No.

10    Q    Alan Kesner, has he asked that anyone be surveilled?

11    A    He has not.

12                                    EXAMINATION

13         BY MR. SCHWAB:

14    Q    Does Wauwatosa Police Department keep a list of known

15         protesters?

16    A    I don't know if they do or they don't.

17    Q    What would be the purpose of doing so if they did?

18    A    I think if we kept a list, it would be so if we have

19         further contact with them, or we could recognize who

20         they are, if they have a list or pictures or whatever,

21         people that we've arrested we have pictures of, so that

22         would be helpful so people can identify who we're

23         dealing with.

24    Q    Do you normally keep a list of political associations of

25         people?



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 1    A    Political associations?

 2                     THE COURT REPORTER:      I am sorry, I missed

 3         that.

 4                     THE WITNESS:     I was just asking -- no, we

 5         don't keep an essential list.

 6         BY MR. SCHWAB:

 7    Q    In people's files do you put a political party?

 8    A    No.

 9    Q    If they are a member of the chamber of commerce?

10    A    No.

11    Q    Do you know if the Wauwatosa police keep a list of the

12         members of The People's Revolution?

13                     MS. BAYNARD:     Objection, asked and answered.

14         Go ahead.

15                     MR. SCHWAB:    I asked about protesters.

16                     MS. BAYNARD:     I am pretty sure you covered The

17         People's Revolution.

18                     THE WITNESS:     I don't know if they would or

19         they don't, if they do or they don't.

20                                    EXAMINATION

21         BY MS. MOTLEY:

22    Q    Do you know who are members of The People's Revolution?

23    A    I know some.

24    Q    Like who?

25    A    I have heard the names of the people you mentioned



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 1         before.

 2    Q    Could you please repeat that for the record?

 3    A    I have heard the name Frank Nitty, Vaun Mays, Cleo

 4         Coleman (Phonetic), Brian Anderson, there's a couple

 5         others that if I heard the names I would recognize them.

 6         Every one of those people I just named I wouldn't

 7         recognize them if I fill saw them. I have seen their

 8         pictures before, and when they've showed up at different

 9         places or at city hall, they said, that was so-and-so,

10         really, I see them so infrequently I just don't know who

11         they are.     I just know them by name.

12    Q    So you've never directed any officers to develop a list

13         of the members of TPR?

14    A    No.

15    Q    And you've never directed any of your officers to

16         develop a list of known protesters?

17    A    I never have.

18    Q    Okay.    Does the Wauwatosa Police Department utilize any

19         facial recognition software?

20    A    I don't think so.

21    Q    Have you ever heard of Clear View AI?

22    A    I have not.

23    Q    Okay.    What do you think of The People's Revolution?

24    A    My personal opinion?

25    Q    Uh-huh.



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 1    A    I think in this country, and I worry about this country,

 2         that people who call themselves "the revolution."           I

 3         find that disappointing because I would like to think

 4         we're all one nation, and I truly believe in the oath

 5         that we take.     So I'm disappointed in that.

 6                      But having said that, I know many people who

 7         protest for whatever reason.        I understand that, and I

 8         don't care.     If they want to say, "this is what I do and

 9         I'm against police," fine, you have a right to do that.

10         We protect those rights as much as we do people who are

11         supportive.

12                      It's interesting in our country, you know it

13         was several years ago we had the officers in Dallas that

14         were killed, and at the same time those officers were

15         trying to protect the people that were being assaulted

16         by others.     You know, it seems like when people say,

17         "defund the police," I've got to tell you when that was

18         going around over the last year, I was almost -- I

19         seriously thought about telling our city, defund the

20         police, do it.     Let's give people what they want.        If

21         people really think that's the answer, then do it.              I

22         thought, no, that's probably not the right thing.

23                      I think at some point people are realizing

24         that the lack of law enforcement is -- is going to be

25         very problematic for our country.        We all recognize the



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 1         right to protest.      It's been that way my whole career.

 2         We always recognize that.       It's disappointing when it

 3         happens, and what is hurtful is because of what happened

 4         in Minneapolis, prior to that Wauwatosa had a stellar

 5         reputation with its police department, and we were the

 6         department that many other departments turned to for

 7         guidance.    We still, when we want to hire people, people

 8         want to come to Wauwatosa because this is where you

 9         learn how to be a police officer and how you do things,

10         and there's a lot going on.       We are still,

11         word-of-mouth, we're able to hire people because of

12         that.

13                     So, you know, after 9/11/2001 when the Twin

14         Towers went down, all of a sudden there were so many

15         people that wanted to be police officers and

16         firefighters, you couldn't hire people fast enough, now

17         it is the other way around.       As I've told people, you

18         know, in my career, it's going to come back the other

19         way.    It has to.    I mean, people are realizing already

20         that the country is not going to be a good way if law

21         enforcement doesn't do what their job is.

22                     We're seeing police officers across the

23         country, they are leaving in droves.         The first time

24         they are eligible to leave, they are leaving because

25         they are saying, I don't want to do this anymore.           As I



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 1         said earlier, as long as police officers act reasonably

 2         and in good faith, they will be fine.         I still believe

 3         that, but at the same time I'm concerned about that too.

 4         What happens in Chicago tonight affects how it is going

 5         to happen in Wauwatosa tomorrow.         If a cop in California

 6         does something tonight that he shouldn't do, it could

 7         affect our operation here.

 8                      MR. SCHWAB:   Okay.

 9                                    EXAMINATION

10         BY MS. KNOWLTON:

11    Q    You referenced that you reviewed an arrest record before

12         you came, was that mine?

13    A    That's it.

14    Q    That is the only record?

15    A    That's it.

16    Q    Do you think that I'm antipolice?

17    A    No.

18    Q    Why not?

19    A    I think you're -- my opinion?

20    Q    Yeah.

21    A    I think you were just choosing to be difficult that day

22         or night because the officers asked you on more than one

23         occasion, just leave and comply with this.          And you

24         said, no, or you refused to do that.         And I thought

25         maybe you just wanted to make a statement here, but



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 1         what's the point of that?       That was your decision.         I

 2         don't think you're antipolice, and I hope that you're

 3         not antipolice seeing that you're here in Wauwatosa, but

 4         I don't know what the circumstance was for you that

 5         night, and I don't know what you were thinking about.

 6                      That's not my -- that is not my area of

 7         concern.    The fact is we respond to behavior, not what

 8         your intention was, but your behavior was, I am not

 9         leaving.    You've got to leave because we have the curfew

10         in effect.     So we give people more than one chance, and

11         you chose not to.      So that is why we're here.

12    Q    Would it surprise you to know that even in the audio

13         tape that we have that I was asking about how I could go

14         home to the line of police officers?

15    A    I didn't see what the audio was, I would like to see

16         what that said.     I did not get that.

17    Q    I just want to say on the record, I appreciate that you

18         don't assume I'm antipolice.        I certainly, for the

19         record, am not.     And I appreciate that police officers

20         have to put their lives on the line every single day.

21         They choose to do that, that is a voluntary, noble

22         choice, so it's an extremely unfortunate, sad situation.

23         I appreciate that assumption.

24                                   EXAMINATION

25         BY MR. SCHWAB:



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 1    Q    Is it okay to ignore a police order when it is

 2         unconstitutional?

 3    A    It is not.

 4    Q    No?

 5    A    It is not.

 6    Q    What is a high value target?

 7    A    I didn't use that term myself, never have.          I saw that,

 8         and I would think it would be somebody that is a person

 9         of interest for whatever their behavior was.

10    Q    Am I a high value target?

11    A    I hope not.

12    Q    For the Wauwatosa Police Department?

13    A    No.

14    Q    Do you know if Kim is a high value target in one of your

15         e-mails?

16    A    One of my e-mails?

17    Q    One of our e-mails of one of your officers in the

18         Wauwatosa Police Department?

19    A    I think Ms. Motley is an attorney, and I would like to

20         think that, you know, as being an officer of the court

21         that she's doing what she's supposed to be doing, and

22         that we all operate under certain guidelines --

23         (inaudible) -- I can imagine.

24    Q    The mayor is?

25    A    No he's not.



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 1    Q    The mayor was?

 2    A    Never was.

 3    Q    Then why was his name put as a high value target in an

 4         e-mail within your department?

 5    A    I can explain that.

 6    Q    Sure.

 7    A    Detective Lewandowski (Phonetic), who was -- had

 8         investigated the shooting at Mensah's house that night

 9         in August, which by the way I guess you would look at

10         that as, the shooting at Mensah's house is one of those

11         credible threats that you asked about, so we knew there

12         was violence directed towards Mensah.

13                      MS. BAYNARD:    Do you have a copy of this?

14                      THE WITNESS:    So what had happened was

15         Lewandowski is writing, he is putting together a

16         PowerPoint presentation to be presented to his

17         supervisors, myself, the captains, about what is going

18         on in our city, as a joke, internal, whatever, he puts

19         this thing out.     His sergeant or lieutenant who looks at

20         this thing, they would say, "that's ridiculous, get it

21         out of here.     Erase it," which he does immediately.

22                      Nobody else saw it.     I didn't see it.     No

23         members of the department saw it other than the

24         supervisors and Lewandowski.        Isaiah Holmes, who writes

25         a blog for some news thing, online news, requested open



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 1         records.    So this is like a fingerprint on an open

 2         records.    It just goes out there with the computer, and

 3         so he sees this and he brings it to the attention of the

 4         mayor.     The mayor is all upset and contacts me about it.

 5         He says, "what is this all about?"         I say, I don't know

 6         what you're talking about.

 7                      So I get the story.     The mayor is upset by

 8         this.    So I said, "mayor, you have to take that into

 9         context," and Mensah -- or, Lewandowski had investigated

10         the incident of the shooting at Mensah's house that

11         night.     And he had also tried to contact David Bowen

12         because Bowen was at that house that night, and nothing

13         was done with it.      So I think he was frustrated, so he

14         kind of puts this thing out there.

15         BY MR. SCHWAB:

16    Q    So I am sorry, was it a joke, or was he frustrated?

17    A    Probably frustrated, I would think.

18    Q    He was doing this in his official capacity, right?

19    A    While he was working, yeah.

20    Q    The statements of police officers matter, they mean

21         something, right?

22    A    Yes.

23    Q    When an officer gives me a command, I'm not -- I don't

24         have the -- (inaudible) -- to say, I bet he's just

25         joking, right?



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 1    A    Correct.

 2    Q    Did Mayor McBride sanction violence against Officer

 3         Mensah?

 4    A    Not to my knowledge, no.

 5    Q    Why did Officer Lewandowski write this?

 6                     MS. BAYNARD:     Objection, calls for

 7         speculation.     Go ahead, if you can.

 8                     THE WITNESS:     I think Lewandowski was

 9         frustrated with the situation he was dealing with, and

10         the mayor's position on some things, you know, as I

11         pointed out earlier, that the union has taken an adverse

12         opinion or position to the mayor, so I think he was

13         frustrated with that, and that is why he wrote it.

14         BY MR. SCHWAB:

15    Q    Are other officers frustrated with the mayor?

16    A    Well -- (inaudible) -- from the union as you pointed out

17         earlier, so I imagine they are.

18    Q    So officer Lewandowski allowed his frustration with the

19         mayor to impact his work?

20    A    I don't think so.

21    Q    He allowed it to influence his work?

22    A    No.

23    Q    No?

24    A    No.

25    Q    This was just a big ha ha?



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 1    A    Yeah.

 2    Q    Tell me about these other jokes that he's written?

 3    A    I am not familiar with any.       He wrote this one, and they

 4         said, knock it off, and he did.        He erased it

 5         immediately.

 6                                    EXAMINATION

 7         BY MS. MOTLEY:

 8    Q    What about any other jokes that he said?

 9    A    Not that I'm aware of.

10                                    EXAMINATION

11         BY MR. SCHWAB:

12    Q    Is David Bowen a high value targeted joke as well?

13    A    I never listed him as one, so I don't know.

14                          (Discussion had off record.)

15   BY MR. SCHWAB:

16    Q    Chief, are you familiar with this full PowerPoint?

17    A    I am not.

18    Q    Is this the first time you're seeing the entire

19         PowerPoint?

20    A    I think it is.

21    Q    Okay.    Why didn't you demand to see it when you heard

22         about the high value targets?

23    A    I was told about what Lewandowski had put in there, they

24         said he was writing this and putting a presentation

25         together to present to the supervisors on the west side



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 1         of the building, which is captains and myself, and here

 2         is what happened with Lewandowski.         I said, "okay, what

 3         else is going on there?"       And they explained to me, as I

 4         just explained to you, that they deleted that.           I said,

 5         okay.    These other people in here, with the exception of

 6         Khalil Coleman, David Bowen, and Tiffany Henry, who I

 7         haven't met, but I know the name, I don't know any other

 8         names at all.

 9    Q    So is this entire PowerPoint a joke?

10    A    I don't think so.

11    Q    Is naming David Bowen a high value target a joke?

12    A    I think it's informational.

13    Q    Have you ever targeted David Bowen?

14    A    Have I personally?

15    Q    Yes.

16    A    I don't think I targeted him.

17    Q    Okay.    What did you do?

18    A    I sent a letter to the speaker of the house requesting

19         that some disciplinary action be taken against Bowen.

20    Q    Do you often do that against political opponents?

21    A    Never.

22    Q    Do you consider David Bowen to be a political opponent?

23    A    No.

24                                    EXAMINATION

25         BY MS. MOTLEY:



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 1    Q    And you did that on September 1st, correct?

 2    A    Whatever the date is that I sent the letter.          I do not

 3         consider him to be a political opponent.

 4                                   EXAMINATION

 5         BY MR. SCHWAB:

 6    Q    Do you have political opponents?

 7    A    Probably.

 8                                    EXAMINATION

 9         BY MS. MOTLEY:

10    Q    And you --

11                      THE COURT REPORTER:     Wait.   "Whatever the date

12         is I sent the letter.      I do not consider him a political

13         opponent."

14         BY MS. MOTLEY:

15    Q    Let's go through this, and then we'll say, because I

16         want to know which one of these is a joke and which one

17         isn't.    Is naming Khalil Coleman a higher value target

18         on Page 4, Slotted 12, is that a joke?

19    A    I don't think so.

20    Q    Is naming -- Page 5, Slide 13, is naming David Bowen a

21         high value target, is that a joke?

22    A    I don't think so.

23    Q    Page 5, Slide 14, is naming Tiffany Henry a high value

24         target, is that a joke?

25    A    I don't believe it is.



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 1    Q    Slide 15, is naming Dennis McBride a high value target,

 2         is that a joke?

 3    A    I think that one is.

 4    Q    You think it is, but you don't know that?

 5    A    I was told it was, that is why it was deleted.

 6    Q    Did you talk to Detective Lewandowski yourself?

 7    A    I did.

 8    Q    Did he tell you about this entire PowerPoint slide

 9         presentation that he created?

10    A    He did.

11    Q    And what did he tell you?

12    A    He told me that he was preparing the documents for us to

13         view, and he said that he had put the mayor's name in

14         there.    He said it was wrong, I shouldn't have done it,

15         but I deleted it as soon as I was told to do that, and

16         he apologized for it.

17    Q    So he deleted it, and then he sent the PowerPoint

18         presentation slide out again?

19    A    He deleted it once the supervisors told him to delete

20         it.   He deleted it immediately, and no other people in

21         our department had seen the mayor's -- this thing that

22         he did.

23                     MS. BAYNARD:     Just for the record, you picked

24         up what is marked as Exhibit 7?

25                     THE WITNESS:     Yes.



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 1   BY MS. MOTLEY:

 2    Q    And when did he delete the slide?

 3    A    I don't know the date was that he wrote it, but as soon

 4         as he presented it to the supervisors, they said, knock

 5         it off and delete it, and he did.

 6    Q    Coincidentally, this slide was created, or this

 7         PowerPoint presentation was sent September 1st, are you

 8         aware of that?

 9    A    No.

10    Q    September 1st is the also the same date that you sent

11         the letter to the state legislature about David Bowen,

12         isn't it?

13    A    Okay.

14    Q    Is that a coincidence?

15    A    Probably.

16    Q    Do you know, when did they tell him to delete the slide?

17    A    Whenever he submitted it to the supervisors, they told

18         him to.

19    Q    Who told him to delete the slide?

20    A    Lieutenant Wrucke and Sergeant Scornia (Phonetic).

21    Q    And they received this by e-mail, correct?

22    A    I don't know if they got it from e-mail, or if it was

23         shared with them back in the detective bureau, probably

24         an e-mail, and they talked to him right then and there.

25    Q    Did they confirm that he deleted it immediately upon



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 1         their direction?

 2    A    I would assume that he would have been done that because

 3         he would have followed their order.

 4    Q    With regards to this slide involving Dennis McBride, it

 5         mentions that -- is there anything in this slide that

 6         you disagree with?

 7    A    On McBride?

 8    Q    Yes.

 9    A    Yes.

10    Q    What do you disagree with?

11    A    First off, he puts him as an HVT, which I don't agree

12         with.    I don't believe the mayor sanctioned violence

13         against Mensah.     When it says he "continually provides

14         outright lies and misleading information -- "

15                     THE COURT REPORTER:      "He continually provides

16         -- "

17                     MR. SCHWAB:    Outright lies.

18                     THE COURT REPORTER:      Thank you.

19                     THE WITNESS:     I don't believe that is true.

20         And the last line, "no probable cause for involvement in

21         the Mensah shooting," I think that is also

22         inappropriate.

23         BY MS. MOTLEY:

24    Q    But him naming the mayor as privately meeting with

25         Coleman, me, Vishny and Brian Anderson, you agree with



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 1         that?

 2    A    I believe he's talked with Brian Anderson and I believe

 3         he has met with Khalil Coleman.        As far as the

 4         attorneys, I am not sure.

 5    Q    Do you track the meetings that the mayor has with

 6         people?

 7    A    Never.

 8    Q    Why not?

 9    A    It's not my business what the mayor does.

10                                    EXAMINATION

11         BY MR. SCHWAB:

12    Q    So where did this discussion about him -- about the

13         mayor meeting with these people come from?

14    A    You would have to ask Lewandowski because he's the one

15         that put it in there.

16    Q    Does the Wauwatosa Police Department keep notes on who

17         people associate with?

18    A    Not to my knowledge.

19    Q    Okay.    So just to be clear, when you said delete, he

20         doesn't have to delete this final slide, is that

21         correct?

22    A    That is what he was told to do, yes.

23    Q    But the rest of the PowerPoint remained?

24    A    I think it did.

25    Q    Does high value or higher value target, is that found



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 1         anywhere within any of your policies or procedures?

 2    A    It is not.

 3    Q    What makes one a higher value target?

 4    A    That's not a term that I was familiar with until I saw

 5         this.    Common sense would tell me that it seems like it

 6         is somebody, like a person of interest that we are

 7         interested in investigating more, but we've since, after

 8         this, we're using other terms other than HVT.

 9    Q    What terms do you now use?

10    A    You know, I keep forgetting it, Vetter knows what the

11         term is, it is something that the military uses, and I

12         can't remember what it is.

13                                    EXAMINATION

14         BY MS. MOTLEY:

15    Q    Do you think the mayor is chicken shit like Lewandowski?

16    A    I would not use a term like that.

17    Q    What did you do to consequence Lewandowski for calling

18         the mayor chicken shit in October?

19    A    I had a conversation with Lewandowski and told him that

20         he would be disciplined.

21                                    EXAMINATION

22         BY MR. SCHWAB:

23    Q    Was that a joke?

24    A    What?

25    Q    When he called the mayor chicken shit.



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 1    A    I think much like the slide, using an inappropriate

 2         choice of words.

 3                                    EXAMINATION

 4         BY MS. MOTLEY:

 5    Q    Do you think that's appropriate for him to ask a person

 6         of interest in an interrogation if he agrees that the

 7         mayor is chicken shit?

 8    A    I do not think that is an appropriate.

 9    Q    How was he disciplined for that?

10    A    I told him he would be issued a reprimand.

11    Q    A written reprimand?

12    A    Yes.

13    Q    Was he?

14    A    He was not.

15    Q    Why not?

16    A    I changed my mind.

17    Q    Why?

18    A    Because after I did the investigation, and I heard the

19         reasoning and context that he talked about to me, the

20         fact that -- I would look at it differently if

21         Lewandowski had -- first off, I thought the whole

22         department had seen this e-mail, and I was outraged when

23         I thought the whole department got it.         Then he said, no

24         no, no, only the supervisors saw it in the bureau.              I

25         thought, great, all the detectives have seen it.           No,



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 1         no, no, just Scornia and Wrucke saw it, and they told

 2         him to get rid of it.      Wait a minute, you mean to tell

 3         me nobody else saw it?       Just the supervisors, and they

 4         told him get rid of it, right, what's the harm there?

 5         As we said earlier, I was called an accomplice to

 6         murder.

 7    Q    But not by a Wauwatosa police officer, correct?

 8    A    I was, in public I was called an accomplice to murder.

 9    Q    There was a picture of you?

10    A    Right.

11    Q    With the word "accomplice"?

12    A    All summer long I had to listen to me being called a

13         murderer by protestors.       I am just explaining how I am

14         viewing this.     But being a public official, people can

15         say those things.      You, yourself have not said

16         complimentary things about me or our police department.

17         That is fine, I get it.       I don't respond.     I don't

18         respond to any of them because, you know what, as I said

19         before, the pay is the same.        I get paid the same the.

20         People can say whatever they want.         I know what is true

21         and what isn't true.      When I thought about that, really

22         what's the harm?      The only reason this became public is

23         because Isaiah Holmes' open records request and it was

24         part of what comes on the computer.         That is the only

25         reason it is out there.



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 1    Q    What have I said that is not complimentary about you?

 2    A    You've allowed people to --

 3    Q    What have I said, to your statement, that wasn't

 4         complimentary about you?

 5    A    You said that I should be fired all along.          For what

 6         reason, I don't know, because I didn't do anything

 7         wrong.    You were mad because Mensah wasn't fired.         I

 8         don't have the power to fire Mensah.

 9    Q    What have I said that wasn't complimentary about you?

10    A    That I should be fired.

11    Q    Anything else?

12    A    That is what comes to mind.

13                                   EXAMINATION

14         BY MR. SCHWAB:

15    Q    So you didn't reprimand him because it didn't come out?

16    A    Because it doesn't rise to the level of reprimand, just

17         like I'm a public official, so is the mayor.

18    Q    Is it a case that you will only reprimand for conduct

19         that becomes public?

20    A    It is a case that I will reprimand if I think it's

21         deserving of a reprimand.       In this case, it wasn't.

22    Q    So you thought it was?

23    A    When I first heard it.

24    Q    And you decided against that, correct?         And what was the

25         basis for deciding against it?



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 1    A    Where's the harm.

 2    Q    It doesn't become public?

 3    A    Correct.

 4    Q    An officer's conduct, as long as other people don't

 5         learn about it, isn't harmful?

 6    A    This was not harmful, so it is not harmful.

 7    Q    Do you worry about the decision making of your officers?

 8    A    No.

 9    Q    Officers are called to make life and death decisions,

10         right?

11    A    Yes.

12    Q    When they make decisions like this in private, does that

13         call into question their abilities?

14    A    No.

15    Q    They're private conduct just generally doesn't call into

16         conduct?

17    A    This conduct doesn't cause me any concern.

18    Q    What about calling the mayor chicken shit?

19    A    I don't like it in the context that he did that, and in

20         an interview or interrogation, I don't like that will.

21         So we talked to him with that, but it doesn't cause me

22         concern about their decision making.

23                                    EXAMINATION

24         BY MS. MOTLEY:

25    Q    You don't like it, or do you think that's against policy



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 1         for him to do that within an interrogation?

 2    A    I don't like it.      There's a lot of things that happen in

 3         interviews and interrogations that people would probably

 4         be upset if they saw what really happens.          I can give

 5         you an example if you would like.

 6    Q    No, thank you.     I am wondering if unprofessional conduct

 7         by a Wauwatosa police officer, is that something that an

 8         officer can be disciplined for?

 9    A    Unprofessional conduct, yes, they can be disciplined.

10    Q    Isn't it unprofessional for Detective Lewandowski to

11         have brought his personal feelings into a very serious

12         interrogation of a person by calling the mayor chicken

13         shit?

14    A    It was a poor choice of words, and I wish it hadn't

15         happened.

16    Q    Do you think it is appropriate for him to have brought

17         up the mayor at all in the interrogation of Briana

18         Foster (Phonetic)?

19    A    Probably not.

20                                   EXAMINATION

21         BY MR. SCHWAB:

22    Q    Now we have two records at least of him speaking

23         negatively about the mayor.       How many times has he

24         called the mayor chicken shit?

25    A    I have no idea.



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 1    Q    Has he complained about the mayor to you?

 2    A    No.

 3    Q    Has he complained about the mayor to anyone else in the

 4         office?

 5    A    Not to my knowledge.

 6    Q    Has he complained about -- never mind.

 7                                    EXAMINATION

 8         BY MS. MOTLEY:

 9    Q    With regards to an investigation and interrogations,

10         Detective Lewandowski has been with the Wauwatosa Police

11         Department for 20 years, correct?

12    A    Close to 20.

13    Q    And with regards to this joke, high value target, did he

14         tell you it was a joke?

15    A    Yes.

16    Q    Okay.    And you reprimanded him about bringing up the

17         mayor in the video interrogation of Briana Foster by

18         calling him chicken shit?

19    A    Yes.

20    Q    But that's not all he did in that interrogation,

21         correct, with regards to the mayor, he also was very

22         disparaging about the mayor to a person who was in

23         custody that was being interrogated by him, isn't that

24         correct?

25    A    I don't remember -- (inaudible) -- that interrogation.



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 1    Q    Was there any interrogation value to him bringing up the

 2         mayor at all in that interrogation of Briana Foster?

 3    A    I don't know what the context was that he was talking to

 4         her about it.

 5    Q    Well --

 6                     MS. BAYNARD:     (Inaudible).

 7                     THE COURT REPORTER:      What?

 8                     MS. BAYNARD:     I just said it was a "he."

 9                     MS. MOTLEY:    Thank you.

10   BY MS. MOTLEY:

11    Q    But you don't remember it, you didn't see it all, but

12         yet you reprimand him about that?

13    A    Originally, I was only reprimanding when I heard about

14         the poor choice of words that he used, and I said, you

15         can't do that kind of stuff, and the thing with the

16         mayor.

17    Q    So you just basically told him, don't call the mayor

18         chicken shit, but it's cool --

19    A    (Inaudible).

20                     THE COURT REPORTER:      You were at the same

21         time, "but it's cool to interrogate -- "

22         BY MS. MOTLEY:

23    Q    It is okay for him to interrogate a suspect about the

24         mayor as long as you don't call him chicken shit, was

25         that the gist of the conversation?



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 1    A    I did not say that.

 2    Q    What did you say?

 3    A    I said you need to keep your communications

 4         professional.

 5    Q    On October 16th, Joseph Lewandowski also questioned

 6         Niles McKee, correct?

 7    A    I don't know.

 8    Q    Well, in that interrogation he also had a whole section

 9         he was also talking about Mayor McBride, are you aware

10         of that?

11    A    I am not.

12    Q    Are you aware that Niles McKee is one of the suspects

13         who was alleged to have done something at Officer

14         Mensah's house?

15    A    I think I have heard the name.

16                     MS. MOTLEY:    Okay.

17                                   EXAMINATION

18         BY MR. SCHWAB:

19    Q    Do you think it's appropriate during an interrogation

20         for Lewandowski to say, Mayor McBride created this

21         committee, which is a civilian oversight committee, in

22         accordance with The People's Revolution's request, put

23         two members of The People's Revolution in charge of it.

24         I asked, if there are people that hate you, should they

25         be in charge of you?      Are you aware that he said that?



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 1    A    No.

 2    Q    Do you believe that The People's Revolution hates cops?

 3    A    From what I have seen and some of the comments that have

 4         been made to our police officers, I think that would be

 5         a fair statement from some of them.

 6    Q    And people engaged in civilian oversight or perhaps the

 7         police and fire commission, should it only be composed

 8         of people who love cops?

 9    A    I hope it is composed of people who are impartial.

10    Q    So people with legitimate criticisms -- with criticisms

11         have a legitimate right to participate in public policy

12         as it relates to policing?

13    A    They do, as long as they're open-minded.

14    Q    Do you think it is a problem when your police officers

15         express closed-mindedness to them?

16    A    When police officers, or anybody expresses their

17         opinions in such a way that Lewandowski did, that's

18         where it's my job to correct that behavior.

19    Q    But you didn't correct that behavior?

20    A    I think we corrected the behavior.

21    Q    But you did not reprimand him, right?

22    A    I did not.     I talked to him and told him to use more

23         professional language, I think that takes care of that

24         problem.

25    Q    Is Lewandowski professional?



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 1    A    He is.

 2    Q    Based on this?

 3    A    Based on his overall record, yes.

 4    Q    Just multiple lapses?

 5    A    A couple, a couple lapses in 20 years --

 6                     MS. MOTLEY:    Very recent, in a short period of

 7         time, lapses.

 8                     MS. BAYNARD:     Objection to the question, or

 9         the form of the question.       Go ahead and answer.

10                     MS. MOTLEY:    It was more of a comment.

11                     MS. BAYNARD:     (Inaudible).

12         BY MR. SCHWAB:

13    Q    Are you aware that certain people received curfew

14         violation tickets in the mail?

15    A    Yes.

16    Q    How did you guys find their names?

17    A    I've got a group of investigators and police officers,

18         they're experts that do that, not me.         I don't do that.

19    Q    Were you taking pictures, or was the Wauwatosa police

20         take pictures of protestors to later ID?

21    A    I think so.

22    Q    Do you still have those records?

23    A    Probably.

24    Q    Okay.

25                                    EXAMINATION



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 1         BY MS. MOTLEY:

 2    Q    Do you think Mayor McBride is an effective mayor?

 3                      MS. BAYNARD:    Objection, relevance.      Go ahead.

 4                      THE WITNESS:    That's not for me to judge.

 5         BY MS. MOTLEY:

 6    Q    I'm asking you to judge?

 7    A    Is he an effective mayor, I don't have an opinion.

 8    Q    Do you think that Mayor McBride is an effective

 9         supervisor of you seeing as he has zero law enforcement

10         experience?

11    A    I have known the mayor for many years.         He's always been

12         very cordial to me.      When I started he was the head of

13         the civil service commission, so I have known him for

14         many years.     After that, he was an alderperson.        I knew

15         him when he was an alderperson.        I have always had a

16         good relationship with him, and he has always treated me

17         very well.

18    Q    Do you think he's an effective boss to have even though

19         he has zero law enforcement experience?

20    A    Sometimes a person who has zero law enforcement

21         experience make the best bosses.

22    Q    Why didn't the mayor show up for the deposition before?

23         Did he talk to you about that?

24    A    No.

25    Q    Do you know he did not show for our deposition?



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 1    A    I heard that he didn't.

 2    Q    Okay.    Do you recall your discussion with the mayor

 3         after the PowerPoint, after he became aware of the

 4         PowerPoint slide?

 5    A    Yes.

 6    Q    What did he say?

 7    A    He was hoping that Officer Lewandowski would be

 8         disciplined because he felt that it rose to the level of

 9         a disciplinary situation.

10    Q    Did anyone within the fire and police commission talk to

11         you about this slide as well?

12    A    Yes.

13    Q    Dominic Leone, was he the one?

14    A    No, I answered questions from the entire police

15         commission.

16    Q    Okay.    Did Mayor McBride communicate to you what kind of

17         discipline he wanted Detective Lewandowski to have?

18    A    He was hoping that he would get some sort of suspension

19         out of it.

20    Q    Did that happen?

21    A    It did not happen, I told him it will wasn't going to

22         happen.

23    Q    How did the mayor respond to that?

24    A    I don't think the mayor was real happy about it.

25    Q    Describe not being happy about it, what did he say?



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 1    A    He said, I disagree.      Okay.   That's where we left it,

 2         and I didn't hear anything more about it from him.

 3    Q    Did he call you and communicate that to you?

 4    A    No, did not.

 5    Q    He e-mailed you?

 6    A    No, that was at our in-person meeting.

 7    Q    Who else was in that in-person meeting?

 8    A    Myself, Captain Schultz, who has since retired, and Jim

 9         Archambo.

10    Q    Was Alan Kesner also in that meeting?

11    A    He was not.

12    Q    Just out of curiosity, since August of last year until

13         now, how many officers with the Wauwatosa Police

14         Department have left?

15    A    Since August?

16    Q    Yes, and can you name them, please?

17    A    Steve Sment, Jeff Griffin --

18    Q    Steve Sment?

19    A    S-M-E-N-T, Jeffery Griffin, we are talking since August

20         --

21    Q    Since August of 2020.

22    A    Mike Schultz, I just had an officer who left us when he

23         was on probation because he wasn't doing the job very

24         well, Joshua Dale.

25    Q    D-I-E-H-L?



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 1    A    D-A-L-E, and Jeff Freena just left, Jennifer Freena

 2         left.

 3    Q    That's his wife, correct?

 4    A    Right, I think those seven, and there is maybe one other

 5         one, I can't think anybody else.

 6    Q    I have six, Steve Sment, Jeffrey Griffin, Mike Schultz,

 7         Joshua Dale, Jeffery Freena, Jennifer Freena, Brian

 8         Zalewski (Phonetic)?

 9    A    Brian Zalewski.

10    Q    Champsey (Phonetic)?

11    A    Champsey, he is in the military and decided to stay

12         there.

13    Q    What branch is he in, out of curiosity?

14    A    I think he's Army.

15    Q    And then, of course, Joseph Mensah, but that was --

16    A    Mensah, and then me until a couple weeks.

17    Q    That's ten officers?

18    A    Counting me, yes.

19    Q    Counting you, from August 2020 until now?

20    A    Yes.

21    Q    And there are 90 police officers within the Wauwatosa

22         Police Department?

23    A    Yes.

24    Q    So that's a little over ten percent of the police force

25         has left since August 2020?



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 1    A    Yes.

 2    Q    Is that a normal turnover rate?

 3    A    It is not, we don't have a turnover rate normally.

 4         We're at 90 now, we were close to 100, we were at, like,

 5         96, we hired a couple and a couple left, so we are at 90

 6         right now.     We should be at 102 right now.

 7    Q    Why did Steve Sment leave?

 8    A    He was a detective, and I think like a lot of police

 9         officers, they are saying that the first time they're

10         eligible to go, they're out of here, they don't want

11         anything to do anymore --

12    Q    So he retired?

13    A    He retired.

14    Q    What about Jeffrey Griffin?

15    A    Retired.

16    Q    Michael Schultz?

17    A    Retired.

18    Q    Joshua Dale?

19    A    He left on his own before I made the decision for him.

20    Q    Jeffery Freena?

21    A    Retired.

22    Q    Jennifer Freena?

23    A    Retired.

24    Q    Brian Zalewski?

25    A    Left to go to Butler Police Department.



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 1    Q    Did Brian Zalewski apply for the chief job?

 2    A    I don't believe he did.

 3    Q    And Champsey went to the Army?

 4    A    He was in the Army deployed, and he just decided to stay

 5         there, he was in military intelligence or whatever.

 6    Q    Thank you.     Was Heather Cole ever surveyed, monitored,

 7         or investigated by the Wauwatosa Police Department?

 8    A    Heather Cole, she was not.

 9    Q    She was never surveyed?

10                      MS. BAYNARD:    Surveilled.

11         BY MS. MOTLEY:

12    A    Surveilled, I don't know why I keep saying that,

13         surveilled.

14    A    No.

15    Q    What about Representative Robin -- (inaudible)?

16    A    No.

17    Q    Any members of the Jay Anderson, Jr. family?

18    A    No.

19    Q    What about Brian Anderson?

20    A    No.

21    Q    Cleo Coleman?

22    A    I don't think so.

23    Q    Was there any -- I'm jumping around a little bit, sorry.

24         With regards to Taleavia Cole's phone that was in the

25         nerd lab and kept by WPD for over 20 days, do you know



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 1         if there were any attempts to analyze it?

 2    A    I don't know.

 3    Q    Do you recall the Whites for Wauwatosa letter that

 4         circulated during summer?

 5    A    I am sorry, the letter?

 6    Q    The Whites for Wauwatosa letter that was circulating

 7         this past summer.

 8    A    I think I heard something about that.

 9    Q    Was there any investigation with regards to that?

10    A    No.

11    Q    Why not?

12    A    I heard from somebody that they said it was just a

13         one-time distribution, and I don't know if they thought

14         it was a valid thing or not.        They didn't feel that any

15         more needed to be done with it, so we didn't.

16    Q    With regards to -- (inaudible) -- what looked like a

17         bullet hole in Mayor McBride's window, was that

18         investigated?

19    A    We did.    He made a police report on that, so we looked

20         at that, and then the mayor said, "well, this could have

21         happened months and months ago."        So I was like, "well,

22         okay, there's not much we can do."

23    Q    But there is a police report on that?

24    A    There is.

25    Q    Was anyone accused of shooting into his house?



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 1    A    No.

 2    Q    Okay.    What do you think about Isaiah Holmes?

 3    A    I know the name, don't know anything about him, wouldn't

 4         recognize him if I saw him.

 5    Q    What do you think about his stories?

 6    A    I think Isaiah Holmes is always trying to accuse us of

 7         doing something.      What I understand is that when he was

 8         in high school even, he is a younger guy, I guess, I

 9         don't know, he was always making some allegation about

10         the police department.       He's the one that requested the

11         open records for McBride, the HVT thing, so I don't know

12         anything about him.      I never talked to him.      I wouldn't

13         recognize him.     I don't know.

14    Q    Why does Wauwatosa keep fake records, arrest records and

15         booking records of people in the community?

16    A    Yeah, I know that is an issue you asked about.           I have

17         asked -- (inaudible) -- about it, Lieutenant Roy, and

18         Captain Vetter, explain this to me, I don't quite

19         understand it.     They've explained it to me, and I still

20         don't quite understand it.       It has something to do with

21         the software program, from the Phoenix -- our records

22         management system.      Somebody more qualified than me

23         needs to explain it, I just don't know.

24    Q    Do you think it's appropriate for Wauwatosa to keep fake

25         records of people being arrested and booked, and that



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 1         not happening, and then giving that to the media, do you

 2         think that is appropriate to do?

 3    A    Well, I think that the record is generated with the

 4         contact or whatever, however they're record is

 5         generated.     How it's listed and all of that, I don't

 6         know.    Again, somebody else is going to have to explain

 7         it.   I think we had contact with those people.

 8    Q    Do you think it was appropriate for people to have

 9         pictures of you with the word "accomplice" on it?

10    A    I do not think that was appropriate.

11    Q    Do you think it's appropriate for the Wauwatosa Police

12         Department to have records of people being arrested that

13         did not happen also?

14    A    I think there was a way that that could have been

15         explained, Vetter and those other people that I talked

16         about, they can explain it better.         So I don't want to

17         speculate how that is listed.        I just don't understand

18         it.

19    Q    Do you think it's okay to have fake records on people?

20    A    I don't think we have fake records.         The records exist,

21         but how they are listed, I'm not sure.

22    Q    If people are listed as being arrested, they give them

23         an arrest number and booked, given a booking number,

24         that sort of lends itself to demonstrate that they've

25         actually been arrested and booked, wouldn't you agree



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 1         with that?

 2                      MS. BAYNARD:    Objection to the form of the

 3         question.    Go ahead.

 4                      THE WITNESS:    It would seem so, but I am not

 5         sure if those people that you're referencing have

 6         actually been arrested or had the contact or issued a

 7         citation.

 8         BY MS. MOTLEY:

 9    Q    No, not everyone?

10    A    I don't know the specifics.

11    Q    So I don't understand, why is it that you can sympathize

12         when it's you put in that situation, but you can't when

13         it is other people put in that situation and released to

14         the media, why is there a difference?

15    A    There's not a difference, I can sympathize and I can

16         empathize.

17    Q    But you can also have the power to do something about

18         it.

19                      MS. BAYNARD:    Objection to the form of the

20         question.    Go ahead.

21         BY MS. MOTLEY:

22    Q    You also have the power to do something about it, not

23         just sympathizing and empathizing, you have the power to

24         make sure that people's fabricated arrests don't make --

25         paper, correct?



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 1    A    I believe that was explained by our department.           It was

 2         even explained at the equity inclusion committee, about

 3         how those arrests are listed or how they are

 4         categorized.     So if I sat down with somebody and they

 5         wanted to ask me -- somebody from our department,

 6         explain this, somebody else come in here and explain it

 7         to the attorneys so we can all understand together, I

 8         think that could be done.

 9    Q    Don't you think it's a problem that you as a chief

10         policy maker didn't understand that explanation and yet

11         it still continues?

12    A    You know, yeah, there's a lot of things I don't

13         understand.

14    Q    Meanwhile --

15    A    But other people do understand it, and they have said,

16         this is fine, what we're doing, it's the right thing.

17         My brain, maybe I learn differently.         I don't quite

18         understand that, but I am sure that it is done

19         appropriately.

20    Q    Why are you sure that it's done appropriately?

21    A    (Inaudible).

22    Q    Was this PowerPoint slide done appropriately?

23    A    You know what --

24                     MS. BAYNARD:     Objection to the form of the

25         question, compound.



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 1         BY MS. MOTLEY:

 2    Q    Why do you assume it was done appropriately?

 3    A    I don't assume a lot of things, are you talking about

 4         the PowerPoint?

 5    Q    No, you assume in terms of the arrest and booking

 6         records, why do you assume that that was done

 7         appropriately?

 8    A    Because it was explained to me by Captain Vetter how we

 9         do that, and I then asked Sergeant Wechsler (Phonetic)

10         to explain it another time.       He explained it to me.

11         Lieutenant Roy understands it.        I think their

12         explanations are consistent.        It is just, okay, I'm just

13         -- I don't quite understand how we do that.          I've got to

14         tell you, too, I'm at the point where I've got more

15         important things going on right now.         If this is what is

16         going on, we have other things to do.

17    Q    Do you think a person can protest for police reform and

18         also be pro-police?

19    A    Yes.

20    Q    So you don't take that everyone that is protesting with,

21         for instance, The People's Revolution as being, quote,

22         antipolice?

23    A    No.

24    Q    Do you think Taleavia Cole is antipolice?

25    A    I am not sure what Taleavia Cole is.         I have met her



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 1         that one time when you were at the station with us, it

 2         was the one and only time I met her.         I think she's

 3         yelled at me before, but I don't know much about her.           I

 4         realize it's got to be really difficult for her because

 5         she had a family member that was -- is deceased.           I

 6         don't know what her -- what she thinks.

 7    Q    Do you know I'm antipolice?

 8    A    I think you make your money by appearing to be

 9         disruptive and trying to stir the pot, that would be my

10         opinion, but whether or not you're antipolice or not, I

11         would not say that you are.

12                     MS. MOTLEY:    Okay.

13                                    EXAMINATION

14   BY MR. SCHWAB:

15    Q    During the protests, do you know if any medics were

16         targeted with force?

17    A    Medics?

18    Q    Did any police officers shoot at medics?

19    A    Are you talking about paramedics?

20    Q    Anyone, someone out on the street trying to render first

21         aid.

22    A    Like what happened in Kenosha, is that --

23    Q    Or, across this country.

24    A    I have heard those stories.        I don't know if they

25         happened in our city.



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 1    Q    Do you know if any of your police officers targeted

 2         journalists?

 3    A    No, I don't know.

 4    Q    Have you heard any complaints about targeting

 5         journalists?

 6    A    Nothing that has been -- you know, I have heard rumors

 7         about things, but nothing that was brought to my

 8         attention.

 9    Q    How do you hear a rumor that is not brought to your

10         attention?

11    A    People will talk, I will hear the officers talking in

12         the hallways and the squad rooms, but nothing was

13         brought to my attention by any complainant.

14    Q    If one of your officers was to, for example, use pepper

15         spray on someone while recording them, what would the

16         consequences of that be?

17    A    Just recording them?

18    Q    Yes.

19    A    That would be an improper use of that.

20    Q    Would that be excessive force?

21    A    If that is the only reason, that would be improper and

22         excessive use, yes.

23    Q    Would you fire that officer?

24    A    I would want to know the totality of the circumstances,

25         as to what led up to that and what the interaction was



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 1         before I decide what to do.

 2    Q    If you were to learn that any officer shot at protesters

 3         because they didn't like the content of the message,

 4         would that be a fireable offense?

 5    A    Like I just answered, that would also be improper until

 6         we find out exactly what is going on.

 7    Q    Are you certain that none of that happened?

 8    A    You know, when you say am I certain, I like to say

 9         certain beyond a reasonable doubt, I don't know.           I

10         would like to think that those things didn't happen.            I

11         don't know with any certainty.

12    Q    I assume you take seriously the use of state force?

13    A    What force?

14    Q    The force granted by the state?

15    A    Yes.

16    Q    Police officers use state violence, is that correct?

17    A    We use -- we abide by the state laws, and there is a use

18         of force --

19    Q    They use violence at times as sanctioned by the state,

20         is that correct?

21    A    Police officers?

22    Q    Yes.

23    A    Yes.

24    Q    Is that a responsibility?

25    A    Very much so.



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 1    Q    Does that require them to be above reproach?

 2    A    Yes.

 3    Q    It requires better than jokes?

 4    A    Sorry?

 5    Q    It requires better than targeting political leaders?

 6    A    I am not understanding what you mean.

 7    Q    Never mind.     During the protests when people are

 8         arrested, why were they interrogated?

 9    A    Were they interviewed, or interrogated?

10    Q    What's the difference for you?

11    A    If I take you into custody or something, I might just

12         want to interview, where are you from, what are you

13         doing, what's going on?       That is an interview.      If I am

14         saying you have the right to remain silent because I'm

15         arresting you for a specific offense and I am going to

16         question you about something that you did, that's an

17         interrogation.

18    Q    So can a police officer do an interview where they ask

19         about that individual's conduct?

20    A    If they don't know what the individual did at that

21         point, it seems like as soon as, if I'm interviewing

22         you, all of a sudden you make a statement that leads me

23         to believe you might be involved in some criminal

24         activity, that interview changes into interrogation.            At

25         that point, I would probably advise you of your rights.



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 1    Q    Let's say you arrest me at midnight and take me to the

 2         station in handcuffs, put me in a room, and walk into

 3         the room, is that still possibility an interview?

 4    A    Possibly.

 5    Q    Okay.    Are you aware that every protester was either

 6         interviewed or interrogated, every arrested protester?

 7    A    I am not aware of it specifically, but I would not be

 8         surprised.

 9    Q    Do you know if they were interviewed or interrogated?

10    A    I don't know.

11    Q    Do you know if any of them were interrogated?

12    A    I don't.

13                                    EXAMINATION

14         BY MS. KNOWLTON:

15    Q    Do you know if they were explicitly told what their

16         rights were?

17    A    I don't know if they were, but if you're not being

18         interrogated, you don't need to be advised of your

19         rights either.

20    Q    If you're taken into detention and if you can't leave,

21         so you are physically detained, is that an arrest?

22    A    Yes.

23    Q    Are you required to be given your rights when you're

24         arrested?

25    A    Not necessarily.



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 1    Q    Why not?

 2    A    If I saw you doing something, say, I saw you throwing a

 3         rock at somebody, I can arrest you.         I don't have to ask

 4         you, what did you do, or why did you do that, I have

 5         already seen you doing it.       So I write in my report,

 6         this is what I saw you doing.        I don't need to advise

 7         you of your rights because I'm not going to ask you that

 8         question.    I saw it.    If somebody told me that you did

 9         it and I was questioning you about it, and I thought

10         that maybe, yes -- first off, I think I would go a

11         little bit more smooth, and say, "do you know anything

12         about where the rock that was being thrown?"          And you

13         said, "yes, I'm aware of it."        Well, you are probably

14         the one, it was your description and so on, I might not

15         give you your rights.

16                                    EXAMINATION

17         BY MS. MOTLEY:

18    Q    Whose idea was it to put that Blue Lives Matter flag in

19         the police station in Wauwatosa?

20    A    Where was it located?

21    Q    It was located behind the front desk above the desk.

22    A    Yeah, I don't know whose idea it was, but somebody gave

23         that to us, and I authorized it to be put up there.

24    Q    Why did you authorize that to be up there?

25    A    Because I loved it.



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 1                                    EXAMINATION

 2   BY MR. SCHWAB:

 3    Q    Let me ask you a question:       If I gave you a Black Lives

 4         Matter flag, would you also fly that in police station?

 5    A    If I'm allowed to put up a Blue Lives Matter flag, then

 6         I would.

 7                                    EXAMINATION

 8         BY MS. MOTLEY:

 9    Q    Why isn't it still up there?

10    A    Because the mayor didn't like it and said he wanted it

11         taken down, that's the only reason.

12    Q    How many interview rooms do you have at the police

13         station?

14    A    For police interviews for the detectives, there's

15         usually one or two rooms that we use.

16    Q    Okay.    And those rooms are equipped with video

17         recording, correct?

18    A    I believe so.

19    Q    Those are the rooms that Detective Lewandowski was

20         questioning Briana Foster in?

21    A    I wasn't there, I was at the other place, so --

22    Q    Presumably, interviews are conducted in those rooms, you

23         said two or three rooms -- you said two rooms?

24    A    Two, if you count the sensitivity room that would be

25         used if you have a victim of a sexual assault or a



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 1         child, then it would be three.

 2    Q    And they all have video recording?

 3    A    I don't know if the sensitivity room has it.

 4    Q    Okay.    Those that were arrested by Wauwatosa or any

 5         existing agencies, were there files also created by

 6         federal agencies as well?

 7    A    I wouldn't know that.

 8    Q    Okay.    When would be appropriate for the FBI to do

 9         interviews at Wauwatosa Police Department?

10    A    When?

11    Q    Yes, under what circumstances?

12    A    If I knew the answer to that, when the FBI will get

13         involved and when they won't, that would make things

14         easier for a multitude of reasons.         The FBI is usually

15         always doing federal things.        If they are even

16         prosecuting a crime, it has got to be done by the U.S.

17         attorney.    Many times over the years I have asked the

18         FBI to do certain things, you know, and they say that is

19         not in our jurisdiction or whatever.         I'm not sure I

20         know the answer of when it's feasible for them to get

21         involved.

22    Q    Certainly, if you're lending the space at the Wauwatosa

23         Police Department which you are in charge of --

24    A    Yes.

25    Q    -- then you would have an explanation from the FBI as to



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 1         why they would need to use your interview rooms to

 2         question people, right?

 3    A    They would probably ask whoever the supervisor is on

 4         duty, and say, hey, we've got to question somebody.             Can

 5         we use the interview room?       Absolutely, go ahead.

 6    Q    Why did the FBI -- what did the FBI tell your officers

 7         as to why they needed to use the interview room?

 8    A    I don't know because they would not have told -- the

 9         supervisors wouldn't have had told me the FBI came in to

10         use the interview rooms, so that is not something that

11         I'm normally told.

12    Q    Even in the debriefing for the biggest operation of your

13         career, they would not --

14                         (A recess was taken.)

15   BY MS. MOTLEY:

16    Q    I have a question:      What did you and Jasmyne discuss

17         over lunch?

18    A    I think I said something to Jasmyne like, I was going to

19         eat what you were eating because it would be more

20         healthy.    She orders a burger that has cheese and bacon

21         on it too, so I didn't want to eat something healthy.

22         Detective -- (inaudible) -- was with us too, so we had a

23         relaxing hour.

24    Q    Okay.    Throughout this deposition has she coached you to

25         say anything?



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 1    A    No.

 2    Q    Has she advised you on anything you should say?

 3    A    Not really, but usually I ask her, "is there anything

 4         that I said that made my attorney cringe," and she says,

 5         "no."

 6                                    EXAMINATION

 7   BY MR. SCHWAB:

 8    Q    How did you prepare for today?

 9    A    I met with Jasmyne yesterday, and she kind of said it

10         probably was going to happen, and what you're going to

11         be asking me questions about, there's nothing that she

12         really surprised me with.       I didn't bring any reports

13         because I thought if there's a question you have for me,

14         you'll give it to me, what you want me to do.           I have

15         always felt, I have done these many times, you just tell

16         the truth the way you know it.

17                      I don't like it when -- when Ms. Motley says,

18         "you don't seem to know too much."         Yeah, I feel

19         embarrassed by that.      As a chief, I don't do those kinds

20         of things.     We have a rather large agency, and I

21         don't -- I don't take notes on every little thing that

22         gets -- gets done.      You know, and I delegate a lot of

23         things because that is what we do, that is how we get

24         our work done.     Other than that, it is what it is.

25    Q    What documents did you review yesterday?



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 1    A    I didn't review any documents.        I brought -- I had a

 2         notepad, and I just wrote a couple sentences down, and I

 3         wanted to know -- I checked my calendar to find out, I

 4         knew that the mayor's order -- or, the district

 5         attorney's order was October 7th, his decision.           The

 6         only thing I really wanted to check is, when was the day

 7         I met with the district attorney.        That was

 8         September 28th, so I wrote that down.         That is really

 9         all I wrote.

10    Q    Why did you keep the curfew order a secret for seven

11         days?

12    A    I don't -- you know, I don't believe in, you know,

13         putting my business out there.        It is not up to me to

14         release the mayor's order.       If the mayor wants to

15         release it and says what he's going to do, that's up to

16         him.    That is not -- not for me.

17    Q    Did the mayor tell you to keep this secret?

18    A    He did not.

19    Q    And do you view this as a public safety order?

20    A    Curfew order, uh-huh, I believe so.

21                                    EXAMINATION

22   BY MS. MOTLEY:

23    Q    Did Alan Kesner tell you to keep it a secret?

24    A    No.

25    Q    Did Mr. Archambo tell you to keep it a secret?



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 1    A    No.

 2                                    EXAMINATION

 3   BY MR. SCHWAB:

 4    Q    Did you tell anyone else to keep it a secret?

 5    A    No, I think that we've all done this business many

 6         years, where we know we just don't talk about our

 7         business.

 8    Q    And the whole point of this was to keep people safe,

 9         right?

10    A    Yes.

11    Q    What would have been the worry about letting people know

12         that they weren't allowed on the streets?

13    A    I think when you put your plan out there of what you're

14         going to do, I think then there's more of an opportunity

15         for bad things to happen because, you know, let's just

16         say for Kenosha, all the things that happened in

17         Kenosha.    I don't know how many outside people came into

18         that city that were causing problems.         I worry about

19         that same thing in our own city.         Really, Wauwatosa

20         residents themselves do not cause us problems.

21    Q    Who does cause those problems?

22    A    I worry about people that come from other jurisdictions

23         that don't have an investment in our city that try and

24         control what we're going to do.

25    Q    Where did Alvin Cole live?



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 1    A    City of Milwaukee, I believe.

 2    Q    Does he have -- did he have no claim on what you do here

 3         in this city?

 4    A    What we do in what context.

 5    Q    Did Alvin Cole bear any consequences of how this police

 6         department is run?

 7    A    Alvin Cole acted in a way that, the problems that he had

 8         that ultimately caused his demise, those were the

 9         decisions that he made.

10    Q    Okay.    Did a Wauwatosa officer kill him?

11    A    Yes.

12    Q    So when you say that people from out of the city have no

13         interest in what happens by the police department in the

14         city, isn't that the incorrect?

15    A    No, because I prefaced it, and I said Alvin Cole caused

16         -- his behavior caused the problem that happened.

17    Q    What if it turns out that he didn't cause it, I'm not

18         saying you're in agreement with that, but if it turns

19         out that Alvin Cole was murdered -- (inaudible) -- if it

20         was excessive force, if it was determined that, then

21         didn't he have an interest an Milwaukee resident who

22         comes into Wauwatosa on how Wauwatosa police --

23         (inaudible) -- black people?

24    A    If that was the case, then he would have an interest,

25         yes.



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 1    Q    Are you familiar with this complaint, have you read the

 2         complaint?

 3    A    Which complaint?

 4    Q    In this case.

 5    A    In the lawsuit you're talking about, the civil case?

 6    Q    This current lawsuit, this current lawsuit, Knowlton v.

 7         City of Wauwatosa, have you read this complaint?

 8    A    Yeah, I did.

 9    Q    And you went through every single allegation and stated

10         if you knew if it was true or false?

11    A    I don't remember.      I looked at that and gave it to the

12         city attorney.

13    Q    Are you familiar with data that shows that somewhere in

14         the range of 60 to 80 percent of all traffic stops in

15         the City of Wauwatosa are black people?

16    A    I'm aware of different data that is out there.

17    Q    What is the data you're aware of?

18    A    Different people interpret things in different ways, and

19         the traffic stops that we have, you know, we don't

20         decide whether we're going to stop a white person or a

21         black person.     If you see a car, let's say a red car

22         goes by at a high rate of speed, you don't know if the

23         driver is black or white or Asian.         We see whatever

24         happened happen, we stop them, and it turns out to be a

25         person of color, that's the way it is.         It's the same



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 1         way we investigate any incidents that we get called upon

 2         too.    When we show up at a scene, we have no idea if the

 3         person that we're looking for is black or white, but

 4         people give us information.       And they'll say, "well,

 5         here is what I saw, I saw a white man wearing blue jeans

 6         and a T-shirt running from a scene," okay, then we're

 7         looking for a white man with blue jeans and a T-shirt.

 8         It turns out it is a black man with blue jeans and a

 9         T-shirt, that is what we look for.

10    Q    Do the police ever exercise discretion in which cars

11         they pull over?

12    A    Sure.

13    Q    Is it possible that one or multiple officers might use

14         that discretion in a discriminatory manner?

15    A    It is possible.

16    Q    Does this data concern you?       Have you investigated why

17         this data -- perhaps, perhaps that result would come out

18         and validate that you guys aren't discriminatory, but

19         perhaps it would, and given this data, have you ever

20         investigated whether there is a discriminatory basis?

21    A    We have in the past.      There was a report that Mr. Gunta

22         was aware of looked -- he looked into this some years

23         ago, we can't find what happened with that report, and

24         it showed that we were not discriminating when we made

25         our traffic stops.



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 1                                    EXAMINATION

 2   BY MS. MOTLEY:

 3    Q    So you take that report, and you think that report is a

 4         valid report?

 5    A    I look at the individual things that happened.           You

 6         know, right now I have got issues with people saying,

 7         well, we arrest, like, a desparent (Phonetic) number of

 8         people of color, okay, so what do we do with that?              Do

 9         we say, okay, let's not arrest people of color.           Let's

10         just stop doing that because the statistics are bad.

11                     We had an incident when the weather was still

12         cold where ten black juveniles tried to rob a guy that

13         was snow blowing his driveway.        We caught them all, and

14         we even got a gun out of it.        My first thought was, oh,

15         great ten more black kids that are going to go on our

16         statistics that shows we're just picking on another

17         race.    What's the alternative?      Let them go.    Those are

18         the things you have to look at too.

19    Q    Have you ever investigated personally whether there is

20         any discriminatory behavior displayed by your officers?

21    A    I probably have.

22    Q    And you mentioned a report, do you know roughly when

23         that report was produced?

24    A    I don't.

25    Q    When you saw these numbers, did you worry that they were



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 1         correct?

 2    A    I don't worry that they're correct, I worry that people

 3         are always trying to say, oh yeah, Wauwatosa is racist

 4         because we get the spillover from around the

 5         metropolitan area, and we probably arrest more people

 6         that are non-Wauwatosa residents than we arrest our own

 7         residents.

 8                                    EXAMINATION

 9         BY MR. SCHWAB:

10    Q    So it is important that people from outside the

11         community do have a say in how Wauwatosa polices.

12    A    If they are being mistreated, then I think it is

13         important.

14                                    EXAMINATION

15         BY MS. MOTLEY:

16    Q    Are you racist?

17    A    Am I, I don't believe I am.

18    Q    Has anyone ever accused you of that?

19    A    Not to my knowledge.

20    Q    Are you aware that in 2017 over 80 percent of the

21         arrests in Wauwatosa were of black people?

22    A    Probably.

23    Q    Do you realize that the Wauwatosa community has less

24         than five percent of a black population?

25    A    But, the problem is that during our workday, the culture



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 1         in our community changes because many people go off to

 2         work, but we also have a lot of people come into our

 3         city that do business or trade, or they have jobs here

 4         too.    So you can't just look at the number of residents,

 5         because you say, okay, well, Wauwatosa is what, five

 6         percent black, but we're arresting more.          What happens

 7         during the daytime or in those late evening hours if we

 8         are arresting people, again, we look at what the

 9         incident is, not the numbers.

10    Q    Do black people have a higher propensity to commit

11         crimes than white people in Wauwatosa?

12    A    I think their actions are determined by their

13         activities.     I don't think that blacks are more -- have

14         more propensity to commit crimes.        I think the people

15         that we come in contact with do.        But you know the thing

16         that always worries me is, for instance, people that

17         live in a disadvantaged neighborhood, my son lives in

18         the inner City of Milwaukee, some of the people that

19         live in those until inner city limits are just as afraid

20         of crime as people who live out in the white suburb.

21         And while they would like to relocate or they want to be

22         safe, they're afraid of gangs or violence or whatever,

23         so you can't just say people that live in inner cities

24         are more prone to criminal activity.         I think that is

25         dangerous to do that.      So we look at activities that we



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 1         see, and we make our decision based on the way we

 2         observe what is going on.

 3    Q    Do you think that racial profiling is a problem within

 4         the Wauwatosa Police Department?

 5    A    I do not.

 6    Q    Why do you have a racial profiling policy if it's not a

 7         problem?

 8    A    I think it's a statewide mandate that we have a racial

 9         profiling policy.

10    Q    Do you know what law or legislature says that racial

11         profiling is a statewide mandate?

12    A    Offhand I don't know what it is.

13    Q    Do you think sexual harassment is an issue within the

14         Wauwatosa Police Department?

15    A    I don't.

16    Q    But yet, you don't have a sexual harassment policy with

17         Wauwatosa police officers?

18    A    Yes, we do.

19    Q    Within the department?

20    A    Yes.

21    Q    But not with the community, correct?

22    A    We have a policy in our department that we don't

23         discriminate against people, and it has to do with the

24         sexual harassment of employees and others.          Yes, we do

25         have a policy, and, no, I don't believe it's a problem



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 1         in our organization.

 2                                    EXAMINATION

 3         BY MR. SCHWAB:

 4    Q    How many members of the Wauwatosa Police Department are

 5         members of the Ku Klux Klan?

 6    A    I would have no idea.

 7    Q    You don't know?

 8    A    No.

 9                                    EXAMINATION

10   BY MS. MOTLEY:

11    Q    Or white supremacist groups?

12    A    No idea.

13                                    EXAMINATION

14         BY MR. SCHWAB:

15    Q    Has the Wauwatosa Police Department ever had any

16         association with the KKK?

17    A    Not to my knowledge.

18    Q    Are you familiar with Martin Luther King parties?

19    A    Yes.

20    Q    Tell me about those.

21    A    They happened in 1989 before I was even chief.           I

22         started in 1990.      I think it was March 29th of 1990 that

23         they first became public.       The only reason I remember

24         that is because that was the day I was interviewed for

25         the chief job.     I was here from Iowa.      I was at the



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 1         local hotel getting ready to go to city hall for

 2         interview.     I remember sitting in front of the mirror

 3         putting my tie on, and I heard the news on the TV.              They

 4         said, "riot from Wauwatosa City Hall, the mayor is about

 5         to make a statement regarding this drama and scandal in

 6         the Wauwatosa Police Department."

 7                      Well, I hadn't even been -- (inaudible) -- so

 8         I went up to city hall, and they said, "here is what is

 9         going on right now."      So I was offered the job, and I

10         came here in May of 1990.       I came here just as they were

11         starting to have hearings about what the officers had

12         done, you know, prior to me even getting there and what

13         was going to be done about that, those were police and

14         fire commission hearings.       The first year I was here I

15         spent a good portion of every day working on that

16         particular incident.

17    Q    Were there KKK materials at these parties?

18    A    I don't think so.

19    Q    Whose houses were these parties at?

20    A    I thought the -- (inaudible) -- had hosted one of the

21         parties.    I don't know if -- I thought there were two

22         parties total.     I don't know if they were both in '88

23         and '89, or maybe spring and fall.         I thought he had

24         hosted the parties.

25    Q    Who are we talking about?



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 1    A    John Bosesavich (Phonetic).

 2    Q    Okay.    When did you terminate his employment?

 3    A    I did not terminate his employment, he retired.

 4    Q    When did he retire?

 5    A    Let's see, I think he retired about 15 years ago.

 6    Q    So he worked for 15 years after it came out that he was

 7         hosting these parties?

 8    A    Probably longer than that.

 9    Q    Did you ever promote him?

10    A    I did.

11    Q    Was he a member of the KKK?

12    A    I don't think so.

13    Q    Did you ever ask him?

14    A    I did not.

15    Q    Were you aware that there were allegations that there

16         was KKK materials at these parties?

17    A    No.

18    Q    Did you ever read the Franklin M. Kimmel (Phonetic)

19         Consortium of Governmental -- (inaudible) --

20         comprehensive study?

21    A    Is it Franklin Kremel (Phonetic)?

22    Q    Yes.

23    A    The Kremel report, as it was known, yes, I did read

24         that.

25    Q    Did the Kremel report touch on confederacy on the KKK on



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 1         white supremacy?

 2    A    I read it 30 years ago.       I don't remember what it said.

 3                                    EXAMINATION

 4   BY MS. MOTLEY:

 5    Q    Why did you promote John Bosesavich during the

 6         investigation of him hosting two of these racist

 7         parties?

 8    A    I think the investigation was then over, it was put

 9         aside, you know, after that.        When he hosted the parties

10         he was a sergeant.      He got reassigned, and he was

11         disciplined by the commissioners prior to me getting

12         there.     And then, you know, when I worked with him, he

13         admitted his involvement and apologized for everything

14         he had done.     He had said that he was to blame, and he

15         offered to resign, I believe, if that would make things

16         easier on everybody else.       He was a smart guy, and

17         admitted his problem.      John Bosesavich was not a racist

18         guy, I think it was the typical late-shifters, too much

19         time on their hands and they are just looking for

20         something to goof off.

21    Q    Is it racist to wear black face?

22    A    It certainly is.

23    Q    Have you ever --

24    A    I have never.

25    Q    -- worn black face?



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 1                     THE COURT REPORTER:      You need to slow down.

 2                                    EXAMINATION

 3         BY MR. SCHWAB:

 4    Q    Have you ever worn black face?

 5    A    I never have.

 6    Q    Have you ever been to a party where someone wore black

 7         face?

 8    A    No.

 9    Q    Would you ever go to a party where someone wore black

10         face?

11    A    I would not.

12    Q    Would you --

13                     MS. KNOWLTON:     Take a breath.     You just keep

14         going really fast which makes it really hard.

15         BY MR. SCHWAB:

16    Q    Were you ever associated with someone who wears black

17         face?

18    A    Not to my knowledge.

19    Q    Do you think that trust from the community is important

20         in police officers?

21    A    Yes.

22    Q    Do you believe that black people could ever trust this

23         officer based on his conduct?

24    A    Which officer?

25    Q    Bosesavich.



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 1    A    Yes.

 2                                   EXAMINATION

 3         BY MS. MOTLEY:

 4    Q    Did you even take into consideration how the black

 5         community would feel about you promoting an officer who

 6         through two racist parties and who was promoted while

 7         you were the police chief?

 8    A    Yes.

 9    Q    And you still promoted him?

10    A    Absolutely.

11    Q    Is it racist to -- would you ever go to an MLK party?

12    A    I would not.

13    Q    Why not?

14    A    I don't do that.

15    Q    What does that mean, you don't do what?

16    A    I don't believe in going to racist parties, and I would

17         not go to one.

18    Q    Do you believe that people that throw racist parties are

19         racist?

20    A    I believe that people can change or they can make a

21         mistake.    After that particular, Bosesavich, after this

22         whole thing was over, we went to sensitivity training,

23         and he went to the classes, I believe on racial

24         discrimination or whatever, back then what was offered.

25         So he was a smart guy, admitted his problem, I don't



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 1         think he was racist.      After he left our employment, he

 2         worked for the U.S. Government and he was assigned to

 3         Iraq for a number of years, working with their military.

 4    Q    So do you think -- you didn't know John Bosesavich long

 5         before you promoted him, correct?

 6    A    I don't remember what year he was promoted.

 7    Q    He was promoted in 1990 during the investigation by you.

 8    A    To what rank?

 9    Q    I believe it was lieutenant.

10    A    I don't know when he was promoted because I came in

11         1990, and I don't think I promoted him the first year

12         because he was --

13    Q    You did.

14    A    It was probably toward the end of the year.

15    Q    So you just met this man, so how do you think he

16         changed?

17    A    I had conversations with him, and I looked at the way

18         that whole incident was handled and what the police and

19         fire commission said.      And before I could even get him

20         promoted, that has to be approved by the police and fire

21         commission.     They signed off on it, and we promoted him.

22         Later on, I don't know how many years it was, he was

23         promoted to the rank of captain.

24    Q    You've mentioned that many Detective Chauvin who

25         murdered George Floyd is not racist.         You've also



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 1         mentioned that John Bosesavich who hosted two racist

 2         parties is also not racist.

 3    A    In my opinion.

 4    Q    In your opinion.      What makes a racist person?       How do

 5         you classify a person is racist?

 6    A    I think people who demonstrate a continuous bias toward

 7         people and are unwilling to change and try to make the

 8         decisions, how they deal with somebody based on their

 9         race.    I think that would indicate that they might have

10         some racist tendencies.       I also believe people can

11         change.    I think people make stupid mistakes sometimes.

12                                    EXAMINATION

13   BY MR. SCHWAB:

14    Q    Are there stupid mistakes that disqualify someone from

15         being a police officer?

16    A    Sure.

17    Q    How many officers were at these parties?

18    A    Again, I wasn't there.       I think there was probably, it

19         was involving the late shift at the time, but not

20         everybody participated, I'm guessing six to eight

21         people.

22    Q    Is it possible it was 17?

23    A    I don't know.

24    Q    Did you promote other officers who wore black face?

25    A    I don't know who wore black face.



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 1    Q    Did you promote other officers who went to these, as you

 2         termed them, racist parties?

 3    A    Lieutenant Zalewski (Phonetic) was the late shift

 4         supervisor at that time, and the police and fire

 5         commission demoted him to the rank of sergeant after

 6         this because they felt he was in charge.          I've always

 7         felt that it is better than demote somebody, if their

 8         behavior was that big, you might as well just terminate

 9         him otherwise then you still have a problem.          So over a

10         period of time Zalewski also worked hard.          I don't think

11         he was a racist person.       And ultimately, I went back to

12         the commissioners and asked them him to be promoted to

13         lieutenant and restore his rank, which they did.

14    Q    Did you ever speak to the leaders in the community about

15         these events?

16    A    About the Martin Luther King?

17    Q    Yes.

18    A    I probably did at the time.

19    Q    You don't recall if you had a meeting with a pastor or

20         with a community leader?

21    A    From 30 years ago, I don't recall.

22    Q    This is right when you started, you said this was all

23         that you did your first year, was dealing with the

24         racism of your department.

25    A    Right.



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 1    Q    You don't remember if you met with leaders of the black

 2         community?

 3    A    I remember I met with a pastoral alliance that included

 4         a bunch of different people.        Again, I said that

 5         Bosesavich and I went to sensitivity training down in

 6         Chicago.

 7    Q    On the day you first became the chief of police --

 8                      THE COURT REPORTER:     Wait, on the day you

 9         first became police chief --

10         BY MR. SCHWAB:

11    Q    Were there racists in the Wauwatosa Police Department?

12    A    There were people that attended those parties, whether

13         or not you would label them a racist, I wouldn't know

14         that now.

15    Q    Are you afraid to call a police officer a racist?

16    A    I am not afraid to call anybody anything.

17    Q    When was the last day there was a racist in the police

18         department?

19    A    I would not know that.

20                                   EXAMINATION

21         BY MS. MOTLEY:

22    Q    Do you know Detective Chauvin?

23    A    From Minneapolis?

24    Q    Yes.

25    A    I do not.



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 1    Q    Did you learn about Detective Chauvin based on the

 2         George Floyd incident?

 3    A    Yes.

 4    Q    Do you have any other frame of reference with regards to

 5         him?

 6    A    Just what I saw.

 7    Q    So you've only seen Detective Chauvin essentially murder

 8         George Floyd, and you've have come to the conclusion

 9         he's not racist?

10    A    In my opinion, what I saw without talk to him, because

11         remember what I said --

12    Q    How about, I don't know if he's racist?

13    A    I don't know if he's racist.

14    Q    Right, but you're saying he's not racist.

15    A    Let me just say, I believe that he was so arrogant and

16         uncaring for people he would have treated anybody the

17         same way because we say the nonchalance and arrogance in

18         the way he behaved that day.

19    Q    Why do you believe that?

20    A    It is just what I saw.

21    Q    You saw him murder a black guy.

22    A    And I think he would have done the same thing to a white

23         guy.

24    Q    But he didn't, did he?

25    A    He didn't.



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 1    Q    But you've come to the conclusion what he isn't?

 2    A    Just from what I saw, I think he was that pompous and

 3         arrogant he would have done it to anybody.

 4    Q    So he murdered him because he was arrogant?

 5    A    I don't think he cared about the race, I think that was

 6         the way Chauvin was.      This is my opinion just based on

 7         what I saw, we can argue it all you want to, but that is

 8         just my opinion.

 9    Q    What about Howard Bacon (Phonetic), he's the one that

10         fired a gun next to the desk of the whistleblower for

11         the MLK parties, was he racist?

12    A    I don't think so.

13    Q    How long did he stay with the police department?

14    A    He retired when he was about 53, I think, or 55, and

15         then he came back and worked part-time for us just as an

16         equipment officer, and he would just make sure the cars

17         are repaired right, or the station, things got repaired,

18         things like that, part-time.

19    Q    So he quit in good standing also?

20    A    As a police officer, or --

21    Q    As a police officer?

22    A    He retired in good standing.

23    Q    As an employee, did he leave in good standing?

24    A    He left at my request.

25    Q    What year was that?



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 1    A    That would be 2021.

 2    Q    This year?

 3    A    Yes.

 4    Q    Why did you tell him to leave?

 5    A    He had made an inappropriate comment to a civilian

 6         community service officer.

 7    Q    What did he say?

 8    A    He asked for some sort of sexual act be done on him.

 9    Q    Did you refer that to the district attorney's office?

10    A    No.

11    Q    Have you ever referred any criminal misbehavior of

12         officers to the DA's office?

13    A    Yes.

14    Q    When?

15    A    Well, the one I gave earlier, when we had the

16         40-year-old cop with the 17-year-old, that went to the

17         district attorney's office.

18    Q    Which DA, that would have been Chisholm?

19    A    No, that would have been before Chisholm.

20                      MS. KNOWLTON:    McCann.

21                      THE WITNESS:    McCann's office, I think at that

22         point, a lot of times the district attorney's opinion

23         is, as long as the guy leaves, you know, if you're

24         firing him or whatever, okay; but if he was staying on

25         and you are not doing anything, maybe we would look at



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 1         that one.    Slagle (Phonetic) was fired.       I think anytime

 2         we've had a shooting incident involving a police

 3         officer, that gets referred to the DA to look at,

 4         because there was -- there was one other shooting

 5         incident prior to the Mensah ones.

 6         BY MS. MOTLEY:

 7    Q    Do you remember when that was?

 8    A    It was -- Dave Moldenauer (Phonetic) was the cop, he

 9         responded to an incident where a guy was threatening, I

10         don't know if he was threatening a family member with a

11         rifle, and he came out on the porch and threatened the

12         officer with it.

13                                    EXAMINATION

14         BY MR. SCHWAB:

15    Q    Do you know if Wauwatosa used to feel exclusionary

16         zoning?

17    A    What does that mean?

18    Q    Blacks can't live here.

19    A    Yes.

20    Q    Did Wauwatosa have segregation?

21    A    I just heard about this probably in the last six months

22         when it first became (inaudible) -- because I lived in

23         Wauwatosa from 1990 up until six years ago, I never knew

24         any of that.

25                     MR. SCHWAB:    Do you want to take a five-minute



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 1         break?

 2                     MS. KNOWLTON:     Do you have anything else?

 3                     MR. SCHWAB:    That is really the whole point.

 4   BY MR. SCHWAB:

 5    Q    Have you ever filed a complaint with the OLR?

 6    A    With who?

 7    Q    With the OLR.

 8    A    What does "OLR" stand for.

 9    Q    Office of Lawyer Regulations.

10    A    Yes.

11    Q    How many times?

12    A    Once.

13    Q    Can you tell me about that time?

14    A    It was last fall.

15    Q    What day?

16    A    I don't remember the date.

17    Q    What was the basis of that?

18    A    I was complaining about Attorney Motley.

19    Q    Who did you talk with about it?

20    A    I contacted the OLR people, and I said, "what do I need

21         to do?    They said, "here is what you need to do," so I

22         filed it in writing.

23    Q    What were you hoping to get out of that?

24    A    What was I hoping?

25    Q    Yeah.



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 1    A    I just wanted some of the issues that I think have been,

 2         mistreatment of myself and I think were inappropriate,

 3         and I wanted some sort of sanctions put in, or some sort

 4         of order that says you can't -- you can't say all of

 5         those things.

 6    Q    Do you feel thin skin?

 7    A    I don't.

 8    Q    What was the result of the OLR complaint?

 9    A    Just like I expected, nothing.

10    Q    Just like when officers host black face parties?

11                     MS. BAYNARD:     Objection to form of the

12         question.

13   BY MR. SCHWAB:

14    Q    Did you talk with anyone outside of the OLR about your

15         filing?

16    A    I probably told Alan Kesner that I did it, but I don't

17         -- I didn't really ask him his opinion.         I just said,

18         I'm doing it.

19    Q    Did you share your complaint with anyone?

20    A    Probably.

21    Q    Who?

22    A    I probably informed some of the officers in my

23         department that I was doing it.

24    Q    Have any other officers filed any complaints?

25    A    Not that I'm aware of.



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 1    Q    Have you suggested that they do so?

 2    A    No.

 3    Q    Have you suggested that anyone do so?

 4    A    No.

 5    Q    Have you told anyone about, that this is an opportunity?

 6    A    No.

 7    Q    So you never told anyone that they should file an OLR

 8         complaint?

 9    A    No.

10    Q    And you have never told anybody that they can file an

11         OLR complaint?

12    A    I don't think I have.

13    Q    And the only people you've talked with about ae Alan

14         Kesner and some nameless police officers?

15    A    Probably.

16    Q    Do you know if those people have spoken about it?

17    A    I don't know.

18    Q    Why did you share it with the police officers?

19    A    I think the police officers have seen some of the

20         activities that have happened in our city and are

21         frustrated too.     I don't think we are thin skinned, as

22         you allege.

23    Q    Is it retaliation?

24    A    I don't think so.

25    Q    Is it to get back at people?



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 1    A    No.

 2    Q    Tell me about other complaints, you filed an OLR

 3         complaint against Attorney Motley, you tried to get

 4         Representative Bowen removed from office, is that

 5         correct?

 6    A    Sanctions, correct.

 7    Q    Who else have you sought sanctions against?

 8    A    David Bowen.

 9    Q    The only people who criticized your conduct?

10    A    (Inaudible).

11                     THE COURT REPORTER:      Hang on.    "The only

12         people who criticized your conduct," I am sorry.

13         BY MR. SCHWAB:

14    Q    So two people who criticized your job performance?

15    A    David Bowen did not criticize my job performance.

16    Q    No?

17                                    EXAMINATION

18         BY MS. KNOWLTON:

19    Q    What did he do?

20    A    I don't believe he did.       David Bowen was also outside my

21         house, David Bowen was also there when Mensah -- the

22         shooting was at Mensah's house, and David Bowen told

23         people to lie about what happened at Mensah's house.

24                                    EXAMINATION

25         BY MR. SCHWAB:



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 1    Q    Is David Bowen a criminal?

 2    A    In my opinion?

 3    Q    Yes.

 4    A    In my opinion, I think he is.

 5    Q    And you are the chief of police in the City of

 6         Wauwatosa?

 7    A    Right.

 8    Q    I would say you are probably -- would you classify

 9         yourself as an expert on what is criminal and what is

10         not?

11    A    I would call David Bowen, if you're asking me my opinion

12         --

13    Q    Yeah.

14    A    I don't publicly say what my opinion is about him, but

15         if you're asking me here and I'm under oath, I think he

16         is a criminal.

17    Q    What crimes did he commit?

18    A    He lied about what happened at Mensah's house.

19    Q    What crime is that?

20    A    He put it on his state stationary and gave a press

21         release, he would not give us any statements at all, but

22         he lied about what happened at that time.          So is there

23         enough to charge him?      No.

24    Q    If I come forward and I say, "I would like to file a

25         complaint with the police department, David Bowen lied



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 1         on a press release -- "

 2    A    Right.

 3    Q    -- what statute do you pull up?

 4    A    I don't pull up anything, you're asking me my opinion.

 5    Q    I know, but doesn't -- to be a criminal, don't you have

 6         to have committed a crime?

 7    A    Id he committed a crime and I could get him charged, I

 8         would do that.

 9    Q    Really?

10    A    I would.

11    Q    Do you charge everybody single person you can charge

12         with a crime?

13    A    If I could charge him with a crime for the lying that he

14         did in the Mensah case which caused a lot of

15         consternation in our department, but I knew that wasn't

16         going to happen in Milwaukee County so I sought relief

17         through the speaker of the house, and they're not going

18         to do anything either.       It's just the way it goes.

19    Q    You if you could would bring criminal charges against

20         David Bowen because of his conduct and how it has

21         affected your department?

22    A    And how it's affected me.

23    Q    And how it's affected you?

24    A    He was at my house.

25    Q    That's in your position as the chief police?



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 1    A    That's why he was at my house, and that was illegal,

 2         what they did.

 3    Q    Tell me, you said that there were criminals, everyone

 4         outside of your house was criminals who --

 5    A    Some people.

 6    Q    How many?

 7    A    I've got a video of it, there's probably a dozen people

 8         out there.

 9    Q    How many total people were out there?

10    A    Different times, maybe two dozen.

11    Q    What was the racial makeup?

12    A    It was mixed.

13    Q    Okay.    Were the criminals mixed as well?

14    A    Probably.

15    Q    Could you identify, these were the 12 criminals?

16    A    No.

17    Q    What crimes did they commit?

18    A    They were disorderly, they were disrupted my

19         neighborhood and my family, so unfortunately the way

20         that our statutes are there's not much that can be done

21         about that.     I think if it was to happen again, of

22         course I don't live in Milwaukee County, I think it

23         would be handled differently in Washington County, and I

24         think David was told that by the police department.

25    Q    Is Washington County much more conservative?



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 1    A    I think so.

 2    Q    Is that why it would be handled differently?

 3    A    Probably.

 4    Q    Is Washington County more white?

 5    A    I don't know what the racial makeup is.

 6                                    EXAMINATION

 7         BY MS. MOTLEY:

 8    Q    You mentioned that David Bowen refused to cooperate with

 9         the Wauwatosa Police Department, what do you mean, he

10         "refused"?

11    A    He made allegations about what happened at Mensah's

12         house and told somebody to lie.        We got a statement from

13         the person who he told to lie, by David Bowen.           David

14         Bowen did not make statements to us.         We said, "hey, if

15         you've got this knowledge about what happened at

16         Mensah's house," he said, "no, no, Mensah fired the

17         shot," and everything else.       If you have the knowledge,

18         make a statement to us so we can investigate it.           He

19         would not do that.

20    Q    So he refused by not answering the questions of the

21         Wauwatosa Police Department?

22    A    He never interviewed with us at all.

23    Q    Do you think it was a crime for David Bowen to put on

24         his -- as a public official, to put on his letterhead

25         statements that you believe were false?



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 1    A    Apparently it is not a crime, but if you ask me my

 2         opinion, I think it is.       I think it's criminal that

 3         somebody would take an oath to be in office as a

 4         legislature and would say that he's going to do what he

 5         has to do and to uphold the constitution and so on --

 6    Q    As a law enforcement officer, do you take an oath of

 7         office?

 8    A    I do.

 9    Q    And you wrote a letter of recommendation for Joseph

10         Mensah, correct?

11    A    Yes.

12    Q    In that letter you stated that Jay Anderson refused to

13         put down his weapon?

14    A    Yes.

15    Q    And that is a lie, correct?

16    A    No.

17    Q    You just said "refused" means "did not."          So do we have

18         a new definition of "refuse" when it comes to you?

19    A    No, we've heard this before, but Anderson was armed --

20                      MR. SCHWAB:   Was he holding a --

21         BY MS. MOTLEY:

22    Q    Hold up --

23                      THE COURT REPORTER:     Wait.

24         BY MS. MOTLEY:

25    Q    You just said he refused to put down his weapon.           That



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 1         is what you wrote on your letterhead as a public

 2         official.

 3    A    I can write any letter of recommendation that I want for

 4         Mensah, and I did.      I believe, in my opinion Anderson

 5         was armed, could have had really good access to that

 6         weapon, whether it was on the console or the seat next

 7         to him.    And Mensah saw it and told him, don't reach for

 8         the weapon.     He went for the weapon.      He said, don't do

 9         it, don't do it --

10    Q    And you lied in your letter --

11    A    I did not lie in my letter.

12    Q    Really?

13    A    (Inaudible).

14    Q    What does, "he refused to do something" mean to you,

15         what does that term mean to you?        If you refuse to do

16         something, what does that phrase mean?

17    A    In the context of this --

18    Q    No, I'm asking you:      What does refusing to do something

19         --

20    A    Not complying, I don't know.

21    Q    Okay.    So David Bowen refused to talk to your officers,

22         correct?

23    A    Correct.

24    Q    And he didn't comply?

25    A    He did not.



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 1    Q    Right.     So you claimed Jay Anderson refused to put down

 2         his weapon, which indicates that his weapon was up,

 3         correct?

 4    A    Not necessarily, he was -- he had access to the weapon.

 5         The officer said, "don't reach for it, I see it," and

 6         Anderson kept making the motions for it, it only takes a

 7         second to do that.      He said, "don't do it," and then you

 8         saw the motion where he went for the weapon and that is

 9         when he was shot.

10    Q    Are you ever wrong?

11    A    Am I?

12    Q    Yes.

13    A    More than I would like to admit.

14    Q    When was the last time you were wrong?

15    A    My wife could probably answer the question easier, I

16         don't know.

17                                    EXAMINATION

18         BY MR. SCHWAB:

19    Q    When is the last time you were wrong in your

20         professional capacity?

21    A    I don't know.     Probably, you know, there is many times

22         where I've made mistakes.       I am not perfect, try to do

23         things the right way, and that is what I do.

24                                    EXAMINATION

25         BY MS. MOTLEY:



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 1    Q    Did you tell Dominic Leone about your OLR complaint?

 2    A    I don't know if I did.

 3    Q    Did Alan Kesner talk to Dominic Leone about OLR?

 4    A    I don't know if Alan did.       I told Alan that I was filing

 5         a complaint.

 6    Q    Did you tell the mayor also?

 7    A    Probably.

 8    Q    Did you tell Chris Smith?

 9    A    I don't know Chris Smith, I know he's a lawyer for the

10         commission, but I don't talk to him.         I don't know him.

11    Q    But you don't remember if you told Dominic Leone?

12    A    I may have.

13    Q    Did you tell anyone about the results of the complaint?

14    A    Probably.

15    Q    Do you know if you told Alan Kesner the result?

16    A    Yes, I think I did.

17    Q    Did you tell Dominic Leone the result?

18    A    I don't know.

19    Q    What about Mayor McBride?

20    A    I don't know.

21    Q    When you communicate with Alan Kesner, do you do so by

22         phone?

23    A    Yes.

24    Q    Do you ever communicate with him by e-mail?

25    A    Almost never.



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 1    Q    By text message?

 2    A    No.

 3    Q    With Dominic Leone, do you communicate with him by

 4         e-mail?

 5    A    Not usually.

 6    Q    Sometimes?

 7    A    Very rarely.

 8    Q    Okay.    What about Mayor McBride, how do you communicate

 9         with him?

10    A    Just by the phone, or sometimes in person.

11    Q    Never by e-mail?

12    A    I try not to.

13    Q    But sometimes it happens?

14    A    Usually not by my part.

15                                    EXAMINATION

16         BY MR. SCHWAB:

17    Q    (Inaudible)?

18    A    Because all the e-mails and text messages are

19         discoverable.     It is like they get taken out of context,

20         I don't like to e-mail people normally anyway because,

21         you know, the tone of your message, it is always, "were

22         you mad at me when you said that or what," so I have

23         never liked that.      Even with my son, it is always like,

24         you know, it is just like, "stop texting me, just call

25         me.   If you want to talk to me, stop e-mailing and stop



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 1         texting me.     Just call, I would rather talk.       I would

 2         rather talk to a person rather than social media.

 3                                    EXAMINATION

 4         BY MS. MOTLEY:

 5    Q    How many special orders did you create in relation to

 6         the protesting and the curfews of last year?

 7    A    Probably a bunch, I don't know how many there would be.

 8    Q    Six -- like, estimate.

 9    A    I don't know.     I get so many things that say, hey, we

10         need you to sign this, sign this.        I feel like Henry

11         Blake in MASH sometimes.       Hey, sign this, what is it, it

12         is a special order regarding -- okay, fine, just give me

13         it.

14    Q    But you did sign several special orders?

15    A    Probably.

16    Q    Who normally authors those special orders?

17    A    The captain usually does, or they will give them to my

18         secretary, Mary, and say, I need a special order

19         regarding this.     She will document the appropriate

20         number and do the index and so on.

21                      MS. MOTLEY:   Okay.

22                                    EXAMINATION

23         BY MR. SCHWAB:

24    Q    Have your views on policing in America changed in the

25         last year?



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 1    A    My views, no, not too much.

 2    Q    Have you learned anything negative about policing in the

 3         last year?

 4    A    It's hard to answer, my views haven't changed much, and

 5         I have always tried to -- I have always felt, I have

 6         always felt that law enforcement officers do the right

 7         things, and we -- we do the right things and we're good

 8         people.    Even as I am getting ready to exit my career, I

 9         have told officers that, you know what, you just stay

10         the course and do what you think is right.

11    Q    So when you're investigating an officer for something,

12         you start from the belief that they're a good person?

13    A    If they weren't good I wouldn't hire them to begin with.

14    Q    Is that how you instruct your officers to approach every

15         investigation, that a person that has been accused is a

16         good person?

17    A    Innocent until proven guilty.

18    Q    That is not what I asked.

19    A    That's the standard.

20    Q    Do you believe that people are good unless -- well, is

21         that how you approach every investigation whether it is

22         a police officer or not?

23    A    I personally believe people are generally good.           I would

24         like to believe that, unless they prove otherwise.

25    Q    Do you believe that there are people out there that are



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 1         bad guys?

 2    A    Yes.

 3    Q    Who?

 4    A    Violent criminals, people that commit crimes against

 5         children, people that are ones that are going to steal

 6         somebody's -- you know, an armed robbery.

 7    Q    Is Derek Chauvin a bad person?

 8    A    He's a convicted felon.

 9    Q    Is he a bad person?

10    A    In my opinion, yeah.

11    Q    Did you, after watching that video, wonder if you had

12         any bad people on your force?

13    A    No.

14    Q    Not even questioned it?

15    A    No, all our people that I talked to were outraged by

16         what they saw also.

17                                    EXAMINATION

18   BY MS. MOTLEY:

19    Q    Why was Officer Mensah off of work for most of December

20         2019?

21                     MS. BAYNARD:     Objection, relevance.      Go ahead.

22                     THE WITNESS:     From what in '19?

23         BY MS. MOTLEY:

24    Q    December 2019, two months before he killed Alvin Cole.

25    A    I don't know why he was off at that time.          He was off



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 1         after the Cole incident on February 2nd, other than that

 2         I'm not sure.

 3    Q    Do you recall several officers saying that they didn't

 4         want to punish Officer Mensah for his car accident

 5         because of the personal problems he was going through in

 6         December of 2019?

 7    A    I don't remember that.

 8    Q    What personal problems has Officer Mensah had?

 9                      MS. BAYNARD:    Objection, speculation.      Go

10         ahead.

11                      THE WITNESS:    I don't know the problems he

12         has.

13         BY MS. MOTLEY:

14    Q    Did you ever talk to him?

15    A    Not about his personal problems -- (inaudible) -- I do

16         not.

17    Q    Has he ever talked to you about, you know, what has been

18         happening with the protests?

19    A    Nothing specific, I don't have that type of relationship

20         with patrol officers usually.

21    Q    What kind of relationship do you have with them?

22    A    Professional.

23    Q    Did you advise him not to quit Wauwatosa Police

24         Department?

25    A    I did not.



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 1                                    EXAMINATION

 2   BY MR. SCHWAB:

 3    Q    Did you want him to be on your force?

 4    A    Those are decisions that the police officers themselves

 5         make, you know, I deal with the hand that I'm dealt, and

 6         if he was going to stay on the department, then as long

 7         as he can performed the job, that is what I care about.

 8    Q    Is that what you wanted?

 9    A    I am sorry?

10    Q    Is that what you wanted, for him to remain the force?

11    A    I wanted him to do what is best for him and for our

12         organization.

13                                   EXAMINATION

14         BY MS. MOTLEY:

15    Q    Do you know if Officer Mensah was on any medications?

16    A    I don't.

17    Q    Do you know if Officer Mensah was diagnosed with any

18         mental issues?

19    A    Not to my knowledge.

20    Q    Do you wish he was still on your police force?

21    A    I mean to say that I'm relieved that he's working

22         somewhere else just because I think he probably needed a

23         change, and it's probably good for our organization too,

24         but I thought he was a good police officer that was

25         faced with some very difficult circumstances.



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 1    Q    Did Officer Mensah ever lie to you or any other members

 2         of the Wauwatosa Police Department?

 3    A    I don't know if he ever lied to me.         I don't think so.

 4    Q    Do you know if he lied to any other members of the

 5         Wauwatosa Police Department?

 6    A    No.

 7    Q    How would you feel if he's charged in the Jay Anderson

 8         shooting?

 9                     MS. BAYNARD:     Objection, relevance.

10                     THE WITNESS:     Can I answer that?

11                     MS. BAYNARD:     Yeah.

12                     THE WITNESS:     If he's charged, how I would

13         feel.    I would be disappointed because I thought he did

14         the right thing.

15                                    EXAMINATION

16         BY MR. SCHWAB:

17    Q    What is the goal of the Wauwatosa Police Department?

18    A    The goal, I think that would go to what our mission is,

19         it is to preserve life and property, to detect crimes,

20         keep the streets safe for people.

21    Q    And are the members or police officers of the Wauwatosa

22         Police Department, are they members of the community or

23         do they oversee the community?

24    A    I think there's both.

25    Q    Are they outside of the community?



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 1    A    Are you talking about where they live?

 2    Q    No, are they above maintaining the community?

 3    A    I think we have a very -- I have always had a very

 4         interactive community support function where we've done

 5         community policing, probably we have done more community

 6         policing than most agencies around us over the years.

 7         We've always had a lot of support from our city, and we

 8         have always done a lot of outreach programs.

 9                                   EXAMINATION

10         BY MS. KNOWLTON:

11    Q    Do you remember in watching on Saturday night about --

12         of my arrest, do you remember seeing that at all?

13    A    Your specific arrest?

14    Q    Yeah.

15    A    No.

16    Q    But you reviewed that arrest record, or I guess the

17         description of what happened that --

18    A    I read the report which was a very brief report.

19    Q    Okay.    And if you would have heard me ask how I can get

20         through to go home, would you have arrested me?

21    A    If you were just asking how to get home, I would have

22         said go this way or whatever, go home, I probably

23         wouldn't have.

24    Q    Okay.

25                                    EXAMINATION



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 1   BY MR. SCHWAB:

 2    Q    Is the Wauwatosa Police Department militaristic?

 3    A    All police departments operate under that quasi-military

 4         style.

 5    Q    Do any of your officers see themselves as an occupying

 6         force in Wauwatosa?

 7    A    I don't think so.

 8    Q    What do you think people's response is when they see

 9         military vehicles and SWAT gear?

10    A    Usually when that happens people want to know, what is

11         going on, what is going on here?        Unfortunately, just

12         the nature of our city -- for instance, last weekend we

13         were involved in a number of shootings in our city,

14         gunshots, we arrested a bunch people for having guns,

15         car thefts, chases.

16    Q    And you responded with armored vehicles?

17    A    We don't have any armored vehicles.

18    Q    Do you respond with SWAT gear?

19    A    I think on occasion we do.

20    Q    To those shootings?

21    A    I'm not sure on those, but if you have somebody who is

22         barricaded or an active shooter, then we would.

23    Q    Was the intent of wearing armored gear or bringing

24         armored vehicles to intimidate protesters?

25    A    I think all of our intentions are to make it safe for



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 1         our people.

 2    Q    Is there any intention of intimidation as well?

 3    A    I have never been one to intimi date people, it's always

 4         been about keeping everybody safe.

 5                                    EXAMINATION

 6         BY MS. MOTLEY:

 7    Q    Do you think arresting people for tickets is keeping the

 8         community safe?

 9    A    I think if people violate the law, and if we feel that a

10         ticket is warranted, then one should be issued.

11    Q    Does it keep the community safe?

12    A    In some cases it will, in some cases it won't, everybody

13         responds differently.

14                                    EXAMINATION

15         BY MR. SCHWAB:

16    Q    Do you set the ticket amount?

17    A    No.

18    Q    Have you ever done that?

19    A    I don't, I have never done that.

20                         (A recess was taken.)

21                                   EXAMINATION

22         BY MS. BAYNARD:

23    Q    I just have a quick follow up.        Earlier today we talked

24         a lot about threats of violence that occurred prior to

25         the issuance of the October 20th curfew.          Do you recall



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 1         discussing that throughout today?

 2    A    Yes.

 3    Q    Okay.    And I don't know if we really have gone into

 4         detail about it, but we've also talked an incident that

 5         happened at Officer Mensah's house in August of 2020, do

 6         you recall talking about that today?

 7    A    Yes.

 8    Q    Do you consider the incident that happened at Officer

 9         Mensah's house in August of 2020 as a credible threat of

10         violence?

11    A    Yes.

12    Q    Why is that?

13    A    Well, people went to Mensah's house with the intention

14         to harass him and threaten him, and there was a shot

15         fired in his direction at his house.         So it appeared

16         that there was going to be -- you know, a likelihood

17         that more violence may occur in the future because of

18         what happened that night.

19                     MS. BAYNARD:     Okay.   I don't have anything

20         else.

21                                    EXAMINATION

22   BY MR. SCHWAB:

23    Q    Let me ask one follow up on that.        If I was going to

24         organize a protest against the Mensah murders this week,

25         would that August shooting be a credible threat to



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 1         permit the city to enforce a curfew to stop protests?

 2    A    When you say if you're going to organize something, you

 3         mean as

 4         of today?

 5    Q    Yes, if I was going to organize next week.

 6    A    No, I don't think so.

 7                                    EXAMINATION

 8   BY MS. MOTLEY:

 9    Q    With regards to the incident at Mensah's house, that was

10         a credible threat of violence against him, correct?

11    A    Yes.

12    Q    Does he live in Wauwatosa anymore?

13    A    He does not.

14    Q    Okay.    Do you recall when he moved from Wauwatosa?

15         Well, it doesn't matter.       That was a bad question.         I

16         don't know how you would know that.         That's it.

17                                    EXAMINATION

18   BY MS. BAYNARD:

19    Q    One last question:      Was the purpose of the curfew of

20         October -- of the October 2020 curfew to stop

21         protesting, stop protesters?

22    A    No.    We didn't -- we had -- no, didn't care about

23         protestors, I was concerned about violent protesting.

24                                    EXAMINATION

25   BY MS. MOTLEY:



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 1    Q    Was the purpose of the October 2020 curfew to stop

 2         protesting during that week after 7:00 p.m.?

 3    A    Yes.

 4                                    EXAMINATION

 5   BY MR. SCHWAB:

 6    Q    Were any protesters arrested for violating the curfew

 7         that were not violent?

 8    A    Were any protesters arrested under the --

 9    Q    Under the curfew who were not violent?

10    A    I believe that is true.

11                     MR. SCHWAB:    That's it.

12                     MS. BAYNARD:     I don't have anything else.

13                     (The above proceedings concluded at 5:53 p.m.)

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